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                                          PlnDue, JNTADMN, LEAD, MEDIATION, JMDC, APPEAL




                                 U.S. Bankruptcy Court
                     Eastern District of Pennsylvania (Philadelphia)
                         Bankruptcy Petition #: 23−10763−amc
                                                                              Date filed: 03/15/2023
Assigned to: Chief Judge Ashely M. Chan                                     341 meeting: 05/05/2023
Chapter 11                                                  Deadline for filing claims: 05/24/2023
Voluntary                                             Deadline for filing claims (govt.): 09/11/2023
Asset


Debtor                                         represented by VINCENT F. ALEXANDER
Stream TV Networks, Inc.                                      Shutts & Bowen LLP
2009 Chestnut Street                                          201 East Las Olas Blvd.
3rd Floor                                                     Suite 2200
Philadelphia, PA 19103                                        Fort Lauderdale, FL 33301
PHILADELPHIA−PA                                               954−524−5505
Tax ID / EIN: 27−1224092                                      Fax : 954−524−5506
                                                              Email: valexander@shutts.com
                                                              TERMINATED: 11/01/2023

                                                             SEAN M. BRENNECKE
                                                             Lewis Brisbois Bisgaard & Smith, LLP
                                                             500 Delaware Avenue, Suite 700
                                                             Wilmington, DE 19801
                                                             (302) 985−6009
                                                             Fax : (302) 985−6001
                                                             Email: Sean.Brennecke@lewisbrisbois.com

                                                             SCOTT D. COUSINS
                                                             1201 Orange Street
                                                             P.O. Box 491
                                                             Wilmington, DE 19899−0391
                                                             (302) 571−6600

                                                             BENNETT G. FISHER
                                                             Lewis Brisbois Bisgaard & Smith LLP
                                                             24 Greenway Plaza, Suite 1400
                                                             Houston, TX 77046
                                                             (346) 241−0495
                                                             Fax : (713) 759−6830
                                                             Email: Bennett.Fisher@lewisbrisbois.com

                                                             MICHAEL D. VAGNONI
                                                             Obermayer Rebmann Maxwell & Hippel
                                                             LLP
                                                             Centre Square West
                                                             1500 Market Street, Suite 3400
                                                             Philadelphia, PA 19102
                                                             (215) 665−3066
                                                             Fax : (215) 665−3165
                                                             Email: michael.vagnoni@obermayer.com

                                                             RAFAEL X. ZAHRALDDIN
                                                             Lewis Brisbois
                                                             500 Delaware Avenue

                                                                                                       1
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                                                               Ste 700
                                                               Wilmington, DE 19801
                                                               302−985−6004
                                                               Email: Rafael.Zahralddin@lewisbrisbois.com

Debtor                                          represented by SCOTT D. COUSINS
Technovative Media, Inc.                                       (See above for address)
2009 Chestnut Street
3rd Floor                                                      MICHAEL D. VAGNONI
Philadephia, PA 19103                                          (See above for address)
PHILADELPHIA−PA
Tax ID / EIN: 45−4345015                                       RAFAEL X. ZAHRALDDIN
                                                               (See above for address)

Trustee                                         represented by ANDREW J. BELLI
WILLIAM A. HOMONY                                              Coren & Ress, PC
MILLER COFFEY TATE LLP                                         2001 Market Street
1628 JOHN F. KENNEDY BLVD STE 950                              Suite 3900
PHILADELPHIA, PA 19103                                         Philadelphia, PA 19103
610−986−5375                                                   215−735−8700
                                                               Fax : 215−735−5170
                                                               Email: abelli@kcr−law.com

                                                               STEVEN M. COREN
                                                               Coren & Ress, P.C.
                                                               2001 Market Street
                                                               Two Commerce Square
                                                               Suite 3900
                                                               Philadelphia, PA 19103
                                                               215−735−8700
                                                               Fax : 215−735−5170
                                                               Email: scoren@kcr−law.com

                                                               MICHAEL D. VAGNONI
                                                               (See above for address)

U.S. Trustee                                    represented by KEVIN P. CALLAHAN
United States Trustee                                          DOJ−Ust
Office of United States Trustee                                Robert N.C. Nix Federal Building
Robert N.C. Nix Federal Building                               900 Market Street
900 Market Street                                              Ste. 320
Suite 320                                                      Philadelphia, PA 19107
Philadelphia, PA 19107                                         215−597−4411
(215)597−4411                                                  Email: kevin.p.callahan@usdoj.gov

                                                               JOHN HENRY SCHANNE
                                                               DOJ−Ust
                                                               Office of The United States Trustee
                                                               Robert N.C. Nix Federal Building
                                                               900 Market Street, Suite 320
                                                               Philadelphia, PA 19107
                                                               202−934−4154
                                                               Email: John.Schanne@usdoj.gov

 Filing Date         #                                      Docket Text

 03/15/2023                1   Chapter 11 Voluntary Petition for Non−individual. Fee Amount $1738
                               Filed by Stream TV Networks, Inc.. Chapter 11 Plan due by 07/13/2023.
                               Government Proof of Claim Deadline: 09/11/2023. Matrix List of
                               Creditors due 03/22/2023. SSN − Form B121 /Tax ID due 03/22/2023.


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                       (ZAHRALDDIN, RAFAEL) (Entered: 03/15/2023)

                       Receipt of Voluntary Petition (Chapter 11)( 23−10763) [misc,volp11a]
                       (1738.00) Filing Fee. Receipt number AXXXXXXXX. Fee Amount $1738.00.
03/15/2023             (re: Doc# 1) (U.S. Treasury) (Entered: 03/15/2023)

                  2    Declaration re: Statement of Qualification as Complex Chapter 11 Case
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
                       Inc. (related document(s)1). (ZAHRALDDIN, RAFAEL) (Entered:
03/15/2023             03/15/2023)

                  3    Corporate Resolution Filed by RAFAEL X. ZAHRALDDIN on behalf of
03/15/2023             Stream TV Networks, Inc. . (R., Donna) (Entered: 03/16/2023)

                  4    Chapter 11 or Chapter 9 Cases Non−Individual: List of Creditors Who
                       Have 20 Largest Unsecured Claims Against You and Are Not Insiders.
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
03/15/2023             Inc. . (R., Donna) (Entered: 03/16/2023)

                  5    Statement of Corporate Ownership filed. Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc. . (R., Donna)
03/15/2023             (Entered: 03/16/2023)

                  6    Declaration Under Penalty of Perjury for Non−individual Debtors Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc. .
03/15/2023             (R., Donna) (Entered: 03/16/2023)

                  7    Order Entered the debtor having failed to file or submit with the petition
                       all of the documents required by Fed. R. Bankr.P.1007, It is hereby
                       ORDERED that this case MAY BE DISMISSED WITHOUT
                       FURTHER NOTICE if the documents listed are not filed by deadlines
                       listed: Atty Disclosure Statement due 3/29/2023. Matrix List of Creditors
                       due 3/22/2023. Schedule A due 3/29/2023. Schedule B due 3/29/2023.
                       Schedule D due 3/29/2023. Schedule E/F due 3/29/2023. Schedule G due
                       3/29/2023. Schedule H due 3/29/2023. Statement of Financial Affairs due
                       3/29/2023. Statistical Summary of Certain Liabilities Form B206 due
                       3/29/2023. List of Equity Security Holders due 3/29/2023. Any request for
                       an extension of time must be filed prior to the expiration of the deadlines
03/16/2023             listed. (R., Donna) (Entered: 03/16/2023)

                  8    ENTRY OF APPEARANCE AND REQUEST FOR NOTICES, pursuant
                       to Federal Bankruptcy Rules 2002 and 9010, JOHN HENRY SCHANNE
                       hereby appears in this matter on behalf of the United States trustee for
                       Region 3, and demands that all notices, motions, etc., given or required to
                       be given in this case, and that all papers, etc., served in this case, be given
                       to and served upon me at the address listed on this case party list. Filed by
                       JOHN HENRY SCHANNE on behalf of United States Trustee.
03/16/2023             (SCHANNE, JOHN) (Entered: 03/16/2023)

                  9    ENTRY OF APPEARANCE AND REQUEST FOR NOTICES, pursuant
                       to Federal Bankruptcy Rules 2002 and 9010, KEVIN P. CALLAHAN
                       hereby appears in this matter on behalf of the United States trustee for
                       Region 3, and demands that all notices, motions, etc., given or required to
                       be given in this case, and that all papers, etc., served in this case, be given
                       to and served upon me at the address listed on this case party list. Filed by
                       KEVIN P. CALLAHAN on behalf of United States Trustee.
03/16/2023             (CALLAHAN, KEVIN) (Entered: 03/16/2023)

03/17/2023        10

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                       Motion to Appear pro hac vice on behalf of VINCENT F. ALEXANDER
                       Filed by Stream TV Networks, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit CERTIFICATION
                       OF VINCENT F. ALEXANDER # 2 Exhibit ORDER GRANTING
                       MOTION FOR ADMISSION PRO HAC VICE OF VINCENT F.
                       ALEXANDER) (ZAHRALDDIN, RAFAEL) (Entered: 03/17/2023)

                  11   Notice of Appearance and Request for Notice by Steven Caponi Filed by
                       Steven Caponi on behalf of Hawk Investment Holdings Ltd.. (Caponi,
03/18/2023             Steven) (Entered: 03/18/2023)

                  12   Motion to Appear pro hac vice on behalf of Margaret R. Westbrook,
                       Esquire Filed by Hawk Investment Holdings Ltd. Represented by Steven
                       Caponi (Counsel). (Attachments: # 1 Proposed Order # 2 Verified
                       Statement of Margaret R. Westbrook, Esquire) (Caponi, Steven) (Entered:
03/18/2023             03/18/2023)

                  13   Motion to Appear pro hac vice on behalf of Aaron S. Rothman, Esquire
                       Filed by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). (Attachments: # 1 Proposed Order # 2 Verified Statement of
03/18/2023             Aaron S. Rothman, Esquire) (Caponi, Steven) (Entered: 03/18/2023)

                  14   Motion to Appear pro hac vice on behalf of Jonathan N. Edel, Esquire
                       Filed by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). (Attachments: # 1 Proposed Order # 2 Verified Statement of
03/18/2023             Jonathan N. Edel, Esquire) (Caponi, Steven) (Entered: 03/18/2023)

                  15   BNC Certificate of Mailing − Voluntary Petition. Number of Notices
                       Mailed: (related document(s) (Related Doc # 7)). No. of Notices: 1. Notice
03/18/2023             Date 03/18/2023. (Admin.) (Entered: 03/19/2023)

                       Receipt Number APAEDC−16569903, Fee Amount $40.00 (related
03/20/2023             document(s)12). (R., Donna) (Entered: 03/20/2023)

                       Receipt Number APAEDC−16569905, Fee Amount $40.00 (related
03/20/2023             document(s)13). (R., Donna) (Entered: 03/20/2023)

                       Receipt Number APAEDC−16569907, Fee Amount $40.00 (related
03/20/2023             document(s)14). (R., Donna) (Entered: 03/20/2023)

                  16   Emergency Motion for Relief from Stay . Fee Amount $188.00, Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi (Counsel).
                       (Attachments: # 1 Proposed Order Order Granting Motion of Hawk
                       Investment Holdings Ltd. for Relief from the Automatic Stay Pursuant to
                       Section 362(d) of the Bankruptcy Code # 2 Proposed Order Order
                       Granting Expedited Hearing # 3 Declaration of Steven L. Caponi # 4
                       Exhibit A # 5 Exhibit B # 6 Exhibit C # 7 Exhibit D # 8 Exhibit E # 9
                       Exhibit F # 10 Exhibit G # 11 Exhibit H # 12 Exhibit I # 13 Exhibit J # 14
                       Exhibit K # 15 Exhibit L # 16 Exhibit M # 17 Exhibit N # 18 Exhibit O #
                       19 Exhibit P # 20 Exhibit Q # 21 Certificate of Service) (Caponi, Steven)
03/20/2023             (R., Donna). (Entered: 03/20/2023)

                       Receipt of Motion for Relief From Stay( 23−10763−mdc) [motion,mrlfsty]
                       ( 188.00) Filing Fee. Receipt number AXXXXXXXX. Fee Amount $ 188.00.
03/20/2023             (re: Doc# 16) (U.S. Treasury) (Entered: 03/20/2023)

                  17   Order Granting Motion To Appear pro hac vice of Margaret Westbrook
03/20/2023             (Related Doc # 12) (R., Donna) (Entered: 03/20/2023)


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                  18   Order Granting Motion To Appear pro hac vice of Aaron Rothman
03/20/2023             (Related Doc # 13) (R., Donna) (Entered: 03/20/2023)

                  19   Order Granting Motion To Appear pro hac vice Jonathan N. Edel (Related
03/20/2023             Doc # 14) (R., Donna) (Entered: 03/20/2023)

                  20   Motion to Expedite Hearing (related documents Motion for Relief From
                       Stay) Filed by Hawk Investment Holdings Ltd. Represented by Steven
                       Caponi (Counsel) (related document(s)16) . (Attachments: # 1 Proposed
03/20/2023             Order) (J., Randi) (Entered: 03/21/2023)

                  21   Order Granting Motion Expedite Hearing (Related Doc # 20) In Re: (16
                       Motion for Relief From Stay) Hearing scheduled 3/22/2023 at 01:30 PM at
                       Philadelphia Telephone Hearing. The number to call into the court is
03/21/2023             877−336−1828 access code 7855846. (J., Randi) (Entered: 03/21/2023)

                  22   Certificate of Service Filed by Steven Caponi on behalf of Hawk
                       Investment Holdings Ltd. (related document(s)21). (Caponi, Steven)
03/21/2023             (Entered: 03/21/2023)

                  23   Motion to Appear pro hac vice on behalf of Megan E. OConnor Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verified Statement of Megan E.
03/21/2023             OConnor) (Caponi, Steven) (Entered: 03/21/2023)

                  24   Order Vacating Order dated March 21, 2023(related document(s)21). (D.,
03/21/2023             Virginia) (Entered: 03/21/2023)

                       Receipt Number APAEDC−16574278, Fee Amount $40.00 (related
                       document(s)23) Motion to appear Pro Hace Vice on behalf of MEGAN
03/21/2023             E.OCONNOR. (D., Virginia) (Entered: 03/21/2023)

                       Receipt Number APAEDC−16573789, Fee Amount $40.00 (related
                       document(s)10) Motion to Appear pro hac vice on behalf of VINCENT F.
03/21/2023             ALEXANDER. (J., Randi) (Entered: 03/21/2023)

                  25   Amended Order Scheduling EXPEDITED Hearing re:16 Emergency
                       Motion for Relief from Stay . Fee Amount $188.00, Filed by Hawk
                       Investment Holdings Ltd. Represented by Steven Caponi (Counsel).1. A
                       status conference scheduled 3/22/2023 at 01:30 PM at Philadelphia
                       Telephone Hearing.The number to call into the court is 877−336−1828
                       Access Code 7855846 . 2. Service of this Order and Motion must be made
                       by 3:00 PM today March 21, 2023, by telephonic and/or electronic means,
                       and a certificate of service is to be filed. (D., Virginia) (Entered:
03/21/2023             03/21/2023)

                  26   Certificate of Service Filed by Steven Caponi on behalf of Hawk
                       Investment Holdings Ltd. (related document(s)25). (Caponi, Steven)
03/21/2023             (Entered: 03/21/2023)

                  27   Motion for Joint Administration Filed by Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: #
03/21/2023             1 Proposed Order) (ZAHRALDDIN, RAFAEL) (Entered: 03/21/2023)

                  28   Response to Motion for Relief From Stay filed by Creditor Hawk
                       Investment Holdings Ltd. Filed by Stream TV Networks, Inc. (related
03/22/2023             document(s)16). (ZAHRALDDIN, RAFAEL) (Entered: 03/22/2023)



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                  29   Status Conference Held on (16) Emergency Motion for Relief from Stay .
                       Filed by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel) − Counsel to schedule the Motion for relief for 4/19/23 @ 11:30
                       a.m./ 4/5 for response and 4/14 for a reply (G., Eileen) (Entered:
03/22/2023             03/22/2023)

                  30   Declaration Under Penalty of Perjury for Non−individual Debtors Creditor
                       Matrix Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV
03/22/2023             Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 03/22/2023)

                  44   Matrix List of Creditors Filed. Number of pages filed: 14, Filed by
                       VINCENT F. ALEXANDER on behalf of Stream TV Networks, Inc. . (R.,
03/22/2023             Donna) (Entered: 03/27/2023)

                  31   Notice of (related document(s): 16 Emergency Motion for Relief from
                       Stay . Fee Amount $188.00,) Filed by Hawk Investment Holdings Ltd..
                       Hearing scheduled 4/19/2023 at 11:00 AM at Courtroom #2. (Caponi,
03/23/2023             Steven) (Entered: 03/23/2023)

                  32   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 17)). No. of Notices: 2. Notice Date 03/23/2023. (Admin.)
03/23/2023             (Entered: 03/24/2023)

                  33   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 18)). No. of Notices: 2. Notice Date 03/23/2023. (Admin.)
03/23/2023             (Entered: 03/24/2023)

                  34   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 19)). No. of Notices: 2. Notice Date 03/23/2023. (Admin.)
03/23/2023             (Entered: 03/24/2023)

                  35   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 21)). No. of Notices: 1. Notice Date 03/23/2023. (Admin.)
03/23/2023             (Entered: 03/24/2023)

                  36   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 24)). No. of Notices: 1. Notice Date 03/23/2023. (Admin.)
03/23/2023             (Entered: 03/24/2023)

                  37   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 25)). No. of Notices: 1. Notice Date 03/23/2023. (Admin.)
03/23/2023             (Entered: 03/24/2023)

                  38   Notice of Appearance and Request for Notice by DAVIS LEE WRIGHT
                       Filed by DAVIS LEE WRIGHT on behalf of SLS Holdings VI, LLC.
03/24/2023             (WRIGHT, DAVIS) (Entered: 03/24/2023)

                  39   Motion to Appear pro hac vice on behalf of Catherine Guastello Allen
                       Filed by SLS Holdings VI, LLC Represented by DAVIS LEE WRIGHT
                       (Counsel). (Attachments: # 1 Proposed Order # 2 Verified Statement)
03/24/2023             (WRIGHT, DAVIS) (Entered: 03/24/2023)

                  40   Motion to Appear pro hac vice on behalf of Brittany S. Ogden Filed by
                       SLS Holdings VI, LLC Represented by DAVIS LEE WRIGHT (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verified Statement) (WRIGHT,
03/24/2023             DAVIS) (R., Donna). (Entered: 03/24/2023)

03/24/2023        41

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                       Motion to Appear pro hac vice on behalf of Sargina Desargones Filed by
                       SLS Holdings VI, LLC Represented by DAVIS LEE WRIGHT (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verified Statement) (WRIGHT,
                       DAVIS) (Entered: 03/24/2023)

                  43   Order Granting Motion To Appear pro hac vice of Vincent F. Alexander
03/26/2023             (Related Doc # 10) (Entered: 03/27/2023)

                  42   Meeting of Creditors. 341(a) meeting to be held on 5/5/2023 at 10:00 AM
                       at ALTERNATE TELEPHONIC CONFERENCE (For Trustee Use Only).
                       Proofs of Claims due by 5/24/2023. Government Proof of Claim Deadline:
03/27/2023             09/11/2023. (MILLER, NANCY) (Entered: 03/27/2023)

                       Receipt Number APAEDC−16585304, Fee Amount $40.00 (related
                       document(s)41). (R., Donna) Modified on 3/27/2023 (R., Donna).
03/27/2023             (Entered: 03/27/2023)

                       Receipt Number APAEDC−16585279, Fee Amount $40.00 (related
03/27/2023             document(s)40). (R., Donna) (Entered: 03/27/2023)

                       Receipt Number APAEDC−16585223, Fee Amount $40.00 (related
03/27/2023             document(s)39). (R., Donna) (Entered: 03/27/2023)

                  45   Order Granting Motion to Appear pro hac vice on behalf of Catherine
                       Guastello Allen Filed by SLS Holdings VI, LLC (Related Doc # 39) (G.,
03/28/2023             Jeanette) (Entered: 03/28/2023)

                  46   Order Granting Motion to Appear pro hac vice on behalf of Brittany S.
                       Ogden Filed by SLS Holdings VI, LLC (Related Doc # 40) (G., Jeanette)
03/28/2023             (Entered: 03/28/2023)

                  47   Order Granting Motion to Appear pro hac vice on behalf of Sargina
                       Desargones Filed by SLS Holdings VI, LLC (Related Doc # 41) (G.,
03/28/2023             Jeanette) (Entered: 03/28/2023)

03/28/2023        48   Declaration re: Declaration Of Mathu Rajan In Support Of Stream Tv
                       Networks, Inc. And Technovative Media, Inc. Chapter 11 Petition,
                       Supporting Emergency Relief, And First Day Motions Filed by RAFAEL
                       X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.. (Attachments:
                       # 1 Exhibit A − Debtor's Patent Portfolio # 2 Exhibit B − Debtors MPL
                       Optical Bonding Equipment # 3 Exhibit C − Joint Marketing Agreement
                       between Debtor and BOE # 4 Exhibit D − Automotive Display
                       Co−Development Agreement # 5 Exhibit E − Corporate Organizational
                       Chart # 6 Exhibit F − Hawk Conversion Agreement # 7 Exhibit G − SLS
                       Conversion Agreement # 8 Exhibit H − Securities and Exchange Comm In
                       the Matter of Shadron L. Stastney # 9 Exhibit I − Overview of Shadron L.
                       Stastney Lawsuits # 10 Exhibit j − Financial Conduct Authority Statement
                       # 11 Exhibit K − Chancery Court October Opinion # 12 Exhibit L −
                       Employment offers from Stastney to Stream Employees # 13 Exhibit M −
                       Strategic Cooperation Agreement with ToJoy # 14 Exhibit N − WhatsApp
                       Communications # 15 Exhibit O − Omnibus Agreement # 16 Exhibit P −
                       Letter Agreement # 17 Exhibit Q − SeeCubic, Inc. Private Placement
                       Memo # 18 Exhibit R − Stream TV Networks, Inc. Third Amended and
                       Restated Cert of Inc. # 19 Exhibit S − Delegation of Authority Letter # 20
                       Exhibit T − Communication from Kabacinski # 21 Exhibit U − Chancery
                       Court Preliminary Injunction Order # 22 Exhibit V − Chancery Court
                       Opinion December 2020 # 23 Exhibit W − Email Communication between
                       Stastney and Google # 24 Exhibit X − Chancery Court Partial Final
                       Judgment # 25 Exhibit Y − Delaware Supreme Court En Banc Opinion #


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                       26 Exhibit Z − Delaware Supreme Court Mandate # 27 Exhibit AA −
                       Chancery Court Order Granting Temporary Restraining Order # 28
                       Exhibit BB − Chancery Court Order Granting Partial Final Judgment # 29
                       Exhibit CC − Chancery Court Hawk Opening Brief and Motion for
                       Injunctive Relief # 30 Exhibit DD − Chancery Court Status Quo Order #
                       31 Exhibit EE − Promissory Note Between SeeCubic, Inc. and B.V.)
                       (ZAHRALDDIN, RAFAEL) (Entered: 03/28/2023)

                  49   Emergency Motion For Sanctions for Violation of the Automatic Stay
                       Filed by Stream TV Networks, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit A − Purchase
                       Agreement # 2 Exhibit B − Bonding Equipment Photos # 3 Proposed
                       Order Proposed Order Scheduling Hearing on Debtors' Emergency Motion
                       to Enforce Automatic Stay) (ZAHRALDDIN, RAFAEL) (Entered:
03/28/2023             03/28/2023)

                  50   Order Granting Motion To Appear pro hac vice of Megan E .O'Connor as
                       counsel for the Creditor Hawk Investment Holdings Ltd (Related Doc #
03/29/2023             23) (R., Donna) (Entered: 03/29/2023)

                  51   Statistical Summary of Certain Liabilities Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc..
03/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 03/29/2023)

                  52   Schedule A/B Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream
03/29/2023             TV Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 03/29/2023)

                  53   Schedule D − Creditors Who Hold Claims Secured by Property Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
03/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 03/29/2023)

                  54   Schedule E/F: Creditors Who Have Unsecured Claims Filed by RAFAEL
                       X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
03/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 03/29/2023)

                  55   Schedule G − Executory Contracts and Unexpired Leases Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
03/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 03/29/2023)

                  56   Schedule H − Your Codebtors Filed by RAFAEL X. ZAHRALDDIN on
                       behalf of Stream TV Networks, Inc.. (ZAHRALDDIN, RAFAEL)
03/29/2023             (Entered: 03/29/2023)

                  57   Statement of Financial Affairs for Non−Individual Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc..
03/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 03/29/2023)

                  58   Equity Security Holders Filed by RAFAEL X. ZAHRALDDIN on behalf
                       of Stream TV Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered:
03/29/2023             03/29/2023)

                  59   Disclosure of Compensation of Attorney for Debtor in the amount of
                       50,000.00 Debtor Stream TV Networks, Inc. Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc..
03/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 03/29/2023)

03/29/2023        60   BNC Certificate of Mailing − Meeting of Creditors. Number of Notices
                       Mailed: (related document(s) (Related Doc # 42)). No. of Notices: 168.


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                       Notice Date 03/29/2023. (Admin.) (Entered: 03/30/2023)

                  61   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 43)). No. of Notices: 2. Notice Date 03/29/2023. (Admin.)
03/29/2023             (Entered: 03/30/2023)

                  62   Declaration Under Penalty of Perjury for Non−individual Debtors Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
03/30/2023             (ZAHRALDDIN, RAFAEL) (Entered: 03/30/2023)

                  63   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 45)). No. of Notices: 7. Notice Date 03/31/2023. (Admin.)
03/31/2023             (Entered: 04/01/2023)

                  64   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 46)). No. of Notices: 8. Notice Date 03/31/2023. (Admin.)
03/31/2023             (Entered: 04/01/2023)

                  65   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 47)). No. of Notices: 9. Notice Date 03/31/2023. (Admin.)
03/31/2023             (Entered: 04/01/2023)

                  66   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 50)). No. of Notices: 3. Notice Date 03/31/2023. (Admin.)
03/31/2023             (Entered: 04/01/2023)

                  67   Notice of Appearance and Request for Notice by JENNIFER R. HOOVER
                       Filed by JENNIFER R. HOOVER on behalf of Trans World International,
                       LLC, IMG Media Limited. (HOOVER, JENNIFER) (Entered:
04/03/2023             04/03/2023)

                  68   Notice of Appearance and Request for Notice by ANDREW PETER
                       DEMARCO Filed by ANDREW PETER DEMARCO on behalf of
                       Rembrandt 3D Holding Ltd.. (DEMARCO, ANDREW) (Entered:
04/03/2023             04/03/2023)

                  69   Declaration re: of Christopher A. Michaels in Opposition of Hawk
                       Emergency Motion for Relief from the Automatic Stay (Dkt. No. 16) Filed
                       by ANDREW PETER DEMARCO on behalf of Rembrandt 3D Holding
                       Ltd. (related document(s)16). (Attachments: # 1 Exhibit A # 2 Exhibit B #
04/03/2023             3 Exhibit C) (DEMARCO, ANDREW) (Entered: 04/03/2023)

                  70   Motion to Approve Authorizing and Approving the Employment and
                       Retention of Lewis Brisbois Bisgaard & Smith LLP Filed by Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (Attachments: # 1 Exhibit Declaration of Rafael X. Zahralddin−Aravena #
04/03/2023             2 Proposed Order) (ZAHRALDDIN, RAFAEL) (Entered: 04/03/2023)

                  71   Notice of (related document(s): 70 Motion to Approve Authorizing and
                       Approving the Employment and Retention of Lewis Brisbois Bisgaard &
                       Smith LLP) Filed by Stream TV Networks, Inc.. Hearing scheduled
                       5/3/2023 at 11:30 AM at Courtroom #2. (ZAHRALDDIN, RAFAEL)
04/03/2023             (Entered: 04/03/2023)

                  72   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)71, 70). (ZAHRALDDIN,
04/03/2023             RAFAEL) (Entered: 04/03/2023)



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                  73   Order Scheduling Hearing re:49 Emergency Motion Entry of an Order
                       Enforcing the Automatic Stay and for Sanctions for Willful Stay Violation
                       filed by Debtor Stream TV Networks, Inc.. Hearing scheduled 4/12/2023
                       at 11:30 AM at Philadelphia Telephone Hearing. (R., Donna) (Entered:
04/05/2023             04/05/2023)

                  74   Notice of (related document(s): 49 Emergency Motion For Sanctions for
                       Violation of the Automatic Stay ) Filed by Stream TV Networks, Inc..
04/05/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/05/2023)

                  75   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)74, 49, 73).
04/05/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/05/2023)

                  76   Motion For Sanctions for Violation of the Automatic Stay Filed by Stream
                       TV Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN
                       (Counsel). (Attachments: # 1 Exhibit A − Purchase Agreement # 2 Exhibit
                       B − Photos # 3 Exhibit C − List of Property in Possession of SeeCubic # 4
                       Exhibit D − De Brauw Letter # 5 Exhibit Ex E − Letter on behalf Theune #
                       6 Exhibit Ex F − Acknowledgement & PO) (ZAHRALDDIN, RAFAEL)
04/05/2023             (Entered: 04/05/2023)

                  77   Motion to Expedite Hearing (related documents Motion for Sanctions for
                       Violation of the Automatic Stay) Filed by Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel) (related
                       document(s)76). (Attachments: # 1 Exhibit Ex A − De Brauw letter # 2
                       Exhibit Ex B − Stream Organizational Chart # 3 Proposed Order)
04/05/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/05/2023)

                  78   Objection to Motion for Relief From Stay filed by Creditor Hawk
                       Investment Holdings Ltd. Filed by Stream TV Networks, Inc. (related
                       document(s)16). (Attachments: # 1 Exhibit A − Purchase Order)
04/05/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/05/2023)

                  79   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)27). (ZAHRALDDIN,
04/06/2023             RAFAEL) (Entered: 04/06/2023)

                  80   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)48). (ZAHRALDDIN,
04/06/2023             RAFAEL) (Entered: 04/06/2023)

                  81   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)71, 70). (ZAHRALDDIN,
04/06/2023             RAFAEL) (Entered: 04/06/2023)

                  82   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)74, 49, 73).
04/06/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/06/2023)

04/06/2023        83   Emergency Motion to Dismiss Case. Motion of Hawk Investment
                       Holdings Ltd. (I) Pursuant to Section 1112(b) of the Bankruptcy Code
                       Either (A)(1) to Dismiss the Debtors Chapter 11 Cases or (2) to Convert
                       Such Cases to Cases Under Chapter 7 or, (B) in the Alternative, Pursuant
                       to Section 1104(a) of the Bankruptcy Code to Appoint a Chapter 11
                       Trustee and (II) to Request Expedited Consideration Pursuant to Local
                       Rule 5070−1(g) Filed by Hawk Investment Holdings Ltd. Represented by
                       Steven Caponi (Counsel). (Attachments: # 1 Declaration of Steven L.
                       Caponi # 2 Exhibit 1 # 3 Exhibit 2 # 4 Exhibit 3 # 5 Exhibit 4 # 6 Exhibit

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                       5 # 7 Exhibit 6 # 8 Exhibit 7 # 9 Exhibit 8 # 10 Exhibit 9 # 11 Exhibit 10 #
                       12 Exhibit 11 # 13 Exhibit 12 # 14 Exhibit 13 # 15 Exhibit 14 # 16 Exhibit
                       15 # 17 Exhibit 16 # 18 Exhibit 17 # 19 Exhibit 18 # 20 Exhibit 19 # 21
                       Exhibit 20 # 22 Proposed Order # 23 Order Granting Expedited Hearing #
                       24 Certificate of Service) (Caponi, Steven) R., Donna). (Entered:
                       04/06/2023)

                  84   Application to Employ BMC Group, Inc. as Claims and Noticing Agent
                       Filed by Stream TV Networks, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit A − Proposed Order
                       # 2 Exhibit B − Service Agreement # 3 Exhibit C − Claims Agent
04/06/2023             Declaration) (ZAHRALDDIN, RAFAEL) (Entered: 04/06/2023)

                  85   Objection to Motion to Expedite Hearing filed by Debtor Stream TV
                       Networks, Inc. Hawk Investment Holdings Ltd.s Objection to Debtors
                       Motion for Expedited Hearing on Emergency Motion Directing the
                       Turnover of Property of Debtors Estate Filed by Hawk Investment
                       Holdings Ltd. (related document(s)77). (Attachments: # 1 Exhibit A)
04/07/2023             (Caponi, Steven) (Entered: 04/07/2023)

                  86   Amended Order Scheduling Hearing re:76 Emergency Motion for entry of
                       an order enforcing the Automatic Stay and for Sanctions for Willful Stay
                       Violation and Amended Emergency Motion for entry of an order enforcing
                       the automatic stay directing the turnover of property of debtors estate and
                       imposing sanctions for willful stay violations filed by Debtor Stream TV
                       Networks, Inc.. Hearing scheduled 4/14/2023 at 10:30 AM at Courtroom
04/07/2023             #2. (R., Donna) (Entered: 04/07/2023)

                  87   Order Scheduling Hearing re:83 Emergency Motion to Dismiss Case.
                       Motion of Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b)
                       of the Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11
                       Cases or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in
                       the Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration
                       Pursuant to Local Rule 5070−1(g) filed by Creditor Hawk Investment
                       Holdings Ltd.. Hearing scheduled 4/14/2023 at 10:30 AM at Courtroom
04/07/2023             #2. (R., Donna) (Entered: 04/07/2023)

                  88   Notice of (related document(s): 83 Emergency Motion to Dismiss Case.
                       Motion of Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b)
                       of the Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11
                       Cases or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in
                       the) Filed by Hawk Investment Holdings Ltd.. Hearing scheduled
                       4/14/2023 at 10:30 AM at Courtroom #2. (Caponi, Steven) (Entered:
04/07/2023             04/07/2023)

                  89   Certificate of Service Order Granting Expedited Hearing Filed by Steven
                       Caponi on behalf of Hawk Investment Holdings Ltd. (related
04/07/2023             document(s)87, 88). (Caponi, Steven) (Entered: 04/07/2023)

                  90   Supplement to Motion To Stay (related documents Motion for Sanctions
                       for Violation of the Automatic Stay, Scheduling Hearing) , Motion for
                       Turnover of Property , Motion For Sanctions Filed by Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel)
                       (related document(s)86, 76). (Attachments: # 1 Exhibit A − Writ of
04/07/2023             Summons translated) (ZAHRALDDIN, RAFAEL) (Entered: 04/07/2023)

04/07/2023       91    Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)84, 76, 77).


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                       (ZAHRALDDIN, RAFAEL) (Entered: 04/07/2023)

                 92    Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)86). (ZAHRALDDIN,
04/07/2023             RAFAEL) (Entered: 04/07/2023)

                 93    Notice of (related document(s): 83 Emergency Motion to Dismiss Case.
                       Motion of Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b)
                       of the Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11
                       Cases or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in
                       the, 90 Supplemental Motion To Stay (related documents Motion for
                       Sanctions for Violation of the Automatic Stay, Scheduling Hearing) )
                       Filed by Stream TV Networks, Inc.. Hearing scheduled 4/14/2023 at
                       10:30 AM at Courtroom #2. (ZAHRALDDIN, RAFAEL) (Entered:
04/07/2023             04/07/2023)

                 94    Objection to Motion to Dismiss Case for Other filed by Creditor Hawk
                       Investment Holdings Ltd. Objection to Request for Expedited Hearing
                       filed by Hawk Investment Holdings Ltd. and Request for Status
                       Conference Filed by Stream TV Networks, Inc. (related document(s)83).
04/10/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/10/2023)

                 95    Order Granting Motion For Joint Administration on Case
                       2:2023−bk−10763−mdc An order has been entered in accordance with
                       Rule 1015(b) of the Federal Rules ofBankruptcy Procedure directing joint
                       administration for procedural purposes only of the chapter 11 cases
                       commenced concurrently by Stream TV Networks, Inc., Bky. No. 23−
                       10763, and Technovative Media, Inc., Bky. No. 23−10764. The docket in
                       the chapter 11 case of Stream TV Networks, Inc., Bky. No. 23−10763,
                       should be consulted for all matters affecting this case(Related Doc# 27)
04/10/2023             (R., Donna) (Entered: 04/11/2023)

                 96    Proposed Order Re: Scheduling Order for Status Conference for
                       Expedited Motion Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)94, 83). (ZAHRALDDIN,
04/11/2023             RAFAEL) (Entered: 04/11/2023)

                 97    Proposed Order Re: Scheduling Order for Expedited Motion Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.
                       (related document(s)94, 83). (ZAHRALDDIN, RAFAEL) (Entered:
04/11/2023             04/11/2023)

                 98    Supplement to Motion For Sanctions for Violation of the Automatic Stay
                       M. Rajan Declaration in Support of Stay Enforcement and Turnover Filed
                       by Stream TV Networks, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit) (ZAHRALDDIN,
04/11/2023             RAFAEL) (Entered: 04/11/2023)

                 99    Hearing re−scheduled on 49 Emergency Motion for Sanctions for
                       Violation of the Automatic Stay filed by Stream TV Networks, Inc.
                       represented by RAFAEL X. ZAHRALDDIN (Counsel). Telephonic
                       Status Hearing is scheduled for 4/14/2023 at 10:30 AM. (B., John)
04/12/2023             (Entered: 04/12/2023)

                 100   Statement that Unsecured Creditors Committee has not been appointed
                       Filed by JOHN HENRY SCHANNE on behalf of United States Trustee.
04/12/2023             (SCHANNE, JOHN) (Entered: 04/12/2023)

04/12/2023       101

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                       Joinder to Objection to Motion for Relief from Stay (Dkt. No. 78) Filed by
                       ANDREW PETER DEMARCO on behalf of Rembrandt 3D Holding Ltd.
                       (related document(s)16). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                       Exhibit C) (DEMARCO, ANDREW) (Entered: 04/12/2023)

                 102   Joinder to Opposition to Motion for Relief from Stay Filed by ANDREW
                       PETER DEMARCO on behalf of Rembrandt 3D Holding Ltd. (related
                       document(s)16). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C)
04/12/2023             (DEMARCO, ANDREW) (Entered: 04/12/2023)

                 103   Objection to Motion to Dismiss Case for Other filed by Creditor Hawk
                       Investment Holdings Ltd. Objection to Request for Expedited
                       Consideration of Hawk's Motion Filed by Rembrandt 3D Holding Ltd.
                       (related document(s)83). (Attachments: # 1 Exhibit 1) (DEMARCO,
04/12/2023             ANDREW) (Entered: 04/12/2023)

                 104   Notice of Appearance and Request for Notice by Joseph Oliver Larkin
                       Filed by Joseph Oliver Larkin on behalf of SeeCubic, Inc.. (Larkin,
04/12/2023             Joseph) (Entered: 04/12/2023)

                 105   Objection to Motion for Sanctions for Violation of the Automatic Stay
                       filed by Debtor Stream TV Networks, Inc., Motion for Sanctions for
                       Violation of the Automatic Stay filed by Debtor Stream TV Networks,
                       Inc., Motion to Dismiss Case for Other filed by Creditor Hawk Investment
                       Holdings Ltd., Motion to Stay filed by Debtor Stream TV Networks, Inc.,
                       Motion for Turnover of Property, Motion for Sanctions Seecubic, Inc.s (I)
                       Objection to (A) Debtors Emergency Motion for Entry of an Order
                       Enforcing the Automatic Stay and for Sanctions for Willful Stay Violation;
                       (B) Amended Emergency Motion for Entry of an Order: (1) Enforcing the
                       Automatic Stay; (2) Directing the Turnover of Property of Debtors Estate;
                       and (3) Imposing Sanctions for Willful Stay Violations; and (C) Debtors
                       Supplement to Amended Emergency Motion for Entry of an Order: (1)
                       Enforcing the Automatic Stay; (2) Directing the Turnover of Property of
                       Debtors Estate; and (3) Imposing Sanctions for Willful Stay Violations
                       and (II) Joinder to the Hawk Motion Filed by SeeCubic, Inc. (related
                       document(s)90, 76, 49, 83). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                       Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8
                       Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K # 12 Exhibit L # 13
                       Exhibit M # 14 Exhibit N # 15 Exhibit O # 16 Exhibit P # 17 Certificate
04/12/2023             of Service) (Larkin, Joseph) (Entered: 04/12/2023)

                 106   Joinder to Hawk Investment Holdings Ltd.'s (A) Joinder to SeeCubic Inc.'s
                       Objection to Amended Emergency Motion for Entry of an Order: (1)
                       Enforcing the Automatic Stay; (2) Directing the Turnover of Property of
                       the Debtor's Estate; and (3) Imposing Sanctions for Willful Stay
                       Violations, (B) Supplemental Objection, and (C) Reservation of Rights
                       Filed by Steven Caponi on behalf of Hawk Investment Holdings Ltd.
                       (related document(s)105). (Attachments: # 1 Exhibit A) (Caponi, Steven)
04/12/2023             (Entered: 04/12/2023)

                 107   Motion to Appear pro hac vice on behalf of Bennett G. Fisher Filed by
                       Technovative Media, Inc., Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit A # 2
04/13/2023             Exhibit B) (ZAHRALDDIN, RAFAEL) (Entered: 04/13/2023)

                       Receipt Number BPAEDC−16625095, Fee Amount $40.00 (related
                       document(s)107). (R., Donna) Modified on 4/13/2023 (R., Donna).
04/13/2023             (Entered: 04/13/2023)



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                 108   Motion to Appear pro hac vice on behalf of Eben P. Colby Filed by
                       SeeCubic, Inc. Represented by Joseph Oliver Larkin (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verification) (Larkin, Joseph)
04/13/2023             (Entered: 04/13/2023)

                 109   Motion to Appear pro hac vice on behalf of Justin M. Winerman Filed by
                       SeeCubic, Inc. Represented by Joseph Oliver Larkin (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verification) (Larkin, Joseph)
04/13/2023             (Entered: 04/13/2023)

                 110   Motion to Appear pro hac vice on behalf of Marley Ann Brumme Filed by
                       SeeCubic, Inc. Represented by Joseph Oliver Larkin (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verification) (Larkin, Joseph)
04/13/2023             (Entered: 04/13/2023)

                 111   Motion to Appear pro hac vice on behalf of Rebecca Ritchie Filed by
                       SeeCubic, Inc. Represented by Joseph Oliver Larkin (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verification) (Larkin, Joseph)
04/13/2023             (Entered: 04/13/2023)

                 112   Motion to Appear pro hac vice on behalf of James J. Mazza, Jr. Filed by
                       SeeCubic, Inc. Represented by Joseph Oliver Larkin (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verification) (Larkin, Joseph)
04/13/2023             (Entered: 04/13/2023)

                 113   Notice of (related document(s): 49 Emergency Motion For Sanctions for
                       Violation of the Automatic Stay , 76 Motion For Sanctions for Violation
                       of the Automatic Stay , 90 Supplemental Motion To Stay (related
                       documents Motion for Sanctions for Violation of the Automatic Stay,
                       Scheduling Hearing) ) Proposed Orders re: Docket Nos. 49,76, and 90
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc..
                       (Attachments: # 1 Exhibit Proposed Order − NL # 2 Exhibit Proposed
04/13/2023             Order Non−NL) (ZAHRALDDIN, RAFAEL) (Entered: 04/13/2023)

                 114   Notice of FILING THIRD DECLARATION OF MATHU RAJAN (Related
                       docket #s 49, 76, 90) Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc.. (Attachments: # 1 Exhibit 1 − DECLARATION OF MATHU
                       RAJAN IN SUPPORT OF STREAM TV NETWORKS, INC. AND
                       TECHNOVATIVE MEDIA, INC. MOTIONS FOR ENTRY OF AN
                       ORDER: (1) ENFORCING THE AUTOMATIC STAY; (2) DIRECTING
                       THE TURNOVER OF PROPERTY OF DEBTORS ESTATE; AND (3)
                       IMPOSING SANCTIONS FOR WI # 2 Exhibit A # 3 Exhibit B # 4
                       Exhibit C # 5 Exhibit D) (ZAHRALDDIN, RAFAEL) (Entered:
04/13/2023             04/13/2023)

                       Receipt Number APAEDC−16626648, Fee Amount $40.00 (related
04/13/2023             document(s)111). (R., Donna) (Entered: 04/13/2023)

04/13/2023       115   Hearing Rescheduled as to start time only on 49 Emergency Motion For
                       Sanctions for Violation of the Automatic Stay Filed by Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel),
                       76 Motion For Sanctions for Violation of the Automatic Stay Filed by
                       Stream TV Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN
                       (Counsel), and 83 Emergency Motion to Dismiss Case. Motion of Hawk
                       Investment Holdings Ltd. (I) Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the
                       Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration


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                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). Hearing rescheduled
                       4/14/2023 at 12:30 PM at Philadelphia Telephone Hearing. (R., Joan)
                       (Entered: 04/13/2023)

                 116   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 95)). No. of Notices: 181. Notice Date 04/13/2023.
04/13/2023             (Admin.) (Entered: 04/14/2023)

                       Receipt Number APAEDC−16626631 Fee Amount $40.00 (related
04/13/2023             document(s)110). (R., Donna) (Entered: 04/14/2023)

                       Receipt Number APAEDC−16626535, Fee Amount $40.00 (related
04/13/2023             document(s)112). (R., Donna) (Entered: 04/14/2023)

                       Receipt Number APAEDC−16626599, Fee Amount $40.00 (related
04/13/2023             document(s)109). (R., Donna) (Entered: 04/14/2023)

                       Receipt Number APAEDC−16626581, Fee Amount $40.00 (related
04/13/2023             document(s)108). (R., Donna) (Entered: 04/14/2023)

                 117   Transcript regarding hearing held on 3/16/2023 in Jointly Administered
                       case 23−10764 Technovative Media, Inc. Transcribed by
                       TheRecordXchange. 50 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [For
                       information about how to contact the transcriber, call the Clerk's Office].
                       Notice of Intent to Request Redaction Deadline Due By 4/21/2023.
                       Redaction Request Due By 5/5/2023. Redacted Transcript Submission
                       Due By 5/15/2023. Transcript access will be restricted through 7/13/2023.
04/14/2023             (B., John) (Entered: 04/14/2023)

                 118   Transcript regarding hearing held on 3/22/2023 in Jointly Administered
                       case 23−10764 Technovative Media, Inc. Transcribed by
                       TheRecordXchange. 19 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [For
                       information about how to contact the transcriber, call the Clerk's Office].
                       Notice of Intent to Request Redaction Deadline Due By 4/21/2023.
                       Redaction Request Due By 5/5/2023. Redacted Transcript Submission
                       Due By 5/15/2023. Transcript access will be restricted through 7/13/2023.
04/14/2023             (B., John) (Entered: 04/14/2023)

                 119   Supplemental Certificate of Service Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc., Technovative
                       Media, Inc. (related document(s)48, 27). (ZAHRALDDIN, RAFAEL)
04/14/2023             (Entered: 04/14/2023)

                 120   Reply to Motion for Relief From Stay filed by Creditor Hawk Investment
                       Holdings Ltd. Hawk Investment Holdings Ltd.'s Reply in Further Support
                       of Emergency Motion for Relief from the Automatic Stay Pursuant To
                       Section 362(d) of the Bankruptcy Code Filed by Hawk Investment
                       Holdings Ltd. (related document(s)16). (Caponi, Steven) (Entered:
04/14/2023             04/14/2023)

04/14/2023       121   Hearing Continued on 83 Emergency Motion to Dismiss Case. Motion of
                       Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the
                       Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration

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                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). All Day Hearing scheduled
                       5/22/2023 at 10:30 AM at Courtroom #2;To Continued on 5/23/23 and
                       5/24/23 at 12:30 p.m.if needed; Briefs to be filed by 5/8/23 at 5:00. (R.,
                       Joan) (Entered: 04/14/2023)

                 122   Hearing Held 49 Emergency Motion For Sanctions for Violation of the
                       Automatic Stay Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). Motion held in abeyance.
04/14/2023             (related document(s),49,16). (R., Joan) (Entered: 04/14/2023)

                 145   Hearing Held on (#16) Emergency Motion for Relief from Stay . Fee
                       Amount $188.00, Filed by Hawk Investment Holdings Ltd. Represented
                       by Steven Caponi (Counsel). (Attachments: # 1 Proposed Order Order
                       Granting Motion of Hawk Investment Holdings Ltd. for Relief from the
                       Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code # 2
                       Proposed Order Order Granting Expedited Hearing # 3 Declaration of
                       Steven L. Caponi # 4 Exhibit A # 5 Exhibit B # 6 Exhibit C # 7 Exhibit D
                       # 8 Exhibit E # 9 Exhibit F # 10 Exhibit G # 11 Exhibit H # 12 Exhibit I #
                       13 Exhibit J # 14 Exhibit K # 15 Exhibit L # 16 Exhibit M # 17 Exhibit N
                       # 18 Exhibit O # 19 Exhibit P # 20 Exhibit Q # 21 Certificate of Service).
04/14/2023             Held in Abeyance (G., Eileen) (Entered: 04/21/2023)

                 146   Hearing Held on (#14).Motion For Sanctions for Violation of the
                       Automatic Stay Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit A −
                       Purchase Agreement # 2 Exhibit B − Photos # 3 Exhibit C − List of
                       Property in Possession of SeeCubic # 4 Exhibit D − De Brauw Letter # 5
                       Exhibit Ex E − Letter on behalf Theune # 6 Exhibit Ex F −
                       Acknowledgement & PO) (ZAHRALDDIN, RAFAEL) Held under
04/14/2023             abeyance (G., Eileen) (Entered: 04/21/2023)

                 123   Transcript regarding hearing held on 4/14/2023. Transcribed by
                       TheRecordXchange. 188 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 4/24/2023. Redaction Request Due By 5/8/2023. Redacted Transcript
                       Submission Due By 5/18/2023. Transcript access will be restricted
04/17/2023             through 7/17/2023. (B., John) (Entered: 04/17/2023)

                 124   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
                       document(s)114, 107, 98, 113). (ZAHRALDDIN, RAFAEL) (Entered:
04/17/2023             04/17/2023)

                 125   Motion For Sanctions for Violation of the Automatic Stay Motion For
                       Withdrawal of Writ of Summons and For Evidentiary Hearing for
                       Monetary Damages Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit
                       Proposed order # 2 Exhibit Article 9 notice # 3 Exhibit De District Court
04/18/2023             Complaint) (ZAHRALDDIN, RAFAEL) (Entered: 04/18/2023)

                 126   Amended Disclosure Of Compensation of Attorney for Debtor Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.,
                       Technovative Media, Inc. (related document(s)59). (ZAHRALDDIN,
04/18/2023             RAFAEL) Modified on 4/19/2023 (R., Donna). (Entered: 04/18/2023)

04/18/2023       127


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                       Response to Motion for Sanctions for Violation of the Automatic Stay
                       filed by Debtor Stream TV Networks, Inc. Hawk Investment Holdings
                       Ltd.'s Response to Debtors' Motion for Withdrawal of Writ of Summons
                       and Evidentiary Hearing for Monetary Damages Filed by Hawk
                       Investment Holdings Ltd. (related document(s)125). (Caponi, Steven)
                       (Entered: 04/18/2023)

                 128   Amended Response to Motion for Sanctions for Violation of the
                       Automatic Stay filed by Debtor Stream TV Networks, Inc. Hawk
                       Investment Holdings Ltd.'s Amended Response to Debtors' Motion for
                       Withdrawal of Writ of Summons and Evidentiary Hearing for Monetary
                       Damages Filed by Hawk Investment Holdings Ltd. (related
                       document(s)125). (Attachments: # 1 Exhibit A) (Caponi, Steven)
04/19/2023             (Entered: 04/19/2023)

                 129   Response to Motion for Sanctions for Violation of the Automatic Stay
                       filed by Debtor Stream TV Networks, Inc. SeeCubic, Inc.'s Response to
                       Debtors Motion for Withdrawal of Writ of Summons and Evidentiary
                       Hearing for Monetary Damages Filed by SeeCubic, Inc. (related
                       document(s)125). (Attachments: # 1 Certificate of Service) (Larkin,
04/19/2023             Joseph) (Entered: 04/19/2023)

                 130   AMENDED Disclosure of Compensation of Attorney for Debtor in the
                       amount of $50,000 Debtors Stream TV Networks, Inc. , Technovative
                       Media, Inc. Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream
                       TV Networks, Inc. , Technovative Media, Inc. . (R., Donna) (Entered:
04/20/2023             04/20/2023)

                 131   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
                       document(s)125, 126). (ZAHRALDDIN, RAFAEL) (Entered:
04/20/2023             04/20/2023)

                 132   Monthly Operating Report for Filing Period 3/15/23 − 3/31/23 Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
04/20/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/20/2023)

                 133   Monthly Operating Report for Filing Period 3/15 − 3/31/23 Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Technovative Media, Inc..
04/20/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/20/2023)

                 143   Order Granting Motion To Appear pro hac vice JUSTIN M.
                       WINERMAN, ESQ. (Related Doc # 109) (W., Yvette) (Entered:
04/20/2023             04/21/2023)

                 134   Motion to Approve Employee Obligations Filed by Stream TV Networks,
                       Inc., Technovative Media, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel). (Attachments: # 1 Proposed Order Ex A
                       Proposed Interim Order # 2 Proposed Order Ex B Proposed Final Order)
04/21/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/21/2023)

                 135   Motion to Approve Debtors' Expedited Motion for Authority to Take
                       Certain Actions in the Ordinary Course of Business Filed by Stream TV
                       Networks, Inc., Technovative Media, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit A − Proposed
                       Interim Order # 2 Exhibit B − Proposed Final Order # 3 Exhibit C −
                       Exclusive Distribution Agreement) (ZAHRALDDIN, RAFAEL)
04/21/2023             (Entered: 04/21/2023)



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                 136   Motion to Expedite Hearing (related documents Motion to Approve,
                       Motion to Approve) Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel)
                       (related document(s)135, 134). (ZAHRALDDIN, RAFAEL) (Entered:
04/21/2023             04/21/2023)

                 137   Proposed Order Re: Scheduling Expedited Hearing On (1) Debtors
                       Motion For Entry Of Interim And Final Orders Authorizing Debtors To
                       Pay and (2) Debtors Expedited Motion for Authority to Take Certain
                       Actions in the Ordinary Course of Business Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc., Technovative
                       Media, Inc. (related document(s)136, 135, 134). (ZAHRALDDIN,
04/21/2023             RAFAEL) (Entered: 04/21/2023)

                 138   Order granting 136 Motion for an Expedited Hearing on (related
                       document(s)134) Motion for Entry of Interim and Final Orders
                       Authorizing Debtors to Pay (I) Prepetition Employee Obligations, (II)
                       Prepetition Withholding Obligations, and (III) Post−Petition Employee
                       Obligations in the Ordinary Course; and (related document(s)135) Motion
                       for Interim and Final Orders Authorizing Debtors to Take Certain Actions
                       in the Ordinary Course of Business filed by RAFAEL X. ZAHRALDDIN
                       on behalf of Stream TV Networks Inc., Technovative Media Inc. It is
                       hereby Ordered that a telephonic hearing is scheduled for 4/24/2023 at
                       10:30 AM. The Debtors shall serve this Order and the Motions by 5:00
                       PM on April 21, 2023. (related document(s)137). (B., John) (Entered:
04/21/2023             04/21/2023)

                 139   Order Granting Motion To Appear pro hac vice BENNETT G. FISHER,
04/21/2023             ESQ. (Related Doc # 107) (W., Yvette) (Entered: 04/21/2023)

                 140   Order Granting Motion To Appear pro hac vice Rebecca Ritchie (Related
04/21/2023             Doc # 111) (W., Yvette) (Entered: 04/21/2023)

                 141   Order Granting Motion To Appear pro hac vice MARLEY ANN
04/21/2023             BRUMME, ESQ. (Related Doc # 110) (W., Yvette) (Entered: 04/21/2023)

                 142   Order Granting Motion To Appear pro hac vice JAMES J. MAZZA, JR.,
04/21/2023             ESQ. (Related Doc # 112) (W., Yvette) (Entered: 04/21/2023)

                 144   Order Granting Motion To Appear pro hac vice EBEN P. COLBY, ESQ.
04/21/2023             (Related Doc # 108) (W., Yvette) (Entered: 04/21/2023)

                 147   Declaration re: Declaration of Mathu Rajan in Support of Debtors'
                       Motions Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV
                       Networks, Inc. (related document(s)135, 134). (ZAHRALDDIN,
04/23/2023             RAFAEL) (Entered: 04/23/2023)

                 148   Declaration re: Supplement (Exhibits) to Declaration of Mathu Rajan,
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
                       Inc. (related document(s)147). (ZAHRALDDIN, RAFAEL) (Entered:
04/24/2023             04/24/2023)

04/24/2023       149   Objection to Motion to Approve filed by Debtor Stream TV Networks,
                       Inc., Debtor Technovative Media, Inc., Motion to Approve filed by
                       Debtor Stream TV Networks, Inc., Debtor Technovative Media, Inc.
                       Hawk Investment Holdings Ltd.'s (a) Omnibus Objection to Funding and
                       Employment Motions and (b) Joinder to the SeeCubic Objection and
                       Funding Proposal Filed by Hawk Investment Holdings Ltd. (related
                       document(s)135, 134). (Attachments: # 1 Exhibit A) (Caponi, Steven)

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                       (Entered: 04/24/2023)

                 150   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)136, 138, 132, 133, 135,
04/24/2023             134, 139). (ZAHRALDDIN, RAFAEL) (Entered: 04/24/2023)

                 151   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)148, 147).
04/24/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/24/2023)

                 152   Objection to Motion to Approve filed by Debtor Stream TV Networks,
                       Inc., Debtor Technovative Media, Inc., Motion to Approve filed by
                       Debtor Stream TV Networks, Inc., Debtor Technovative Media, Inc.
                       SeeCubic, Inc.'s I. Objection to A. Employee Motion and B. Ordinary
                       Course Motion and II. Emergency Funding Proposal Filed by SeeCubic,
                       Inc. (related document(s)135, 134). (Attachments: # 1 Exhibit A) (Larkin,
04/24/2023             Joseph) (Entered: 04/24/2023)

                 153   Notice of EMERGENCY MOTION(S) FOR FINANCING OF THE
                       DEBTORS FOREIGN SUBSIDIARIES Filed by Stream TV Networks,
04/24/2023             Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 04/24/2023)

                 154   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)153). (ZAHRALDDIN,
04/24/2023             RAFAEL) (Entered: 04/24/2023)

                 171   EVIDENTIARY Hearing Continued on 134 Motion to Approve
                       Employee Obligations Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (Attachments: # 1 Proposed Order Ex A Proposed Interim Order # 2
                       Proposed Order Ex B Proposed Final Order) filed by Debtor Stream TV
                       Networks, Inc., Debtor Technovative Media, Inc.. Hearing scheduled
                       4/25/2023 at 03:00 PM at Courtroom #2. (G., Eileen) (Entered:
04/24/2023             04/26/2023)

                 172   Evidentiary Hearing Continued on 135 Motion to Approve Debtors'
                       Expedited Motion for Authority to Take Certain Actions in the Ordinary
                       Course of Business Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (Attachments: # 1 Exhibit A − Proposed Interim Order # 2 Exhibit B −
                       Proposed Final Order # 3 Exhibit C − Exclusive Distribution Agreement)
                       filed by Debtor Stream TV Networks, Inc., Debtor Technovative Media,
                       Inc.. Hearing scheduled 4/25/2023 at 03:00 PM at Courtroom #2. (G.,
04/24/2023             Eileen) (Entered: 04/26/2023)

                 155   Motion to Approve SeeCubic, Inc.'s (I) Motion in the Alternative for (A)
                       Entry of an Order Approving SeeCubics Emergency Funding to
                       Non−Debtor SeeCubic B.V. and Directing Putative SCBV Directors to
                       Execute Promissory Draw Request or (B) Approval of Competing DIP
                       Financing and (II) Preliminary Response to Debtors Anticipated DIP
                       Financing Proposal Filed by SeeCubic, Inc. Represented by Joseph Oliver
                       Larkin (Counsel). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
04/25/2023             C # 4 Exhibit D # 5 Exhibit E) (Larkin, Joseph) (Entered: 04/25/2023)

04/25/2023       156   Motion to Approve MOTION PURSUANT TO 11 U.S.C. §§ 105 AND
                       364 FOR ENTRY OF INTERIM AND FINAL ORDERS: (1)
                       AUTHORIZING THE DEBTORS TO OBTAIN POST−PETITION
                       UNSECURED FINANCING TO FUND DEBTORS FOREIEGN
                       SUBSIDIARIES; (2) MODIFYING THE AUTOMATIC STAY; AND (3)


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                       SETTING FINAL HEARING Filed by Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (ZAHRALDDIN, RAFAEL) (Entered: 04/25/2023)

                 157   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)156). (ZAHRALDDIN,
04/25/2023             RAFAEL) (Entered: 04/25/2023)

                 158   Declaration re: of Shadron L. Stastney in Support of SeeCubic, Inc.'s (I)
                       Motion In The Alternative For (A) Entry Of An Order Approving
                       SeeCubics Emergency Funding To Non−Debtor SeeCubic B.V. And
                       Directing Putative SCBV Directors To Execute Promissory Draw Request
                       Or (B) Approval Of Competing DIP Financing And (II) Preliminary
                       Response To Debtors Anticipated DIP Financing Proposal Filed by
                       Joseph Oliver Larkin on behalf of SeeCubic, Inc. (related
04/25/2023             document(s)155). (Larkin, Joseph) (Entered: 04/25/2023)

                 159   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)130). (ZAHRALDDIN,
04/25/2023             RAFAEL) (Entered: 04/25/2023)

                 160   Order Governing Procedures at Evidentiary Hearing Conducted Remotely
                       by Video Conference Hearing scheduled 4/25/2023 at 03:00 PM at
                       Philadelphia Video Hearing. (R., Donna). Related document(s) 156 .
04/25/2023             Modified on 4/25/2023 (R., Donna). (Entered: 04/25/2023)

                 161   Proposed Order Re: [Proposed] Interim Order Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc. (related
04/25/2023             document(s)156). (ZAHRALDDIN, RAFAEL) (Entered: 04/25/2023)

                 162   Exhibit SeeCubic, Inc.'s Witness And Exhibit Lists For April 25, 2023
                       Hearing Filed by Joseph Oliver Larkin on behalf of SeeCubic, Inc.
                       (related document(s)155, 158). (Attachments: # 1 Certificate of Service)
04/25/2023             (Larkin, Joseph) (Entered: 04/25/2023)

                 163   Exhibit DEBTORS WITNESS AND EXHIBIT LIST Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc. (related
                       document(s)161, 156). (ZAHRALDDIN, RAFAEL) (Entered:
04/25/2023             04/25/2023)

                 164   Exhibit Hawk Investment Holdings Ltd.'s Witness and Exhibit List for
                       April 25, 2023 Hearing Filed by Steven Caponi on behalf of Hawk
                       Investment Holdings Ltd.. (Attachments: # 1 Exhibit 1) (Caponi, Steven)
04/25/2023             (Entered: 04/25/2023)

                 165   Objection to Motion to Approve filed by Interested Party SeeCubic, Inc.
                       DEBTORS OBJECTION TO SEECUBICS MOTION TO APPROVE Filed
                       by Stream TV Networks, Inc., Technovative Media, Inc. (related
04/25/2023             document(s)155). (ZAHRALDDIN, RAFAEL) (Entered: 04/25/2023)

                 166   Objection to Motion to Approve filed by Debtor Stream TV Networks,
                       Inc. Hawk Investment Holdings Ltd.'s Response to Debtors' Motion
                       Pursuant to 11 U.S.C. §§ 105 and 364 for Entry of Interim and Final
                       Orders: (1) Authorizing the Debtors to Obtain Post−Petition Unsecured
                       Financing to Fund Debtors' Foreign Subsidiaries; (2) Modifying the
                       Automatic Stay; and (3) Setting Final Hearing Filed by Hawk Investment
                       Holdings Ltd. (related document(s)156). (Caponi, Steven) (Entered:
04/25/2023             04/25/2023)


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                 167   Amended Notice of EMERGENCY MOTION(S) FOR FINANCING OF
                       THE DEBTORS FOREIGN SUBSIDIARIES Filed by Stream TV
                       Networks, Inc., Technovative Media, Inc.. (ZAHRALDDIN, RAFAEL)
04/25/2023             (Entered: 04/25/2023)

                 168   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)165, 161, 167, 160, 163).
04/25/2023             (ZAHRALDDIN, RAFAEL) (Entered: 04/25/2023)

                 169   EVIDENTIARY Hearing Held on [#156].Motion to Approve MOTION
                       PURSUANT TO 11 U.S.C. §§ 105 AND 364 FOR ENTRY OF
                       INTERIM AND FINAL ORDERS: (1) AUTHORIZING THE DEBTORS
                       TO OBTAIN POST−PETITION UNSECURED FINANCING TO FUND
                       DEBTORS FOREIEGN SUBSIDIARIES; (2) MODIFYING THE
                       AUTOMATIC STAY; AND (3) SETTING FINAL HEARING Filed by
                       Stream TV Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN
                       (Counsel). MOTION DENIED − ORDER to be entered (G., Eileen)
04/25/2023             (Entered: 04/26/2023)

                 173   Evidentiary Hearing Continued on 134 Motion to Approve Employee
                       Obligations Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: #
                       1 Proposed Order Ex A Proposed Interim Order # 2 Proposed Order Ex B
                       Proposed Final Order) filed by Debtor Stream TV Networks, Inc., Debtor
                       Technovative Media, Inc.. Hearing scheduled 5/22/2023 at 10:30 AM at
04/25/2023             Courtroom #2. (G., Eileen) (Entered: 04/26/2023)

                 174   EVIDENTIARY Hearing Continued on 135 Motion to Approve Debtors'
                       Expedited Motion for Authority to Take Certain Actions in the Ordinary
                       Course of Business Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (Attachments: # 1 Exhibit A − Proposed Interim Order # 2 Exhibit B −
                       Proposed Final Order # 3 Exhibit C − Exclusive Distribution Agreement)
                       filed by Debtor Stream TV Networks, Inc., Debtor Technovative Media,
                       Inc.. Hearing scheduled 5/22/2023 at 10:30 AM at Courtroom #2. (G.,
04/25/2023             Eileen) (Entered: 04/26/2023)

                 170   EVIDENTIARY Hearing Held on 4/25/23 [#155] Motion to Approve
                       SeeCubic, Inc.'s (I) Motion in the Alternative for (A) Entry of an Order
                       Approving SeeCubics Emergency Funding to Non−Debtor SeeCubic B.V.
                       and Directing Putative SCBV Directors to Execute Promissory Draw
                       Request or (B) Approval of Competing DIP Financing and (II)
                       Preliminary Response to Debtors Anticipated DIP Financing Proposal
                       Filed by SeeCubic, Inc. Represented by Joseph Oliver Larkin (Counsel).
                       (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
                       Exhibit E) (Larkin, Joseph) − Motion Denied − ORDER to be entered (G.,
04/26/2023             Eileen) Modified on 4/26/2023 (G., Eileen). (Entered: 04/26/2023)

                 175   Notice of (related document(s): 84 Application to Employ BMC Group,
                       Inc. as Claims and Noticing Agent ) Filed by Stream TV Networks, Inc.,
                       Technovative Media, Inc.. Hearing scheduled 5/24/2023 at 11:30 AM at
04/26/2023             Courtroom #2. (ZAHRALDDIN, RAFAEL) (Entered: 04/26/2023)

                 176   The upcoming 341(a) meeting is scheduled to be held remotely..For
                       participation by telephone, please call 1−877−685−3103 and use (access
                       code/meeting id/passcode) 6249335# to join the meeting.. More
                       information can be found in the attached pdf document.. (CALLAHAN,
04/27/2023             KEVIN) (Entered: 04/27/2023)



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                 177   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 160)). No. of Notices: 3. Notice Date 04/27/2023.
04/27/2023             (Admin.) (Entered: 04/28/2023)

                 178   Transcript regarding hearing held on 4/24/2023. Transcribed by
                       TheRecordXchange. 96 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [For
                       information about how to contact the transcriber, call the Clerk's Office].
                       Notice of Intent to Request Redaction Deadline Due By 5/5/2023.
                       Redaction Request Due By 5/19/2023. Redacted Transcript Submission
                       Due By 5/30/2023. Transcript access will be restricted through 7/27/2023.
04/28/2023             (B., John) (Entered: 04/28/2023)

                 179   Transcript regarding hearing held on 4/25/2023. Transcribed by
                       TheRecordXchange. 261 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 5/5/2023. Redaction Request Due By 5/19/2023. Redacted Transcript
                       Submission Due By 5/30/2023. Transcript access will be restricted
04/28/2023             through 7/27/2023. (B., John) (Entered: 04/28/2023)

                 180   Declaration re: Supplemental Declaration of Rafael X. Zahralddin in
                       Support of the Application to Employ Lewis Brisbois Bisgaard & Smith
                       LLP as General Bankruptcy Counsel to the Debtors Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc., Technovative
                       Media, Inc. (related document(s)70). (ZAHRALDDIN, RAFAEL)
04/28/2023             (Entered: 04/28/2023)

                 181   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
05/01/2023             document(s)175). (ZAHRALDDIN, RAFAEL) (Entered: 05/01/2023)

                 182   Certificate of No Response to Certificate of No Objection Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.,
                       Technovative Media, Inc. (related document(s)70). (ZAHRALDDIN,
05/02/2023             RAFAEL) (Entered: 05/02/2023)

                 183   Amended Certificate of No Response to Amended Certification of No
                       Objection Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV
                       Networks, Inc. (related document(s)182, 70). (ZAHRALDDIN,
05/02/2023             RAFAEL) (Entered: 05/02/2023)

                 184   Hearing Held on 70 Motion to Approve Authorizing and Approving the
                       Employment and Retention of Lewis Brisbois Bisgaard & Smith LLP
                       Filed by Stream TV Networks, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel).. (related document(s),70). Agreed Order to be
05/03/2023             entered (G., Eileen) (Entered: 05/03/2023)

                 185   Order Granting Motion to Approve Application to Employ and Retain
                       Lewis Brisbois a& Smith LLP as Counsel to the debtors and
                       Debtors−in−Possession (Related Doc # 70) (R., Donna) (Entered:
05/03/2023             05/03/2023)

                 186   Proper Form of Petition Amended Petition Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc..
05/04/2023             (ZAHRALDDIN, RAFAEL) (Entered: 05/04/2023)

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                       Amended Schedule G − Executory Contracts and Unexpired Leases Filed
                       by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
                       (ZAHRALDDIN, RAFAEL) (Entered: 05/04/2023)

                 188   Amended Chapter 11 Monthly Operating Report for the Month Ending:
                       03/31/2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream
05/05/2023             TV Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 05/05/2023)

                 189   Amended Chapter 11 Monthly Operating Report for the Month Ending:
                       03/31/2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Technovative Media, Inc.. (ZAHRALDDIN, RAFAEL) (Entered:
05/05/2023             05/05/2023)

                       Meeting of Creditors Held and Concluded on: 5/5/2023. (CALLAHAN,
05/05/2023             KEVIN) (Entered: 05/05/2023)

                 190   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
05/05/2023             document(s)183). (ZAHRALDDIN, RAFAEL) (Entered: 05/05/2023)

                 191   Amended Chapter 11 Monthly Operating Report for the Month Ending:
                       03/31/2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Technovative Media, Inc.. (ZAHRALDDIN, RAFAEL) (Entered:
05/05/2023             05/05/2023)

                 192   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 185)). No. of Notices: 3. Notice Date 05/05/2023.
05/05/2023             (Admin.) (Entered: 05/06/2023)

                 193   Memorandum in Opposition to Hawk Investment Holdings Ltd's Motion to
                       Dismiss Debtors' Chapter 11 Cases or to Convert the Cases to Cases
                       Under Chapter 7 or in the Alternative to Appoint a Chapter 11 Trustee
                       Filed by ANDREW PETER DEMARCO on behalf of Rembrandt 3D
                       Holding Ltd. (related document(s)83). (Attachments: # 1 Exhibit 1)
05/08/2023             (DEMARCO, ANDREW) (Entered: 05/08/2023)

                 194   Supplemental Brief SeeCubic, Inc.'s Supplemental Brief in Support of (I)
                       Hawk's Motion to Dismiss the Chapter 11 Cases, Convert Such Cases to
                       Chapter 7, or Appoint a Chapter 11 Trustee, (II) Hawk's Motion for Relief
                       from the Automatic Stay, and (III) SeeCubic's Objection to the Stream
                       Stay Pleadings Filed by Joseph Oliver Larkin on behalf of SeeCubic, Inc.
                       (related document(s)16, 105, 83). (Attachments: # 1 Exhibit A # 2 Exhibit
                       B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G #
05/08/2023             8 Certificate of Service) (Larkin, Joseph) (Entered: 05/08/2023)

                 195   Response to Motion for Sanctions for Violation of the Automatic Stay
                       filed by Debtor Stream TV Networks, Inc., Motion for Sanctions for
                       Violation of the Automatic Stay filed by Debtor Stream TV Networks,
                       Inc., Motion to Dismiss Case for Other filed by Creditor Hawk Investment
                       Holdings Ltd., Motion to Stay filed by Debtor Stream TV Networks, Inc.,
                       Motion for Turnover of Property, Motion for Sanctions Hawk Investment
                       Holdings Ltd.'s Reply in Further Support of Emergency Motion for Relief
                       from the Automatic Stay Pursuant To Section 362(d) of the Bankruptcy
                       Code Filed by Hawk Investment Holdings Ltd. (related document(s)90,
                       49, 76, 83). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                       Exhibit D # 5 Exhibit E # 6 Exhibit F) (Caponi, Steven) (Entered:
05/08/2023             05/08/2023)

05/08/2023       196

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                       Brief in Opposition Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
                       document(s)83). (ZAHRALDDIN, RAFAEL) (Entered: 05/08/2023)

                 197   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
                       document(s)187, 186, 189, 188, 191). (ZAHRALDDIN, RAFAEL)
05/11/2023             (Entered: 05/11/2023)

                 198   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
05/11/2023             document(s)196). (ZAHRALDDIN, RAFAEL) (Entered: 05/11/2023)

                 199   Motion to Appear pro hac vice on behalf of Erin R. Fay Filed by Ian R.
                       Liston in his capacity as the state court appointed receiver pendente lite of
                       the operations of Technovative Media, Inc. Represented by NICHOLAS E
05/17/2023             HAKUN (Counsel). (HAKUN, NICHOLAS) (Entered: 05/17/2023)

                 200   Motion to Appear pro hac vice on behalf of Catherine C. Lyons Filed by
                       Ian R. Liston in his capacity as the state court appointed receiver pendente
                       lite of the operations of Technovative Media, Inc. Represented by
                       NICHOLAS E HAKUN (Counsel). (HAKUN, NICHOLAS) (Entered:
05/17/2023             05/17/2023)

                 201   Motion to Approve (A) the Receiver's Final Report, (B) Granting
                       Post−Petition Discharge of the Receiver and the Receiver Professionals,
                       (C) Finding That the Receiver Complied with 11 U.S.C. Section 543, (D)
                       Approving and Directing Payment of the Prepetition Fees and Expenses
                       of the Receiver and the Receiver Professionals, and (E) Granting Related
                       Relief Filed by Ian R. Liston in his capacity as the state court appointed
                       receiver pendente lite of the operations of Technovative Media, Inc.
                       Represented by NICHOLAS E HAKUN (Counsel). (Attachments: # 1
                       Notice # 2 Exhibit A # 3 Exhibit B) (HAKUN, NICHOLAS) (Entered:
05/17/2023             05/17/2023)

                 202   Motion to Seal (RE: related document(s)201 Motion to Approve).
                       //Receiver's Motion to Seal Certain Exhibits to the Final Report of Ian R.
                       Liston, Receiver Pendente Lite, Attached as Exhibit A to Receiver's
                       Motion, Pursuant to 11 U.S.C. Sections 105(a) and 543(b) and
                       Bankruptcy Rule 6002, for Entry of an Order (A) Approving the
                       Receiver's Final Report, (B) Granting Post−Petition Discharge of the
                       Receiver and the Receiver Professionals, (C) Finding That the Receiver
                       Complied with 11 U.S.C. Section 543, (D) Approving and Directing
                       Payment of the Prepetition Fees and Expenses of the Receiver and the
                       Receiver Professionals, and (E) Granting Related Relief Filed by Ian R.
                       Liston in his capacity as the state court appointed receiver pendente lite of
                       the operations of Technovative Media, Inc. Represented by NICHOLAS E
                       HAKUN (Counsel) (related document(s)201). (Attachments: # 1 Notice #
05/17/2023             2 Exhibit A) (HAKUN, NICHOLAS) (Entered: 05/17/2023)

                       Receipt Number APAEDC−16695650 for Pro Hac Vice Payment, Fee
                       Amount $75.00 (related document(s)200). (K., Marie)*Modified on
05/17/2023             5/18/2023 to add prefix letters*.(K., Marie). (Entered: 05/17/2023)

                       Receipt Number APAEDC−16695592, Fee Amount $75.00 for Pro Hac
                       Vice Payment (related document(s)199). (K., Marie)* Modified on
05/17/2023             5/18/2023 to add prefix letters*(K., Marie). (Entered: 05/17/2023)

05/17/2023       203


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                       Declaration re: Supplemental Declaration in Support of Initial Application
                       to Employ BMC Group, Inc. as Claims and Noticing Agent Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.,
                       Technovative Media, Inc. (related document(s)84). (ZAHRALDDIN,
                       RAFAEL) (Entered: 05/17/2023)

                 204   Notice of (related document(s): 201 Motion to Approve (A) the Receiver's
                       Final Report, (B) Granting Post−Petition Discharge of the Receiver and
                       the Receiver Professionals, (C) Finding That the Receiver Complied with
                       11 U.S.C. Section 543, (D) Approving and Directing Payment of the Pr,
                       202 Motion to Seal (RE: related document(s)201 Motion to Approve).
                       //Receiver's Motion to Seal Certain Exhibits to the Final Report of Ian R.
                       Liston, Receiver Pendente Lite, Attached as Exhibit A to Receiver's
                       Motion, Pursuant to 11 U.S.C.) Filed by Ian R. Liston in his capacity as
                       the state court appointed receiver pendente lite of the operations of
                       Technovative Media, Inc.. Hearing scheduled 6/21/2023 at 11:30 AM at
                       Philadelphia Video Hearing. (HAKUN, NICHOLAS) (Entered:
05/17/2023             05/17/2023)

                 205   Certificate of No Response to APPLICATION FOR AUTHORITY TO
                       EMPLOY BMC GROUP, INC. AS CLAIMS AND NOTICING AGENT
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
                       Inc., Technovative Media, Inc. (related document(s)84, 175, 181).
                       (Attachments: # 1 Exhibit A − Proposed Order Authorizing Employment
                       and Retention of BMC Group, Inc. as Claims and Noticing Agent)
05/17/2023             (ZAHRALDDIN, RAFAEL) (Entered: 05/17/2023)

                 206   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
                       document(s)203, 205). (ZAHRALDDIN, RAFAEL) (Entered:
05/19/2023             05/19/2023)

                 207   EVIDENTIARY Hearing RESCHEDULED RE: 83 Emergency Motion to
                       Dismiss Case. Motion of Hawk Investment Holdings Ltd. (I) Pursuant to
                       Section 1112(b) of the Bankruptcy Code Either (A)(1) to Dismiss the
                       Debtors Chapter 11 Cases or (2) to Convert Such Cases to Cases Under
                       Chapter 7 or, (B) in the Alternative, Pursuant to Section 1104(a) of the
                       Bankruptcy Code to Appoint a Chapter 11 Trustee and (II) to Request
                       Expedited Consideration Pursuant to Local Rule 5070−1(g) Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). Hearing scheduled 6/26/2023 at 10:30 AM at Courtroom #2.
05/22/2023             AND 6/27 @ 12:30 and 6/28 @ 12:30 (G., Eileen) (Entered: 05/22/2023)

                 208   EVIDENTIARY Hearing RESCHEDULED RE: 135 Motion to Approve
                       Debtors' Expedited Motion for Authority to Take Certain Actions in the
                       Ordinary Course of Business Filed by Stream TV Networks, Inc.,
                       Technovative Media, Inc. Represented by RAFAEL X. ZAHRALDDIN
                       (Counsel). (Attachments: # 1 Exhibit A − Proposed Interim Order # 2
                       Exhibit B − Proposed Final Order # 3 Exhibit C − Exclusive Distribution
                       Agreement) filed by Debtor Stream TV Networks, Inc., Debtor
                       Technovative Media, Inc.. Hearing scheduled 6/26/2023 at 10:30 AM at
                       Courtroom #2. AND 6/27 @ 12:30 and 6/28 @ 12:30 (G., Eileen)
05/22/2023             (Entered: 05/22/2023)

05/22/2023       209   EVIDENTIARY Hearing RESCHEDULED RE: 134 Motion to Approve
                       Employee Obligations Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (Attachments: # 1 Proposed Order Ex A Proposed Interim Order # 2
                       Proposed Order Ex B Proposed Final Order) filed by Debtor Stream TV
                       Networks, Inc., Debtor Technovative Media, Inc.. Hearing scheduled


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                       6/26/2023 at 10:30 AM at Courtroom #2 AND 6/27 @ 12:30 and 6/28 @
                       12:30 (G., Eileen) (Entered: 05/22/2023)

                 210   Order Granting Motion to Appear pro hac vice on behalf of Erin R. Fay
                       for Ian R. Liston in his capacity as the state court appointed receiver
                       pendente lite of the operations of Technovative Media, Inc. (Related Doc
05/22/2023             # 199) (W., Christine) (Entered: 05/22/2023)

                 211   Order Granting Motion to Appear pro hac vice on behalf of Catherine C.
                       Lyons for Ian R. Liston in his capacity as the state court appointed
                       receiver pendente lite of the operations Technovative Media, Inc. (Related
05/22/2023             Doc # 200) (W., Christine) (Entered: 05/22/2023)

                 212   Monthly Operating Report for Filing Period 03/31/2023 AMENDED Filed
                       by RAFAEL X. ZAHRALDDIN on behalf of Technovative Media, Inc..
05/23/2023             (ZAHRALDDIN, RAFAEL) (Entered: 05/23/2023)

                 213   Monthly Operating Report for Filing Period 04/30/2023 AMENDED Filed
                       by RAFAEL X. ZAHRALDDIN on behalf of Technovative Media, Inc..
05/23/2023             (ZAHRALDDIN, RAFAEL) (Entered: 05/23/2023)

                 214   Request for Telephonic Hearing Hawk Investment Holdings Ltd.'s Request
                       for Status Conference Filed by Steven Caponi on behalf of Hawk
                       Investment Holdings Ltd. (related document(s)209, 208, 207). (Caponi,
05/23/2023             Steven) (Entered: 05/23/2023)

                 215   Hearing Held on 84 Application to Employ BMC Group, Inc. as Claims
                       and Noticing Agent Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). (related document(s),84).
05/24/2023             ORDER to be entered (G., Eileen) (Entered: 05/24/2023)

                 216   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 207)). No. of Notices: 15. Notice
05/24/2023             Date 05/24/2023. (Admin.) (Entered: 05/25/2023)

                 217   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 208)). No. of Notices: 15. Notice
05/24/2023             Date 05/24/2023. (Admin.) (Entered: 05/25/2023)

                 218   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 209)). No. of Notices: 15. Notice
05/24/2023             Date 05/24/2023. (Admin.) (Entered: 05/25/2023)

                 219   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 210)). No. of Notices: 2. Notice Date 05/24/2023.
05/24/2023             (Admin.) (Entered: 05/25/2023)

                 220   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 211)). No. of Notices: 3. Notice Date 05/24/2023.
05/24/2023             (Admin.) (Entered: 05/25/2023)

                 221   Status Hearing scheduled 5/31/2023 at 01:00 PM at Courtroom #2.
                       relating to the trial scheduled for 6/26/23 (G., Eileen) (Entered:
05/25/2023             05/25/2023)

05/25/2023       222   Order Denying Motion to Approve SeeCubic, Inc.'s Emergency Funding
                       to Non−Debtor Subsidiary Seecubic B.V. and Directing Putative Seecubic
                       B.V. Directors to execute promissory draw request (Larkin,

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                       Joseph)(Related Doc # 155) (R., Donna) (Entered: 05/26/2023)

                 223   Monthly Operating Report for Filing Period 03/31/2023 AMENDED Filed
                       by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
                       (Attachments: # 1 Exhibit March Profit & Loss # 2 Exhibit March Bank
05/26/2023             Statement) (ZAHRALDDIN, RAFAEL) (Entered: 05/26/2023)

                 224   Monthly Operating Report for Filing Period 04/30/2023 Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
                       (Attachments: # 1 Exhibit April Profit & Loss # 2 Exhibit April Bank
05/26/2023             Statement) (ZAHRALDDIN, RAFAEL) (Entered: 05/26/2023)

                 225   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 222)). No. of Notices: 5. Notice Date 05/28/2023.
05/28/2023             (Admin.) (Entered: 05/29/2023)

                 226   Declaration re: DECLARATION OF MATHU RAJAN IN SUPPORT OF
                       DEBTORS OPPOSITION TO MOTION OF HAWK INVESTMENT
                       HOLDINGS LTD. PURSUANT TO SECTION 1112(B) OF THE
                       BANKRUPTCY CODE EITHER (A)(1) TO DISMISS THE DEBTORS
                       CHAPTER 11 CASES OR (2) TO CONVERT SUCH CASES TO CASES
                       UNDER CHAPTER 7 OR, (B) IN THE ALTERNATIVE, PURSUANT TO
                       SECTION 1104(A) OF THE BANKRUPTCY CODE TO APPOINT A
                       CHAPTER 11 TRUSTEE (DOCKET NO. 196) AND IN SUPPORT OF
                       DEBTORS MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
                       AUTHORIZING DEBTORS TO TAKE CERTAIN ACTIONS IN THE
                       ORDINARY COURSE OF BUSINESS (DOCKET NO. 135) Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
05/30/2023             (ZAHRALDDIN, RAFAEL) (Entered: 05/30/2023)

                 227   Proposed Order Re: Receiver's Motion, Pursuant to 11 U.S.C. Sections
                       105(a) and 543(b) and Bankruptcy Rule 6002, for Entry of an Order (A)
                       Approving the Receiver's Final Report, (B) Granting Post−Petition
                       Discharge of the Receiver and the Receiver Professionals, (C) Finding
                       That the Receiver Complied with 11 U.S.C. Section 543, (D) Approving
                       and Directing Payment of the Prepetition Fees and Expenses of the
                       Receiver and the Receiver Professionals, and (E) Granting Related Relief
                       Filed by NICHOLAS E HAKUN on behalf of Ian R. Liston in his
                       capacity as the state court appointed receiver pendente lite of the
                       operations of Technovative Media, Inc. (related document(s)201).
05/31/2023             (HAKUN, NICHOLAS) (Entered: 05/31/2023)

                 228   Proposed Order Re: Receiver's Motion to Seal Certain Exhibits to the
                       Final Report of Ian R. Liston, Receiver Pendente Lite, Attached as Exhibit
                       A to Receiver's Motion, Pursuant to 11 U.S.C. Sections 105(a) and 543(b)
                       and Bankruptcy Rule 6002, for Entry of an Order (A) Approving the
                       Receiver's Final Report, (B) Granting Post−Petition Discharge of the
                       Receiver and the Receiver Professionals, (C) Finding That the Receiver
                       Complied with 11 U.S.C. Section 543, (D) Approving and Directing
                       Payment of the Prepetition Fees and Expenses of the Receiver and the
                       Receiver Professionals, and (E) Granting Related Relief Filed by
                       NICHOLAS E HAKUN on behalf of Ian R. Liston in his capacity as the
                       state court appointed receiver pendente lite of the operations of
                       Technovative Media, Inc. (related document(s)202). (HAKUN,
05/31/2023             NICHOLAS) (Entered: 05/31/2023)

                 229   Status Conference Held − Scheduling Order to be submitted . (G., Eileen)
05/31/2023             (Entered: 05/31/2023)



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                 230   Objection to Motion to Seal filed by Interested Party Ian R. Liston in his
                       capacity as the state court appointed receiver pendente lite of the
                       operations of Technovative Media, Inc. Filed by United States Trustee
                       (related document(s)202). (Attachments: # 1 Service List) (CALLAHAN,
06/02/2023             KEVIN) (Entered: 06/02/2023)

                 231   Order Denying Debtor's Motion for entry of Interim and Final Orders
                       Authorizing the debtor's to obtain post−petition unsecured financing to
                       fund debtor's foreign subsidiaries, modifying the Automatic Stay and
                       Setting final hearing. The Motion is DENIED for the reasons stated in
                       open court on the record at the Hearing. (Related Doc # 156) (R., Donna)
06/09/2023             (Entered: 06/09/2023)

                 232   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 231)). No. of Notices: 2. Notice Date 06/11/2023.
06/11/2023             (Admin.) (Entered: 06/12/2023)

                 233   Proposed Order Re: Scheduling Order Filed by Steven Caponi on behalf
                       of Hawk Investment Holdings Ltd. (related document(s)83). (Caponi,
06/13/2023             Steven) (Entered: 06/13/2023)

                 234   Motion of the Debtors for Entry of an Order Authorizing the Debtors to
                       Enter Into an Employment Agreement with Thomas Jung Ho Park as
                       Chief Financial Officer to the Debtors Filed by Stream TV Networks,
                       Inc., Technovative Media, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit A − Proposed
                       Order # 2 Exhibit B − Employment Agreement with Thomas Jung Ho
                       Park # 3 Exhibit C − Resume of Thomas Jung Ho Park) (ZAHRALDDIN,
06/14/2023             RAFAEL) (Entered: 06/14/2023)

                 363   Scheduling Order (related document(s)233). (R., Donna) (Entered:
06/14/2023             08/23/2023)

                 235   Notice of Appearance and Request for Notice of Bennett G. Fisher by
                       RAFAEL X. ZAHRALDDIN Filed by RAFAEL X. ZAHRALDDIN on
                       behalf of Stream TV Networks, Inc., Technovative Media, Inc..
06/15/2023             (ZAHRALDDIN, RAFAEL) (Entered: 06/15/2023)

                 236   Expedited Motion to Continue Hearing On Motion for Relief From Stay,
                       Motion to Dismiss Case for Other, Motion to Approve Filed by Stream
                       TV Networks, Inc., Technovative Media, Inc. Represented by RAFAEL
                       X. ZAHRALDDIN (Counsel) (related document(s)135, 16, 83).
                       (Attachments: # 1 Proposed Order Proposed Order Granting Expedited
                       Motion of the Debtors to Continue Trial and Hearings Scheduled for June
                       26 − 29 # 2 Exhibit B − Dr. Jordan Bruno Letter # 3 Proposed Order
                       Proposed Order Granting Request for Expedited Hearing on Expedited
                       Motion of the Debtors for Entry of an Order Continuing Trial and
                       Hearings Scheduled for June 26 − 29, 2023) (ZAHRALDDIN, RAFAEL)
06/16/2023             (Entered: 06/16/2023)

                 237   Notice to Take Deposition of: designated representative of Zhongsheng
                       Group Holdings Ltd. Filed by Hawk Investment Holdings Ltd.. (Caponi,
06/16/2023             Steven) (Entered: 06/16/2023)

                 238   Notice to Take Deposition of: Thomas Park Filed by Hawk Investment
06/16/2023             Holdings Ltd.. (Caponi, Steven) (Entered: 06/16/2023)

06/16/2023       239   Amended Notice to Take Deposition of: Zhongsheng Group Holdings
                       Ltd. Filed by Hawk Investment Holdings Ltd.. (Caponi, Steven) (Entered:

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                       06/16/2023)

                 240   Objection to Motion to Continue/Reschedule Hearing filed by Debtor
                       Stream TV Networks, Inc., Debtor Technovative Media, Inc. Hawk
                       Investment Holdings Ltd.'s Objection to Expedited Motion of the Debtors
                       for Entry of an Order Continuing Trial and Hearings Scheduled for June
                       26 − 29, 2023 Filed by Hawk Investment Holdings Ltd. (related
06/19/2023             document(s)236). (Caponi, Steven) (Entered: 06/19/2023)

                 241   Order granting Request for an Expedited Hearing on 236 Motion to
                       Continue Trial and Hearings Scheduled for June 26−29, 2023 filed by
                       Stream TV Networks, Inc., Technovative Media, Inc. represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). Expedited Hearing is scheduled
                       for 6/21/2023 at 11:30 AM. Service must be made by 3:00 PM today
06/20/2023             6/20/2023. (B., John) (Entered: 06/20/2023)

                 242   Notice to Take Deposition of: Thomas Park Re−Notice of Deposition of
                       Thomas Park by Hawk Investment Holdings, Ltd. Filed by Hawk
06/20/2023             Investment Holdings Ltd.. (Caponi, Steven) (Entered: 06/20/2023)

                 243   Certificate of Service Expedited Motion and Order Granting Request for
                       Expedited Hearing on Expedited Motion of the Debtors for Entry of an
                       Order Continuing Trial and Hearings Scheduled for June 26−29, 2023
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
                       Inc. (related document(s)241, 236). (ZAHRALDDIN, RAFAEL)
06/20/2023             (Entered: 06/20/2023)

                 244   Notice to Take Deposition of: Shadron L. Stastney Filed by Stream TV
06/20/2023             Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 06/20/2023)

                 245   Objection to Motion to Approve filed by Interested Party Ian R. Liston in
                       his capacity as the state court appointed receiver pendente lite of the
                       operations of Technovative Media, Inc. Hawk Investment Holdings Ltd.'s
                       Limited Objection to Receiver's Motion, Pursuant to 11 U.S.C. §§ 105(a)
                       and 543(b) and Bankruptcy Rule 6002, for Entry of an Order (A)
                       Approving the Receiver's Final Report, (B) Granting Post−Petition
                       Discharge of the Receiver and the Receiver Professionals, (C) Finding
                       that the Receiver Complied with 11 U.S.C. § 543, (D) Approving and
                       Directing Payment of the Prepetition Fees and Expenses of the Receiver
                       and the Receiver Professionals, and (E) Granting Related Relief Filed by
                       Hawk Investment Holdings Ltd. (related document(s)201). (Caponi,
06/20/2023             Steven) (Entered: 06/20/2023)

                 246   Amended Notice of (related document(s): 201 Motion to Approve (A) the
                       Receiver's Final Report, (B) Granting Post−Petition Discharge of the
                       Receiver and the Receiver Professionals, (C) Finding That the Receiver
                       Complied with 11 U.S.C. Section 543, (D) Approving and Directing
                       Payment of the Pr, 202 Motion to Seal (RE: related document(s)201
                       Motion to Approve). //Receiver's Motion to Seal Certain Exhibits to the
                       Final Report of Ian R. Liston, Receiver Pendente Lite, Attached as Exhibit
                       A to Receiver's Motion, Pursuant to 11 U.S.C.) Filed by Ian R. Liston in
                       his capacity as the state court appointed receiver pendente lite of the
                       operations of Technovative Media, Inc.. Hearing scheduled 7/12/2023 at
                       11:30 AM at Philadelphia Telephone Hearing. (HAKUN, NICHOLAS)
06/20/2023             (Entered: 06/20/2023)

06/21/2023       247   Motion to Appear pro hac vice on behalf of Sean M. Brennecke Filed by
                       Stream TV Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN
                       (Counsel). (Attachments: # 1 Exhibit A − Certification of Sean M.


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                       Brennecke # 2 Exhibit B − Proposed Order) (ZAHRALDDIN, RAFAEL)
                       (R., Donna). (Entered: 06/21/2023)

                 248   Exhibit //Notice of Filing of Exhibits Filed by NICHOLAS E HAKUN on
                       behalf of Ian R. Liston in his capacity as the state court appointed receiver
                       pendente lite of the operations of Technovative Media, Inc. (related
                       document(s)201). (Attachments: # 1 Exhibit A) (HAKUN, NICHOLAS)
06/21/2023             (Entered: 06/21/2023)

                 249   Motion to Dismiss/Withdraw Document (related document(s): Motion to
                       Seal) //Notice of Withdrawal Filed by Ian R. Liston in his capacity as the
                       state court appointed receiver pendente lite of the operations of
                       Technovative Media, Inc. Represented by NICHOLAS E HAKUN
                       (Counsel) (related document(s)202). (HAKUN, NICHOLAS) (Entered:
06/21/2023             06/21/2023)

                       Receipt Number APAEDC−16764151, Fee Amount $75.00 (related
06/21/2023             document(s)247). (R., Donna) (Entered: 06/21/2023)

                 250   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)235, 234).
06/21/2023             (ZAHRALDDIN, RAFAEL) (Entered: 06/21/2023)

                 251   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)236). (ZAHRALDDIN,
06/21/2023             RAFAEL) (Entered: 06/21/2023)

                 252   Hearing Held on 236 Expedited Motion to Continue Hearing On Motion
                       for Relief From Stay, Motion to Dismiss Case for Other, Motion to
                       Approve Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel) (related
                       document(s)135, 16, 83). (related document(s),236). Motion DENIED −
                       Trial remains scheduled for 6/26/23 − 6/27/23 − 6/28/23 & 6/29/23 (G.,
06/21/2023             Eileen) (Entered: 06/21/2023)

                 253   Chapter 11 Monthly Operating Report for the Month Ending: 05/31/2023
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
06/21/2023             Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 06/21/2023)

                 254   Chapter 11 Monthly Operating Report for the Month Ending: 05/31/2023
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Technovative Media,
06/21/2023             Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 06/21/2023)

                 255   Amended Notice to Take Deposition of: Shadron L. Stastney Filed by
                       Stream TV Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered:
06/22/2023             06/22/2023)

                 256   Order Granting Application to Employ BMC Group Inc. (Related Doc #
06/22/2023             84) (W., Yvette) (Entered: 06/22/2023)

                 257   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 241)). No. of Notices: 1. Notice Date 06/22/2023.
06/22/2023             (Admin.) (Entered: 06/23/2023)

06/23/2023       258   AMENDMENT TO DEBTORS EXPEDITED MOTION FOR ENTRY OF
                       INTERIM AND FINAL ORDERS AUTHORIZING DEBTORS TO TAKE
                       CERTAIN ACTIONS IN THE ORDINARY COURSE OF BUSINESS Filed
                       by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.,


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                       Technovative Media, Inc. (related document(s)135). (Attachments: # 1
                       Exhibit # 2 Exhibit # 3 Exhibit) (ZAHRALDDIN, RAFAEL) (Entered:
                       06/23/2023)

                 259   Motion to Appear pro hac vice on behalf of Thomas A. Warns Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). (Attachments: # 1 Proposed Order # 2 Verified Statement of
06/23/2023             Thomas A. Warns, Esquire) (Caponi, Steven) (Entered: 06/23/2023)

                       Receipt Number APAEDC−16771645, Fee Amount $75.00 (related
06/23/2023             document(s)259). (R., Donna) (Entered: 06/23/2023)

                 260   Order Granting Motion To Appear pro hac vice of Sean M. Brennecke
06/23/2023             (Related Doc # 247) (R., Donna) (Entered: 06/23/2023)

                 261   **Duplicate of doc.#260**Order Granting Motion To Appear pro hac
                       vice of Sean M. Brennecke Esquire (Related Doc 247) (R., Donna)
06/23/2023             Modified on 6/26/2023 (K., Marie). (Entered: 06/23/2023)

                 262   Order Granting Motion To Appear pro hac vice Thomas A. Warns,
06/23/2023             Esquire. (Related Doc # 259) (R., Donna) (Entered: 06/23/2023)

                 263   Exhibit Hawk Investment Holdings Ltd. and SeeCubic, Inc.'s Joint Exhibit
                       List for June 26−29, 2023 Trial Filed by Steven Caponi on behalf of
06/23/2023             Hawk Investment Holdings Ltd.. (Caponi, Steven) (Entered: 06/23/2023)

                 264   Exhibit Stream TV Networks, Inc. Exhibit List for June 26−29, 2023 Trial
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
06/23/2023             Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 06/23/2023)

                 265   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 256)). No. of Notices: 1. Notice Date 06/24/2023.
06/24/2023             (Admin.) (Entered: 06/25/2023)

                 266   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 261)). No. of Notices: 1. Notice Date 06/25/2023.
06/25/2023             (Admin.) (Entered: 06/26/2023)

                 267   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 262)). No. of Notices: 1. Notice Date 06/25/2023.
06/25/2023             (Admin.) (Entered: 06/26/2023)

                 268   Hearing Continued on 16 Emergency Motion for Relief from Stay . Filed
                       by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). . Hearing scheduled 6/27/2023 at 12:30 PM at Courtroom #2.
06/26/2023             (G., Eileen) (Entered: 06/27/2023)

                 269   Hearing Continued on 83 Motion to Dismiss Case. Motion of Hawk
                       Investment Holdings Ltd. (I) Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the
                       Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration
                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). Hearing scheduled
                       6/27/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
06/26/2023             06/27/2023)



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                 270   Hearing Continued on 135 Motion to Approve Debtors' Expedited Motion
                       for Authority to Take Certain Actions in the Ordinary Course of Business
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). . Hearing
                       scheduled 6/27/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
06/26/2023             06/27/2023)

                 271   Hearing Continued on 134 Motion to Approve Employee Obligations
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). Hearing
                       scheduled 6/27/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
06/26/2023             06/27/2023)

                 272   Hearing Continued on 16 Emergency Motion for Relief from Stay . , Filed
                       by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). Hearing scheduled 6/28/2023 at 12:30 PM at Courtroom #2.
06/27/2023             (G., Eileen) (Entered: 06/28/2023)

                 273   Hearing Continued on 83 Emergency Motion to Dismiss Case. Motion of
                       Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the
                       Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration
                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). Hearing scheduled
                       6/28/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
06/27/2023             06/28/2023)

                 274   Hearing Continued on 135 Motion to Approve Debtors' Expedited Motion
                       for Authority to Take Certain Actions in the Ordinary Course of Business
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). . Hearing
                       scheduled 6/28/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
06/27/2023             06/28/2023)

                 275   Hearing Continued on 134 Motion to Approve Employee Obligations
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). .. Hearing
                       scheduled 6/28/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
06/27/2023             06/28/2023)

                 276   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 260)). No. of Notices: 1. Notice Date 06/28/2023.
06/28/2023             (Admin.) (Entered: 06/29/2023)

                 277   Hearing Continued on 16 Emergency Motion for Relief from Stay . F
                       Filed by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). . Hearing scheduled 6/29/2023 at 12:30 PM at Courtroom #2.
06/28/2023             (G., Eileen) (Entered: 06/29/2023)

06/28/2023       278   Hearing Continued on 83 Emergency Motion to Dismiss Case. Motion of
                       Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the
                       Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration
                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). Hearing scheduled


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                       6/29/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
                       06/29/2023)

                 279   Hearing Continued on 135 Motion to Approve Debtors' Expedited Motion
                       for Authority to Take Certain Actions in the Ordinary Course of Business
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). .. Hearing
                       scheduled 6/29/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
06/28/2023             06/29/2023)

                 280   Hearing Continued on 134 Motion to Approve Employee Obligations
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). Hearing
                       scheduled 6/29/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
06/28/2023             06/29/2023)

                 281   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)258). (ZAHRALDDIN,
06/29/2023             RAFAEL) (Entered: 06/29/2023)

                 282   Certificate of Service Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)253, 254, 255).
06/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 06/29/2023)

                 283   Notice of Filings in Dutch Proceedings Requested by the United States
                       Bankruptcy Court for the Eastern District of Pennsylvania Filed by
                       Stream TV Networks, Inc.. (Attachments: # 1 Exhibit A − Emails and
                       Letter # 2 Exhibit B − Amsterdam District Court Ruling # 3 Exhibit C −
                       Doc 76 Ex A Purchase Agreement) (ZAHRALDDIN, RAFAEL)
07/01/2023             (Entered: 07/01/2023)

                 284   Exhibit Hawk Investment Holdings Ltd. and SeeCubic, Inc.'s
                       Supplemental Joint Exhibit List for June 26−29, 2023 Trial Filed by
                       Steven Caponi on behalf of Hawk Investment Holdings Ltd. (related
07/06/2023             document(s)263). (Caponi, Steven) (Entered: 07/06/2023)

                 285   Objection to Generic Motion filed by Debtor Stream TV Networks, Inc.
                       Hawk Investment Holdings Ltd.s Objection and Reservation of Rights to
                       Motion of the Debtors to Enter into an Employment Agreement with
                       Thomas Jung Ho Park as Chief Financial Officer to the Debtors Filed by
                       Hawk Investment Holdings Ltd. (related document(s)234). (Caponi,
07/07/2023             Steven) (Entered: 07/07/2023)

                 286   Document in re: Notice Regarding Proceedings in the Netherlands Filed
                       by Joseph Oliver Larkin on behalf of SeeCubic, Inc.. (Attachments: # 1
                       Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
                       Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11
                       Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit
07/07/2023             15 # 16 Exhibit 16) (Larkin, Joseph) (Entered: 07/07/2023)

07/12/2023       287   Hearing Held on 201 Motion to Approve (A) the Receiver's Final Report,
                       (B) Granting Post−Petition Discharge of the Receiver and the Receiver
                       Professionals, (C) Finding That the Receiver Complied with 11 U.S.C.
                       Section 543, (D) Approving and Directing Payment of the Prepetition
                       Fees and Expenses of the Receiver and the Receiver Professionals, and
                       (E) Granting Related Relief Filed by Ian R. Liston in his capacity as the
                       state court appointed receiver pendente lite of the operations of
                       Technovative Media, Inc. Represented by NICHOLAS E HAKUN
                       (Counsel). (Attachments: # 1 Notice # 2 Exhibit A # 3 Exhibit B) filed by


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                       Interested Party Ian R. Liston in his capacity as the state court appointed
                       receiver pendente lite of the operations of Technovative Media, Inc.
                       (related document(s),201,201). ORDER to be submitted (G., Eileen)
                       (Entered: 07/12/2023)

                 288   TRIAL Continued on 83 Emergency Motion to Dismiss Case. Motion of
                       Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the
                       Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration
                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). . Hearing scheduled
                       8/15/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
07/12/2023             07/12/2023)

                 289   Trial Continued on 16 Emergency Motion for Relief from Stay . Fee
                       Amount $188.00, Filed by Hawk Investment Holdings Ltd. Represented
                       by Steven Caponi (Counsel). (Attachments: # 1 Proposed Order Order
                       Granting Motion of Hawk Investment Holdings Ltd. for Relief from the
                       Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code # 2
                       Proposed Order Order Granting Expedited Hearing # 3 Declaration of
                       Steven L. Caponi # 4 Exhibit A # 5 Exhibit B # 6 Exhibit C # 7 Exhibit D
                       # 8 Exhibit E # 9 Exhibit F # 10 Exhibit G # 11 Exhibit H # 12 Exhibit I #
                       13 Exhibit J # 14 Exhibit K # 15 Exhibit L # 16 Exhibit M # 17 Exhibit N
                       # 18 Exhibit O # 19 Exhibit P # 20 Exhibit Q # 21 Certificate of Service)
                       filed by Creditor Hawk Investment Holdings Ltd.. Hearing scheduled
                       8/15/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
07/12/2023             07/12/2023)

                 290   Trial Continued on 134 Motion to Approve Employee Obligations Filed
                       by Stream TV Networks, Inc., Technovative Media, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). Hearing scheduled 8/15/2023 at
07/12/2023             12:30 PM at Courtroom #2. (G., Eileen) (Entered: 07/12/2023)

                 291   Trial Continued on 135 Motion to Approve Debtors' Expedited Motion for
                       Authority to Take Certain Actions in the Ordinary Course of Business
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). . Hearing
                       scheduled 8/15/2023 at 12:30 PM at Courtroom #2. (G., Eileen) (Entered:
07/12/2023             07/12/2023)

                 292   Motion to Extend Exclusivity Period for Filing a Chapter 11 Plan and
                       Disclosure Statement Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: # 1 Proposed
07/13/2023             Order) (ZAHRALDDIN, RAFAEL) (Entered: 07/13/2023)

                 293   Disclosure Statement Filed by Stream TV Networks, Inc.. (Attachments: #
                       1 Exhibit A − Plan # 2 Exhibit B − Restructuring
07/13/2023             Agreements)(ZAHRALDDIN, RAFAEL) (Entered: 07/13/2023)

                 294   Order appointing mediator Honorable JUDGE PATRICIA M. MAYER
                       and assignment to mediation. The matter concerns Bonding Equipment
07/13/2023             Dispute. (R., Donna) (Entered: 07/14/2023)

07/14/2023       295   Motion to Compel Hawk Investment Holdings Limited's Motion to
                       Compel Discovery and Impose Sanctions for Failure to Comply Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). (Attachments: # 1 Declaration of Steven L. Caponi with


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                       Exhibits 1−4 # 2 Proposed Order # 3 Notice of Motion, Response
                       Deadline and Hearing Date) (Caponi, Steven) (Entered: 07/14/2023)

                 297   Notice of (related document(s): 295 Motion to Compel Hawk Investment
                       Holdings Limited's Motion to Compel Discovery and Impose Sanctions for
                       Failure to Comply) Filed by Hawk Investment Holdings Ltd. . Hearing
                       scheduled 8/2/2023 at 11:30 AM at Courtroom #2. (R., Yvette) (Entered:
07/14/2023             07/17/2023)

                 296   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 294)). No. of Notices: 6. Notice Date 07/16/2023.
07/16/2023             (Admin.) (Entered: 07/17/2023)

                 298   Application to Employ Thomas Jung Ho Park as Chief Financial Officer
                       Filed by Technovative Media, Inc., Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: #
                       1 Exhibit A − Proposed Order # 2 Exhibit B − Employment Agreement #
                       3 Exhibit C − Declaration of Thomas Park # 4 Exhibit D − Resume of
07/18/2023             Thomas Park) (ZAHRALDDIN, RAFAEL) (Entered: 07/18/2023)

                 299   Notice of (related document(s): 298 Application to Employ Thomas Jung
                       Ho Park as Chief Financial Officer ) Filed by Stream TV Networks, Inc.,
                       Technovative Media, Inc.. Hearing scheduled 8/16/2023 at 11:30 AM at
07/18/2023             Courtroom #2. (ZAHRALDDIN, RAFAEL) (Entered: 07/18/2023)

                 300   Monthly Operating Report for Filing Period 6/1/23−6/30/23 STREAM TV
                       NETWORKS, INC. Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc.. (Attachments: # 1 Exhibit # 2 Exhibit)
07/20/2023             (ZAHRALDDIN, RAFAEL) (Entered: 07/20/2023)

                 301   Monthly Operating Report for Filing Period 6/1/23−6/30/23
                       TECHNOVATIVE MEDIA, INC. Filed by RAFAEL X. ZAHRALDDIN
                       on behalf of Technovative Media, Inc.. (ZAHRALDDIN, RAFAEL)
07/20/2023             (Entered: 07/20/2023)

                 302   Transcript regarding hearing held on 6/26/2023. Transcribed by
                       TheRecordXchange. 288 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 7/31/2023. Redaction Request Due By 8/14/2023. Redacted Transcript
                       Submission Due By 8/24/2023. Transcript access will be restricted
07/24/2023             through 10/23/2023. (B., John) (Entered: 07/24/2023)

                 303   Transcript regarding hearing held on 6/27/2023. Transcribed by
                       TheRecordXchange. 180 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 7/31/2023. Redaction Request Due By 8/14/2023. Redacted Transcript
                       Submission Due By 8/24/2023. Transcript access will be restricted
07/24/2023             through 10/23/2023. (B., John) (Entered: 07/24/2023)

07/24/2023       304   SEE REVISED TRANSCRIPT AT ENTRY #378. Transcript regarding
                       hearing held on 6/28/2023. Transcribed by TheRecordXchange. 215 total
                       pages including Certification of Transcriber. The transcript may be
                       viewed at the Bankruptcy Court Clerk's Office. [For information about
                       how to contact the transcriber, call the Clerk's Office]. Notice of Intent to
                       Request Redaction Deadline Due By 7/31/2023. Redaction Request Due


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                       By 8/14/2023. Redacted Transcript Submission Due By 8/24/2023.
                       Transcript access will be restricted through 10/23/2023. (B., John)
                       Modified on 8/28/2023 (B., John). (Entered: 07/24/2023)

                 305   Transcript regarding hearing held on 6/29/2023. Transcribed by
                       TheRecordXchange. 186 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 7/31/2023. Redaction Request Due By 8/14/2023. Redacted Transcript
                       Submission Due By 8/24/2023. Transcript access will be restricted
07/24/2023             through 10/23/2023. (B., John) (Entered: 07/24/2023)

                 306   Objection to Application to Employ filed by Debtor Stream TV Networks,
                       Inc., Debtor Technovative Media, Inc. Hawk Investment Holdings Ltd.'s
                       Objection to the Application of the Debtors for Entry of an Order
                       Authorizing the Debtors to Retain Thomas Jung Ho Park as Chief
                       Financial Officer to the Debtors Filed by Hawk Investment Holdings Ltd.
07/25/2023             (related document(s)298). (Caponi, Steven) (Entered: 07/25/2023)

                 307   Supplemental Statement Hawk Investment Holdings Limited's Supplement
                       to Motion to Compel Discovery and Impose Sanctions for Failure to
                       Comply Filed by Steven Caponi on behalf of Hawk Investment Holdings
                       Ltd. (related document(s)295). (Attachments: # 1 Exhibit A) (Caponi,
07/26/2023             Steven) (Entered: 07/26/2023)

                 308   Objection to Motion to Extend/Limit Exclusivity Period filed by Debtor
                       Stream TV Networks, Inc. Hawk Investment Holdings Ltd.'s Objection to
                       Debtors' Motion for an Order Extending the Exclusive Periods During
                       which Debtors May File a Plan and Disclosure Statement and Solicit
                       Acceptances Thereof Pursuant to 11 U.S.C. § 1121(d) Filed by Hawk
                       Investment Holdings Ltd. (related document(s)292). (Caponi, Steven)
07/27/2023             (Entered: 07/27/2023)

                 309   Hearing SCHEDULED on 285 Objection Filed by Hawk Investment
                       Holdings Ltd. to 234 Motion of the Debtors for Entry of an Order
                       Authorizing the Debtors to Enter Into an Employment Agreement with
                       Thomas Jung Ho Park as Chief Financial Officer to the Debtors Filed by
                       Stream TV Networks, Hearing scheduled 8/16/2023 at 11:30 AM at
07/27/2023             Courtroom #2. (G., Eileen) (Entered: 07/27/2023)

                 310   Hearing SCHEDULED on 292 Motion to Extend Exclusivity Period for
                       Filing a Chapter 11 Plan and Disclosure Statement Filed by Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       308 Objection to Motion to Extend/Limit Exclusivity Period filed by
                       Debtor Stream TV Networks, Inc. Hawk Investment Holdings Ltd.'s
                       Objection to Debtors' Motion for an Order Extending the Exclusive
                       Periods During which Debtors May File a Plan and Disclosure Statement
                       and Solicit Acceptances Thereof Pursuant to 11 U.S.C. § 1121(d) Filed by
                       Hawk Investment Holdings Ltd. (related document(s)292). Hearing
                       scheduled 8/16/2023 at 11:30 AM at Courtroom #2. (G., Eileen) (Entered:
07/27/2023             07/27/2023)

                 311   Response to Motion to Compel filed by Creditor Hawk Investment
                       Holdings Ltd. Filed by Stream TV Networks, Inc., Technovative Media,
                       Inc. (related document(s)295). (Attachments: # 1 Exhibit A)
07/28/2023             (ZAHRALDDIN, RAFAEL) (Entered: 07/28/2023)

07/29/2023       312


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                       BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 309)). No. of Notices: 20. Notice
                       Date 07/29/2023. (Admin.) (Entered: 07/30/2023)

                 313   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 310)). No. of Notices: 20. Notice
07/29/2023             Date 07/29/2023. (Admin.) (Entered: 07/30/2023)

                 314   Amended Order Authorizing Employment and Retention of BMC Group,
                       Inc. as claims and Noticing Agent.(related document(s)256). (R., Donna)
08/01/2023             (Entered: 08/01/2023)

                 315   Hearing Held on 295 Motion to Compel Hawk Investment Holdings
                       Limited's Motion to Compel Discovery and Impose Sanctions for Failure
                       to Comply Filed by Hawk Investment Holdings Ltd. Represented by
                       Steven Caponi (Counsel). . (related document(s),295). Motion Granted/
                       Discovery Extended − ORDER to be submitted (G., Eileen) (Entered:
08/02/2023             08/02/2023)

                 316   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 314)). No. of Notices: 4. Notice Date 08/03/2023.
08/03/2023             (Admin.) (Entered: 08/04/2023)

                 317   Certificate of Service Filed by BMC Group Inc. (related document(s)292).
08/04/2023             (Ordaz, Steven) (Entered: 08/04/2023)

                 318   Certificate of Service Filed by BMC Group Inc. (related document(s)293).
08/04/2023             (Ordaz, Steven) (Entered: 08/04/2023)

                 319   Certificate of Service Filed by BMC Group Inc. (related document(s)299,
08/04/2023             301, 298, 300). (Ordaz, Steven) (Entered: 08/04/2023)

                 320   Certificate of Service Filed by BMC Group Inc. (related document(s)310).
08/04/2023             (Ordaz, Steven) (Entered: 08/04/2023)

                 321   Certificate of Service Filed by BMC Group Inc. (related document(s)311,
08/04/2023             314). (Ordaz, Steven) (Entered: 08/04/2023)

                 322   Order Denying Hawk Investment Holdings limited motion to compel
                       discover and impose sanctions for failure to comply, extending discovery
                       and order disclosure of information. (Related Doc # 295) (R., Donna)
08/04/2023             (Entered: 08/04/2023)

                 323   Proposed Order Re: Motion to Approve (A) the Receiver's Final Report,
                       (B) Granting Post−Petition Discharge of the Receiver and the Receiver
                       Professionals, (C) Finding That the Receiver Complied with 11 U.S.C.
                       Section 543, (D) Approving and Directing Payment of the Prepetition
                       Fees and Expenses of the Receiver and the Receiver Professionals, and
                       (E) Granting Related Relief Filed by NICHOLAS E HAKUN on behalf of
                       Ian R. Liston in his capacity as the state court appointed receiver pendente
                       lite of the operations of Technovative Media, Inc. (related
08/04/2023             document(s)201). (HAKUN, NICHOLAS) (Entered: 08/04/2023)

                 324   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 322)). No. of Notices: 3. Notice Date 08/06/2023.
08/06/2023             (Admin.) (Entered: 08/07/2023)

08/07/2023       325

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                       Exhibit REMBRANDT 3D HOLDING LTD'S WITNESS AND EXHIBIT
                       LIST Filed by ANDREW PETER DEMARCO on behalf of Rembrandt
                       3D Holding Ltd.. (DEMARCO, ANDREW) (Entered: 08/07/2023)

                 326   Declaration Under Penalty of Perjury for Non−individual Debtors
                       Declaration of Mathu Rajan in Support of Debtors Opposition to Hawk
                       Investment Holdings Limiteds Supplement to Motion to Compel Discovery
                       and Impose Sanctions for Failure to Comply (Docket No. 307) Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
                       (Attachments: # 1 Exhibit Exhibit A−ToJoy Cooperation Agreement # 2
                       Exhibit Exhibit B−Kabacinski Texts # 3 Exhibit Exhibit C−Business
                       Cards # 4 Exhibit Exhibit D−Wang Photo # 5 Exhibit Exhibit E−News
                       Article # 6 Exhibit Exhibit F−Aug 2023 WeChat Messages)
08/08/2023             (ZAHRALDDIN, RAFAEL) (Entered: 08/08/2023)

                 327   Emergency Motion Hawk Investment Holdings Limited's Emergency
                       Motion in Limine to Preclude Testimony and Introduction of Evidence
                       Filed by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). (Attachments: # 1 Exhibit A−B # 2 Order Granting Hawk
                       Investment Holdings Ltd.'s Motion in Limine to Preclude Testimony and
                       Introduction of Evidence # 3 Order Granting Expedited Hearing) (Caponi,
08/10/2023             Steven) (Entered: 08/10/2023)

                 328   Emergency Motion For Contempt Hawk Investment Holdings Limited's
                       Emergency Motion to Hold the Debtors in Contempt and Impose
                       Sanctions Filed by Hawk Investment Holdings Ltd. Represented by
                       Steven Caponi (Counsel). (Attachments: # 1 Exhibit A−B # 2 Proposed
                       Order # 3 Order Granting Expedited Hearing) (Caponi, Steven) (Entered:
08/10/2023             08/10/2023)

                 329   Order Scheduling Hearing re:327 Emergency Motion Hawk Investment
                       Holdings Limited's Emergency Motion in Limine to Preclude Testimony
                       and Introduction of Evidence Filed by Hawk Investment Holdings Ltd.
                       Represented by Steven Caponi (Counsel). Hearing scheduled 8/14/2023 at
                       10:00 AM at Philadelphia Telephone Hearing. Any responses the Motion
                       may be filed on or before the 14th day of August 8 a.m.,2023. (D., Stacey)
08/11/2023             (Entered: 08/11/2023)

                 330   Certificate of Service Filed by Steven Caponi on behalf of Hawk
                       Investment Holdings Ltd. (related document(s)329). (Caponi, Steven)
08/11/2023             (Entered: 08/11/2023)

                 331   Notice to Take Deposition of: Mathu Rajan Filed by Hawk Investment
08/11/2023             Holdings Ltd.. (Caponi, Steven) (Entered: 08/11/2023)

                 332   Certificate of Service Filed by BMC Group Inc. (related document(s)326).
08/11/2023             (Ordaz, Steven) (Entered: 08/11/2023)

                 333   Certificate of Service Filed by BMC Group Inc. (related document(s)329).
08/11/2023             (Ordaz, Steven) (Entered: 08/11/2023)

                 334   Exhibit Debtors' Amended Exhibit and Witness List Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc., Technovative
                       Media, Inc. (related document(s)163). (ZAHRALDDIN, RAFAEL)
08/11/2023             (Entered: 08/11/2023)

08/12/2023       335   Adversary case 23−00057. Complaint by RAFAEL X. ZAHRALDDIN on
                       behalf of Stream TV Networks, Inc., Technovative Media, Inc. against
                       SHADRON L STASTNEY, SLS Holdings VI, LLC, HAWK

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                       INVESTMENT HOLDINGS LIMITED, ARTHUR LEONARD
                       ROBERT "BOB" MORTON, SeeCubic, Inc., ALASTAIR CRAWFORD,
                       KRZYSZTOF KABACINSKI, KEVIN GOLLOP, ASAF GOLA, JOHN
                       DOE(S), JANE DOE(S), PATRIC THEUNE, SEECUBIC B.V.,
                       DELAWARE and OTHER LAW FIRMS representing and acting in
                       concert with John Doe(s) and/or Jane Doe(s), INVESTMENT BANKS
                       employed by John Doe(s) and/or Jane Doe(s). Fee Amount $350 . (11
                       (Recovery of money/property − 542 turnover of property)),(13 (Recovery
                       of money/property − 548 fraudulent transfer)),(14 (Recovery of
                       money/property − other)),(21 (Validity, priority or extent of lien or other
                       interest in property)),(71 (Injunctive relief − reinstatement of stay))
                       (ZAHRALDDIN, RAFAEL) (Entered: 08/12/2023)

                 336   Response to Generic Motion filed by Creditor Hawk Investment Holdings
                       Ltd. Filed by Rembrandt 3D Holding Ltd. (related document(s)327).
08/13/2023             (DEMARCO, ANDREW) (Entered: 08/13/2023)

                 337   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 329)). No. of Notices: 21. Notice Date 08/13/2023.
08/13/2023             (Admin.) (Entered: 08/14/2023)

                 338   Response to Generic Motion filed by Creditor Hawk Investment Holdings
                       Ltd. Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       (related document(s)327). (ZAHRALDDIN, RAFAEL) (Entered:
08/14/2023             08/14/2023)

                 339   Order Scheduling Hearing re:328 Emergency Motion For Contempt Hawk
                       Investment Holdings Limited's Emergency Motion to Hold the Debtors in
                       Contempt and Impose Sanctions . Hearing scheduled 8/15/2023 at 12:00
08/14/2023             PM at Courtroom #2. (J., Randi) (Entered: 08/14/2023)

                 340   Hearing Held on 327 Emergency Motion Hawk Investment Holdings
                       Limited's Emergency Motion in Limine to Preclude Testimony and
                       Introduction of Evidence Filed by Hawk Investment Holdings Ltd.
                       Represented by Steven Caponi (Counsel). (related document(s),327). To
08/14/2023             be ruled after counsel advises Judge (G., Eileen) (Entered: 08/14/2023)

                 341   Scheduling Order Re:Emergency Motion to Dismiss Case. Motion of
                       Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the filed
                       by Creditor Hawk Investment Holdings Ltd. (related document(s)83). (J.,
08/14/2023             Randi) (Entered: 08/14/2023)

                 342   Certificate of Service Filed by Steven Caponi on behalf of Hawk
                       Investment Holdings Ltd. (related document(s)339). (Caponi, Steven)
08/14/2023             (Entered: 08/14/2023)

                 343   Order re: 327 Emergency Motion in Limine to Preclude Testimony and
                       Introduction of Evidence filed by Hawk Investment Holdings Ltd. It is
                       hereby Ordered that the Motion is GRANTED IN PART, AND DENIED
                       IN PART as set forth: Christopher Michaels shall be permitted to testify
                       as a rebuttal witness with respect to all issues related to the Debtor's
                       intellectual property and licensing issues; but neither Bud Robertson nor
08/14/2023             Tom Sego shall be permitted to testify. (B., John) (Entered: 08/14/2023)

08/14/2023       344   Supplemental Statement Hawk Investment Holdings Limited's Supplement
                       to Emergency Motion to Hold Debtors in Contempt and Impose Sanctions
                       Filed by Steven Caponi on behalf of Hawk Investment Holdings Ltd.


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                       (related document(s)328). (Attachments: # 1 Exhibit A # 2 Exhibit B−1 −
                       B−4 # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G
                       # 8 Exhibit H) (Caponi, Steven) (Entered: 08/14/2023)

                 345   Exhibit Hawk Investment Holdings Ltd. and SeeCubic, Inc.'s Amended
                       Joint Exhibit List for Continued Trial Filed by Steven Caponi on behalf of
08/15/2023             Hawk Investment Holdings Ltd.. (Caponi, Steven) (Entered: 08/15/2023)

                 346   Response to Supplemental Statement filed by Creditor Hawk Investment
                       Holdings Ltd. Filed by Stream TV Networks, Inc. (related
                       document(s)344). (Attachments: # 1 Exhibit A # 2 Exhibit B)
08/15/2023             (ZAHRALDDIN, RAFAEL) (Entered: 08/15/2023)

                 350   EVIDENTIARY Hearing held and Continued on 83 Emergency Motion to
                       Dismiss Case. Motion of Hawk Investment Holdings Ltd. (I) Pursuant to
                       Section 1112(b) of the Bankruptcy Code Either (A)(1) to Dismiss the
                       Debtors Chapter 11 Cases or (2) to Convert Such Cases to Cases Under
                       Chapter 7 or, (B) in the Alternative, Pursuant to Section 1104(a) of the
                       Bankruptcy Code to Appoint a Chapter 11 Trustee and (II) to Request
                       Expedited Consideration Pursuant to Local Rule 5070−1(g) Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). Hearing scheduled 8/17/2023 at 12:30 PM at Courtroom #2.
08/15/2023             (G., Eileen) (Entered: 08/16/2023)

                 351   EVIDENTIARY Hearing held and Continued on 16 Emergency Motion
                       for Relief from Stay . Filed by Hawk Investment Holdings Ltd.
                       Represented by Steven Caponi (Counsel). .. Hearing scheduled 8/17/2023
08/15/2023             at 12:30 PM at Courtroom #2. (G., Eileen) (Entered: 08/16/2023)

                 352   EVIDENTIARY Hearing held and Continued on 135 Motion to Approve
                       Debtors' Expedited Motion for Authority to Take Certain Actions in the
                       Ordinary Course of Business Filed by Stream TV Networks, Inc.,
                       Technovative Media, Inc. Represented by RAFAEL X. ZAHRALDDIN
                       (Counsel). . Hearing scheduled 8/17/2023 at 12:30 PM at Courtroom #2.
08/15/2023             (G., Eileen) (Entered: 08/16/2023)

                 353   EVIDENTIARY Hearing held and Continued on 134 Motion to Approve
                       Employee Obligations Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel)..
                       Hearing scheduled 8/17/2023 at 12:30 PM at Courtroom #2. (G., Eileen)
08/15/2023             (Entered: 08/16/2023)

                 354   EVIDENTIARY Hearing Held on 328 Emergency Motion For Contempt
                       Hawk Investment Holdings Limited's Emergency Motion to Hold the
                       Debtors in Contempt and Impose Sanctions Filed by Hawk Investment
                       Holdings Ltd. Represented by Steven Caponi (Counsel). (related
                       document(s),328). Matter Held Under Advisement (G., Eileen) (Entered:
08/15/2023             08/16/2023)

                 347   Hearing rescheduled on 234 Motion of the Debtors for Entry of an Order
                       Authorizing the Debtors to Enter Into an Employment Agreement with
                       Thomas Jung Ho Park as Chief Financial Officer to the Debtors Filed by
                       Stream TV Networks, Inc., Technovative Media, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). . Hearing scheduled 8/30/2023 at
08/16/2023             11:30 AM at Courtroom #2. (G., Eileen) (Entered: 08/16/2023)

08/16/2023       348   Hearing rescheduled on 292 Motion to Extend Exclusivity Period for
                       Filing a Chapter 11 Plan and Disclosure Statement Filed by Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).


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                       Hearing scheduled 8/30/2023 at 11:30 AM at Courtroom #2. (G., Eileen)
                       (Entered: 08/16/2023)

                 349   Hearing rescheduled on 298 Application to Employ Thomas Jung Ho Park
                       as Chief Financial Officer Filed by Technovative Media, Inc., Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel). .
                       Hearing scheduled 8/30/2023 at 11:30 AM at Courtroom #2. (G., Eileen)
08/16/2023             (Entered: 08/16/2023)

                 355   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 339)). No. of Notices: 6. Notice Date 08/16/2023.
08/16/2023             (Admin.) (Entered: 08/17/2023)

                 356   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 341)). No. of Notices: 4. Notice Date 08/16/2023.
08/16/2023             (Admin.) (Entered: 08/17/2023)

                 357   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 343)). No. of Notices: 10. Notice Date 08/16/2023.
08/16/2023             (Admin.) (Entered: 08/17/2023)

                 358   EVIDENTIARY Hearing held and Continued on 83 Emergency Motion to
                       Dismiss Case. Motion of Hawk Investment Holdings Ltd. (I) Pursuant to
                       Section 1112(b) of the Bankruptcy Code Either (A)(1) to Dismiss the
                       Debtors Chapter 11 Cases or (2) to Convert Such Cases to Cases Under
                       Chapter 7 or, (B) in the Alternative, Pursuant to Section 1104(a) of the
                       Bankruptcy Code to Appoint a Chapter 11 Trustee and (II) to Request
                       Expedited Consideration Pursuant to Local Rule 5070−1(g) Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel).. Hearing scheduled 8/28/2023 at 10:30 AM at Courtroom #2.
08/17/2023             (G., Eileen) (Entered: 08/18/2023)

                 359   Hearing Continued on 16 Emergency Motion for Relief from Stay . , Filed
                       by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). . Hearing scheduled 8/28/2023 at 10:30 AM at Courtroom #2.
08/17/2023             (G., Eileen) (Entered: 08/18/2023)

                 360   EVIDENTIARY Hearing held and Continued on 135 Motion to Approve
                       Debtors' Expedited Motion for Authority to Take Certain Actions in the
                       Ordinary Course of Business Filed by Stream TV Networks, Inc.,
                       Technovative Media, Inc. Represented by RAFAEL X. ZAHRALDDIN
                       (Counsel). Hearing scheduled 8/28/2023 at 10:30 AM at Courtroom #2.
08/17/2023             (G., Eileen) (Entered: 08/18/2023)

                 361   EVIDENTIARY Hearing held and Continued on 134 Motion to Approve
                       Employee Obligations Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel)..
                       Hearing scheduled 8/28/2023 at 10:30 AM at Courtroom #2. (G., Eileen)
08/17/2023             (Entered: 08/18/2023)

                 362   Emergency Motion Hawk Investment Holdings Ltd.'s Emergency Motion
                       to Conduct Deposition and Have Oath Administered Remotely Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). (Attachments: # 1 Proposed Order Order Granting Hawk
                       Investment Holdings Ltd.'s Emergency Motion to Conduct Deposition and
                       Have Oath Administered Remotely # 2 Proposed Order Order Granting
08/23/2023             Expedited Hearing) (Caponi, Steven) (Entered: 08/23/2023)

08/23/2023       364

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                       Order Granting Motion to Approve Receivers Final Report, Granting
                       Post−Petition discharge of the Receiver and the Receiver Professionals
                       from any further obligations under the bankruptcy code finding that the
                       receiver complied with 11 U.S.C. 543, Approving and directing payment
                       of Prepetition fees and expenses of the receiver and the receiver
                       professionals and granting related relief. (Related Doc # 201) (R., Donna)
                       (Entered: 08/23/2023)

                 365   Certificate of Service to Order Granting Expedited Hearing on Hawk
                       Investment Holdings Ltd.'s Emergency Motion to Conduct Deposition and
                       Have Oath Administered Remotely Filed by Steven Caponi on behalf of
                       Hawk Investment Holdings Ltd. (related document(s)362). (Caponi,
08/24/2023             Steven) (Entered: 08/24/2023)

                 366   Order Scheduling Hearing re:362 Emergency Motion Hawk Investment
                       Holdings Ltd.'s Emergency Motion to Conduct Deposition and Have Oath
                       Administered Remotely Filed by Hawk Investment Holdings Ltd.
                       Represented by Steven Caponi (Counsel). Hearing scheduled 8/24/2023 at
                       11:30 AM at Philadelphia Telephone Hearing. (K., Marie) (Entered:
08/24/2023             08/24/2023)

                 367   Transcript regarding hearing held on 8/15/2023. Transcribed by
                       TheRecordXchange. 224 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 8/31/2023. Redaction Request Due By 9/14/2023. Redacted Transcript
                       Submission Due By 9/25/2023. Transcript access will be restricted
08/24/2023             through 11/22/2023. (B., John) (Entered: 08/24/2023)

                 368   Objection to Generic Motion filed by Creditor Hawk Investment Holdings
                       Ltd. Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       (related document(s)362). (ZAHRALDDIN, RAFAEL) (Entered:
08/24/2023             08/24/2023)

                 369   Supplemental Objection to Generic Motion filed by Creditor Hawk
                       Investment Holdings Ltd. Filed by Stream TV Networks, Inc.,
                       Technovative Media, Inc. (related document(s)362). (ZAHRALDDIN,
08/24/2023             RAFAEL) (Entered: 08/24/2023)

                 370   Transcript regarding hearing held on 8/17/2023. Transcribed by
                       TheRecordXchange. 266 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 8/31/2023. Redaction Request Due By 9/14/2023. Redacted Transcript
                       Submission Due By 9/25/2023. Transcript access will be restricted
08/24/2023             through 11/22/2023. (B., John) (Entered: 08/24/2023)

                 371   Hearing Held on 362 Emergency Motion Hawk Investment Holdings
                       Ltd.'s Emergency Motion to Conduct Deposition and Have Oath
                       Administered Remotely Filed by Hawk Investment Holdings Ltd.
                       Represented by Steven Caponi (Counsel). (related document(s),362).
08/24/2023             Motion denied − ORDER to be entered (G., Eileen) (Entered: 08/24/2023)

                 372   Certificate of Service Filed by BMC Group Inc. (related document(s)338,
08/24/2023             341, 343, 335, 334). (Ordaz, Steven) (Entered: 08/24/2023)

08/24/2023       373


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                       Certificate of Service Filed by BMC Group Inc. (related document(s)346).
                       (Ordaz, Steven) (Entered: 08/24/2023)

                 374   Notice to Take Deposition of: Johnson Yang Filed by Hawk Investment
08/24/2023             Holdings Ltd.. (Caponi, Steven) (Entered: 08/24/2023)

                 375   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 363)). No. of Notices: 2. Notice Date 08/25/2023.
08/25/2023             (Admin.) (Entered: 08/26/2023)

                 376   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 364)). No. of Notices: 3. Notice Date 08/25/2023.
08/25/2023             (Admin.) (Entered: 08/26/2023)

                 377   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 366)). No. of Notices: 1. Notice Date 08/26/2023.
08/26/2023             (Admin.) (Entered: 08/27/2023)

                 378   Transcript regarding hearing held on 6/28/2023. THIS IS A REVISED
                       TRANSCRIPT (related document(s)304). Transcribed by
                       TheRecordXchange. 221 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 9/5/2023. Redaction Request Due By 9/18/2023. Redacted Transcript
                       Submission Due By 9/28/2023. Transcript access will be restricted
08/28/2023             through 11/27/2023. (B., John) (Entered: 08/28/2023)

                 379   Hearing RESCHEDULED on 83 Emergency Motion to Dismiss Case.
                       Motion of Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b)
                       of the Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11
                       Cases or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in
                       the Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration
                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). .. Hearing rescheduled
                       8/29/2023 at 11:00 AM at Courtroom #2. (G., Eileen) (Entered:
08/28/2023             08/28/2023)

                 380   Hearing RESCHEDULED on 16 Emergency Motion for Relief from Stay
                       . Filed by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). . Hearing rescheduled 8/29/2023 at 11:00 AM at Courtroom
08/28/2023             #2. (G., Eileen) (Entered: 08/28/2023)

                 381   Hearing RESCHEDULED on 135 Motion to Approve Debtors' Expedited
                       Motion for Authority to Take Certain Actions in the Ordinary Course of
                       Business Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). Hearing
                       rescheduled 8/29/2023 at 11:00 AM at Courtroom #2. (G., Eileen)
08/28/2023             (Entered: 08/28/2023)

                 382   Hearing RESCHEDULED on 134 Motion to Approve Employee
                       Obligations Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). .. Hearing
                       rescheduled 8/29/2023 at 11:00 AM at Courtroom #2. (G., Eileen)
08/28/2023             (Entered: 08/28/2023)

08/28/2023       383   Order Denying Hawk Investment Holdings Ltd.'s Emergency Motion to
                       Conduct Deposition and Have Oath Administered Remotely. ORDERED

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                       that the Motion is DENIED for the reasons stated on the record at the
                       hearing held on the Motion on August 24, 2023. (Related Doc # 362) (W.,
                       Christine) (Entered: 08/28/2023)

                 384   Certificate of Service Filed by BMC Group Inc. (related document(s)368,
08/28/2023             369). (Ordaz, Steven) (Entered: 08/28/2023)

                 385   Evidentiary Hearing RESCHEDULED on 83 Emergency Motion to
                       Dismiss Case. Motion of Hawk Investment Holdings Ltd. (I) Pursuant to
                       Section 1112(b) of the Bankruptcy Code Either (A)(1) to Dismiss the
                       Debtors Chapter 11 Cases or (2) to Convert Such Cases to Cases Under
                       Chapter 7 or, (B) in the Alternative, Pursuant to Section 1104(a) of the
                       Bankruptcy Code to Appoint a Chapter 11 Trustee and (II) to Request
                       Expedited Consideration Pursuant to Local Rule 5070−1(g) Filed by
                       Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). .. Hearing scheduled 9/22/2023 at 10:30 AM at Courtroom #2.
08/29/2023             (G., Eileen) (Entered: 08/29/2023)

                 386   Evidentiary Hearing RESCHEDULED 16 Emergency Motion for Relief
                       from Stay ., Filed by Hawk Investment Holdings Ltd. Represented by
                       Steven Caponi (Counsel). . Hearing scheduled 9/22/2023 at 10:30 AM at
08/29/2023             Courtroom #2. (G., Eileen) (Entered: 08/29/2023)

                 387   Evidentiary Hearing RESCHEDULED 135 Motion to Approve Debtors'
                       Expedited Motion for Authority to Take Certain Actions in the Ordinary
                       Course of Business Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       Hearing scheduled 9/22/2023 at 10:30 AM at Courtroom #2. (G., Eileen)
08/29/2023             (Entered: 08/29/2023)

                 388   Evidentiary Hearing RESCHEDULED 134 Motion to Approve Employee
                       Obligations Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel)... Hearing
                       scheduled 9/22/2023 at 10:30 AM at Courtroom #2. (G., Eileen) (Entered:
08/29/2023             08/29/2023)

                 389   Hearing rescheduled on 298 Application to Employ Thomas Jung Ho Park
                       as Chief Financial Officer Filed by TECHNOVATIVE MEDIA, INC.,
                       STREAM TV NETWORKS, INC. REPRESENTED BY RAFAEL X.
                       ZAHRALDDIN .. Hearing scheduled 9/6/2023 at 11:30 AM at Courtroom
                       #2. (G., Eileen) Modified on 8/30/2023 (G., Eileen).**CORRECTION
08/30/2023             scheduled 9/6 at 12:00 p.m.** (Entered: 08/30/2023)

                 390   Hearing rescheduled on 234 Motion of the Debtors for Entry of an Order
                       Authorizing the Debtors to Enter Into an Employment Agreement with
                       Thomas Jung Ho Park as Chief Financial Officer to the Debtors Filed by
                       Stream TV Networks, Inc., Technovative Media, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). Hearing scheduled 9/6/2023 at
08/30/2023             12:00 PM at Courtroom #2. (G., Eileen) (Entered: 08/30/2023)

                 391   Hearing rescheduled on 292 Motion to Extend Exclusivity Period for
                       Filing a Chapter 11 Plan and Disclosure Statement Filed by Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       Hearing scheduled 9/6/2023 at 12:00 PM at Courtroom #2. (G., Eileen)
08/30/2023             (Entered: 08/30/2023)

08/30/2023       392   Document in re: Letter to Chief Judge Magdeline D. Coleman from Steven
                       L. Caponi regarding scheduling of continued matters Filed by Steven
                       Caponi on behalf of Hawk Investment Holdings Ltd. (related


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                       document(s)388, 390 , 385, 389 , 386, 387, 391 ). (Caponi, Steven)
                       (Entered: 08/30/2023)

                 393   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 383)). No. of Notices: 2. Notice Date 08/30/2023.
08/30/2023             (Admin.) (Entered: 08/31/2023)

                 394   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 385)). No. of Notices: 20. Notice
08/31/2023             Date 08/31/2023. (Admin.) (Entered: 09/01/2023)

                 395   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 386)). No. of Notices: 20. Notice
08/31/2023             Date 08/31/2023. (Admin.) (Entered: 09/01/2023)

                 396   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 387)). No. of Notices: 20. Notice
08/31/2023             Date 08/31/2023. (Admin.) (Entered: 09/01/2023)

                 397   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 388)). No. of Notices: 20. Notice
08/31/2023             Date 08/31/2023. (Admin.) (Entered: 09/01/2023)

                 398   Chapter 11 Monthly Operating Report for the Month Ending: 07/31/2023
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Technovative Media,
09/01/2023             Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 09/01/2023)

                 399   Chapter 11 Monthly Operating Report for the Month Ending: 07/31/2023
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Exhibit Balance Sheet # 2 Exhibit July Bank
                       Statement # 3 Exhibit Schedule 1) (ZAHRALDDIN, RAFAEL) (Entered:
09/01/2023             09/01/2023)

                 400   Request for Telephonic Hearing Hawk Investment Holdings Ltd.'s Request
                       for Status Conference Filed by Steven Caponi on behalf of Hawk
09/05/2023             Investment Holdings Ltd.. (Caponi, Steven) (Entered: 09/05/2023)

                 401   Hearing Continued on 292 Motion to Extend Exclusivity Period for Filing
                       a Chapter 11 Plan and Disclosure Statement Filed by Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel)..
                       Hearing scheduled 11/1/2023 at 12:00 PM at Courtroom #2. (G., Eileen)
09/06/2023             (Entered: 09/06/2023)

                 402   Hearing Continued on 234 Motion of the Debtors for Entry of an Order
                       Authorizing the Debtors to Enter Into an Employment Agreement with
                       Thomas Jung Ho Park as Chief Financial Officer to the Debtors Filed by
                       Stream TV Networks, Inc., Technovative Media, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). .. Hearing scheduled 11/1/2023
09/06/2023             at 12:00 PM at Courtroom #2. (G., Eileen) (Entered: 09/06/2023)

                 403   Hearing Continued on 298 Application to Employ Thomas Jung Ho Park
                       as Chief Financial Officer Filed by Technovative Media, Inc., Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel). .
                       Hearing scheduled 11/1/2023 at 12:00 PM at Courtroom #2. (G., Eileen)
09/06/2023             (Entered: 09/06/2023)

                 404   Status Hearing scheduled 9/11/2023 at 10:30 AM at Courtroom #2. (G.,
09/07/2023             Eileen) (Entered: 09/07/2023)


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                 405   Notice of Appearance and Request for Notice by PAMELA ELCHERT
                       THURMOND Filed by PAMELA ELCHERT THURMOND on behalf of
                       CITY OF PHILADELPHIA. (THURMOND, PAMELA) (Entered:
09/08/2023             09/08/2023)

                 406   BNC Certificate of Mailing − Status Hearing. Number of Notices Mailed:
                       (related document(s) (Related Doc # 404)). No. of Notices: 24. Notice
09/09/2023             Date 09/09/2023. (Admin.) (Entered: 09/10/2023)

                 407   Objection to Request For Telephonic Hearing filed by Creditor Hawk
                       Investment Holdings Ltd. Filed by Stream TV Networks, Inc.,
                       Technovative Media, Inc. (related document(s)400). (ZAHRALDDIN,
09/11/2023             RAFAEL) (Entered: 09/11/2023)

                 408   Status Conference Held re: Trial on (motions) scheduled for 9/22/23 @
09/11/2023             10:30 AND 9/25/23 @ 10:30 (G., Eileen) (Entered: 09/11/2023)

                 409   Application for Compensation (First Monthly) Compensation and
                       Reimbursement of Expenses of Lewis Brisbois Bisgaard and Smith, LLP,
                       Counsel for the Debtors for RAFAEL X. ZAHRALDDIN, Debtor's
                       Attorney, Period: 3/15/2023 to 4/30/2023, Fee: $380382.00, Expenses:
                       $3476.00. Filed by RAFAEL X. ZAHRALDDIN Represented by
                       Self(Counsel). (Attachments: # 1 Exhibit A − Invoice) (ZAHRALDDIN,
09/12/2023             RAFAEL) (Entered: 09/12/2023)

                 410   Notice of (related document(s): 409 Application for Compensation (First
                       Monthly) Compensation and Reimbursement of Expenses of Lewis
                       Brisbois Bisgaard and Smith, LLP, Counsel for the Debtors for RAFAEL
                       X. ZAHRALDDIN, Debtor's Attorney, Period: 3/15/2023 to 4/30/2023,
                       Fee: &#03) Objection deadline: 09/26/2023 Filed by Stream TV
09/12/2023             Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 09/12/2023)

                 411   Certificate of Service Filed by BMC Group Inc. (related document(s)388,
09/14/2023             387). (Ordaz, Steven) (Entered: 09/14/2023)

                 412   Certificate of Service Filed by BMC Group Inc. (related document(s)398,
09/14/2023             399). (Ordaz, Steven) (Entered: 09/14/2023)

                 413   Certificate of Service Filed by BMC Group Inc. (related document(s)404).
09/14/2023             (Ordaz, Steven) (Entered: 09/14/2023)

                 414   Certificate of Service Filed by BMC Group Inc. (related document(s)407).
09/14/2023             (Ordaz, Steven) (Entered: 09/14/2023)

                 415   Certificate of Service Filed by BMC Group Inc. (related document(s)410,
09/14/2023             409). (Ordaz, Steven) (Entered: 09/14/2023)

                 416   Declaration re: OF THOMAS JUNG HO PARK IN SUPPORT OF
                       APPLICATION OF THE DEBTORS FOR ENTRY OF AN ORDER
                       AUTHORIZING THE DEBTORS TO RETAIN THOMAS JUNG HO
                       PARK AS CHIEF FINANCIAL OFFICER TO THE DEBTORS Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.
                       (related document(s)298). (ZAHRALDDIN, RAFAEL) (Entered:
09/20/2023             09/20/2023)

09/21/2023       417   Document in re: Letter to Chief Judge Magedeline D. Coleman from
                       Steven L. Caponi Regarding Hearings on September 22, 2023 and
                       September 25, 2023 Filed by Steven Caponi on behalf of Hawk


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                       Investment Holdings Ltd.. (Attachments: # 1 Proposed Order) (Caponi,
                       Steven) (Entered: 09/21/2023)

                 418   TRIAL Continued on 83 Emergency Motion to Dismiss Case. Motion of
                       Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the
                       Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration
                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). Hearing scheduled
                       9/25/2023 at 10:30 AM at Courtroom #2. (G., Eileen) (Entered:
09/22/2023             09/25/2023)

                 419   TRIAL Continued on 16 Emergency Motion for Relief from Stay , Filed
                       by Hawk Investment Holdings Ltd. Represented by Steven Caponi
                       (Counsel). . Hearing scheduled 9/25/2023 at 10:30 AM at Courtroom #2.
09/22/2023             (G., Eileen) (Entered: 09/25/2023)

                 420   TRIAL Continued on 134 Motion to Approve Employee Obligations Filed
                       by Stream TV Networks, Inc., Technovative Media, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). Hearing scheduled 9/25/2023 at
09/22/2023             10:30 AM at Courtroom #2. (G., Eileen) (Entered: 09/25/2023)

                 421   TRIAL Continued on 135 Motion to Approve Debtors' Expedited Motion
                       for Authority to Take Certain Actions in the Ordinary Course of Business
                       Filed by Stream TV Networks, Inc., Technovative Media, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel).Hearing
                       scheduled 9/25/2023 at 10:30 AM at Courtroom #2. (G., Eileen) (Entered:
09/22/2023             09/25/2023)

                 422   EVIDENTIARY TRIAL Held on 16 Emergency Motion for Relief from
                       Stay . , Filed by Hawk Investment Holdings Ltd. Represented by Steven
                       Caponi (Counsel). . (related document(s),16). Brief to be filed by 10/2/23;
                       Reply Brief by 10/6 − HELD UNDER ADVISEMENT (G., Eileen)
09/25/2023             (Entered: 09/26/2023)

                 423   EVIDENTIARY TRIAL Held on 83 Emergency Motion to Dismiss Case.
                       Motion of Hawk Investment Holdings Ltd. (I) Pursuant to Section 1112(b)
                       of the Bankruptcy Code Either (A)(1) to Dismiss the Debtors Chapter 11
                       Cases or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in
                       the Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee and (II) to Request Expedited Consideration
                       Pursuant to Local Rule 5070−1(g) Filed by Hawk Investment Holdings
                       Ltd. Represented by Steven Caponi (Counsel). (related document(s),83).
                       Brief to be filed by 10/2/23; Reply Brief by 10/6 − HELD UNDER
09/25/2023             ADVISEMENT (G., Eileen) (Entered: 09/26/2023)

                 424   Objection to Application for Compensation filed by Debtor Stream TV
                       Networks, Inc. Hawk Investment Holdings, Ltd.'s Objection to Local Rule
                       2016−5 First Request for Payment on Account for Compensation and
                       Reimbursement of Expenses of Lewis Brisbois Bisgaard & Smith, LLP,
                       Counsel for the Debtors, for the Period March 15, 2023 Through April
                       30, 2023 Filed by Hawk Investment Holdings Ltd. (related
                       document(s)409). (Attachments: # 1 Exhibit A−C) (Caponi, Steven)
09/26/2023             (Entered: 09/26/2023)

                 425   Certificate of Service Filed by BMC Group Inc. (related document(s)416).
09/26/2023             (Ordaz, Steven) (Entered: 09/27/2023)


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                 426   Transcript regarding hearing held on 9/22/2023. Transcribed by
                       TheRecordXchange. 179 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 10/4/2023. Redaction Request Due By 10/18/2023. Redacted
                       Transcript Submission Due By 10/30/2023. Transcript access will be
09/27/2023             restricted through 12/26/2023. (B., John) (Entered: 09/27/2023)

                 427   Transcript regarding hearing held on 9/25/2023. Transcribed by
                       TheRecordXchange. 203 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [For information about how to contact the transcriber, call
                       the Clerk's Office]. Notice of Intent to Request Redaction Deadline Due
                       By 10/4/2023. Redaction Request Due By 10/18/2023. Redacted
                       Transcript Submission Due By 10/30/2023. Transcript access will be
09/27/2023             restricted through 12/26/2023. (B., John) (Entered: 09/27/2023)

                 428   Document in re: Proposed Consent Order Authorizing Examination of the
                       Debtors and Requiring Production of Documents Pursuant to Fed. R.
                       Bankr. 2004 and 2016 Filed by KEVIN P. CALLAHAN on behalf of
                       United States Trustee. (Attachments: # 1 Exhibit Subpoena # 2 Exhibit
                       Attachment A # 3 Exhibit Attachment B) (CALLAHAN, KEVIN)
09/28/2023             (Entered: 09/28/2023)

                 429   Transcript regarding hearing held on 9/11/2023. Transcribed by
                       TheRecordXchange. 20 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [For
                       information about how to contact the transcriber, call the Clerk's Office].
                       Notice of Intent to Request Redaction Deadline Due By 10/6/2023.
                       Redaction Request Due By 10/20/2023. Redacted Transcript Submission
                       Due By 10/30/2023. Transcript access will be restricted through
09/29/2023             12/28/2023. (B., John) (Entered: 09/29/2023)

                 430   Brief (Post Trial) In Support of Opposition to Motion to Dismiss Filed by
                       ANDREW PETER DEMARCO on behalf of Rembrandt 3D Holding Ltd.
10/02/2023             (related document(s)83). (DEMARCO, ANDREW) (Entered: 10/02/2023)

                 431   Brief Hawk Investment Holdings Ltd.'s Post−Hearing Brief in Support of
                       (1) Motion for Relief from Stay and (2) Motion to Dismiss, Convert, or
                       Appoint a Chapter 11 Trustee Filed by Steven Caponi on behalf of Hawk
                       Investment Holdings Ltd. (related document(s)16, 83). (Caponi, Steven)
10/02/2023             (Entered: 10/02/2023)

                 432   Brief Post−Trial Brief of Debtors in Opposition Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc., Technovative
                       Media, Inc. (related document(s)16, 83). (ZAHRALDDIN, RAFAEL)
10/02/2023             (Entered: 10/03/2023)

                 433   Consent Order Authorizing the Examination of and Requiring the
                       Production of documents by the debtor pursuant to Fed.R.Bankr.P.2004
10/03/2023             and Local Rule 2004−1 (R., Donna) (Entered: 10/03/2023)

                 434   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 433)). No. of Notices: 2. Notice Date 10/05/2023.
10/05/2023             (Admin.) (Entered: 10/06/2023)

10/06/2023       435   Reply to Brief filed by Creditor Rembrandt 3D Holding Ltd. Filed by
                       Rembrandt 3D Holding Ltd. (related document(s)430). (DEMARCO,


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                       ANDREW) (Entered: 10/06/2023)

                 436   Brief Hawk Investment Holdings Ltd.'s Post−Hearing Reply Brief in
                       Opposition to Debtors' Post−Trial Brief in (I) Opposition to Motion of
                       Hawk Investment Holdings Ltd. Pursuant to Section 1112(b) of the
                       Bankruptcy Code Either (A)(1) to Dismiss the Debtors' Chapter 11 Cases
                       or (2) to Convert Such Cases to Cases Under Chapter 7 or, (B) in the
                       Alternative, Pursuant to Section 1104(a) of the Bankruptcy Code to
                       Appoint a Chapter 11 Trustee; and (II) in Opposition to Emergency
                       Motion for Relief From Stay Filed by Hawk Investment Holdings, Ltd.
                       Filed by Steven Caponi on behalf of Hawk Investment Holdings Ltd.
10/06/2023             (related document(s)431, 432). (Caponi, Steven) (Entered: 10/06/2023)

                 437   Brief Reply Brief Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc., Technovative Media, Inc. (related
10/06/2023             document(s)431). (ZAHRALDDIN, RAFAEL) (Entered: 10/07/2023)

                 438   Order Re:Court having held evidentiary trial on the Motion Filed by
                       Hawk Investment Holdings, Ltd. for relief from the automatic stay and or
                       an Order dismissing the debtors bankruptcy cases or converting under
                       Chapter 7. Ordered that only the admitted portions are properly the
                       subject of judicial notice under FRE 201. (related document(s)16, 83). (R.,
10/12/2023             Donna) (Entered: 10/12/2023)

                 439   Hearing Scheduled on 424 Objection filed by Hawk Investment Holding
                       to 409 Application for Compensation (First Monthly) Compensation and
                       Reimbursement of Expenses of Lewis Brisbois Bisgaard and Smith, LLP,
                       Counsel for the Debtors for RAFAEL X. ZAHRALDDIN, Debtor's
                       Attorney, Period: 3/15/2023 to 4/30/2023, Fee: $380382.00, Expenses:
                       $3476.00. Filed by RAFAEL X. ZAHRALDDIN Represented by
                       Self(Counsel). (Attachments: # 1 Exhibit A − Invoice) filed by Debtor
                       Stream TV Networks, Inc.. Hearing scheduled 11/15/2023 at 11:30 AM at
10/13/2023             Courtroom #2. (G., Eileen) (Entered: 10/13/2023)

                 440   Certificate of Service Filed by BMC Group Inc. (related document(s)432).
10/13/2023             (Ordaz, Steven) (Entered: 10/13/2023)

                 441   Certificate of Service Filed by BMC Group Inc. (related document(s)437).
10/13/2023             (Ordaz, Steven) (Entered: 10/13/2023)

                 442   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 438)). No. of Notices: 2. Notice Date 10/14/2023.
10/14/2023             (Admin.) (Entered: 10/15/2023)

                 443   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 439)). No. of Notices: 20. Notice
10/15/2023             Date 10/15/2023. (Admin.) (Entered: 10/16/2023)

                 444   Notice of (related document(s): 134 Motion to Approve Employee
                       Obligations) Filed by Stream TV Networks, Inc., Technovative Media,
                       Inc.. Hearing scheduled 11/15/2023 at 11:30 AM at Courtroom #2.
10/20/2023             (ZAHRALDDIN, RAFAEL) (Entered: 10/20/2023)

10/20/2023       445   Notice of (related document(s): 49 Emergency Motion For Sanctions for
                       Violation of the Automatic Stay , 76 Motion For Sanctions for Violation
                       of the Automatic Stay , 90 Supplemental Motion To Stay (related
                       documents Motion for Sanctions for Violation of the Automatic Stay,
                       Scheduling Hearing) ) Notice of Continued Hearing for Order Enforcing
                       the Automatic Stay and for Sanctions for Willful Stay Violation Filed by

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                       Stream TV Networks, Inc., Technovative Media, Inc.. Hearing scheduled
                       11/15/2023 at 11:30 AM at Courtroom #2. (ZAHRALDDIN, RAFAEL)
                       (Entered: 10/20/2023)

                 446   Response to Objection filed by Creditor Hawk Investment Holdings Ltd.
                       Filed by Stream TV Networks, Inc. (related document(s)424).
                       (Attachments: # 1 Exhibit A. June 17, 2021 Letter to Amanda # 2 Exhibit
10/29/2023             B. Proposed Order) (ZAHRALDDIN, RAFAEL) (Entered: 10/29/2023)

                 447   Motion to Compel Compliance With and for Relief and Remedies Under
                       Rule 2019 Filed by Stream TV Networks, Inc. Represented by RAFAEL
                       X. ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit A. Stream TV
                       Hearing Transcript 10−16−23 # 2 Exhibit B. Hawk v. Stream Telephonic
                       Oral Argument and Ruling November 9, 2023 # 3 Exhibit C. Netherlands
                       Court Opinion # 4 Exhibit D. Prior SeeCubic Website # 5 Exhibit E.
                       Stastney June 23 2023, Deposition Transcript # 6 Exhibit F. SeeCubic
                       Website as of 10.27.2023 # 7 Exhibit G. Transcript of April 14 Hearing #
                       8 Exhibit H. June 27 Hearing Transcript # 9 Exhibit I. Stream June 29,
                       2023 Hearing Transcript # 10 Exhibit J. Stream March 16, 2023 Hearing
                       Transcript # 11 Exhibit K. Stream October 6, 2023 Hearing Transcript)
10/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 10/29/2023)

                 448   Proposed Order Re: Granting Debtors' Motion to Compel Compliance
                       With and for Relief and Remedies Under Rule 2019 Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc. (related
10/29/2023             document(s)447). (ZAHRALDDIN, RAFAEL) (Entered: 10/30/2023)

                 449   Notice of (related document(s): 447 Motion to Compel Compliance With
                       and for Relief and Remedies Under Rule 2019) Filed by Stream TV
10/30/2023             Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered: 10/30/2023)

                 473   Notice of (related document(s): 447 Motion to Compel Compliance With
                       and for Relief and Remedies Under Rule 201 Filed by Stream TV
                       Networks, Inc. . Hearing scheduled 11/29/2023 at 11:30 AM at
10/30/2023             Courtroom #2. (R., Donna) (Entered: 11/14/2023)

                 450   Hearing Continued on 234 Motion of the Debtors for Entry of an Order
                       Authorizing the Debtors to Enter Into an Employment Agreement with
                       Thomas Jung Ho Park as Chief Financial Officer to the Debtors Filed by
                       Stream TV Networks, Inc., Technovative Media, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). .. Hearing scheduled 11/15/2023
11/01/2023             at 11:30 AM at Courtroom #2. (G., Eileen) (Entered: 11/01/2023)

                 451   Notice of (related document(s): 292 Motion to Extend Exclusivity Period
                       for Filing a Chapter 11 Plan and Disclosure Statement ) Notice of
                       Continued Hearing for Debtors Motion to Extend Exclusivity Period for
                       Filing a Chapter 11 Plan and Disclosure Statement Filed by Stream TV
                       Networks, Inc., Technovative Media, Inc.. Hearing scheduled 11/15/2023
                       at 11:30 AM at Courtroom #2. (ZAHRALDDIN, RAFAEL) (Entered:
11/01/2023             11/01/2023)

                 452   Hearing Continued on 298 Application to Employ Thomas Jung Ho Park
                       as Chief Financial Officer Filed by Technovative Media, Inc., Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel). .
                       Hearing scheduled 11/15/2023 at 11:30 AM at Courtroom #2. (G., Eileen)
11/01/2023             (Entered: 11/01/2023)

11/01/2023       453   Hearing Continued on 298 Application to Employ Thomas Jung Ho Park
                       as Chief Financial Officer Filed by Technovative Media, Inc., Stream TV


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                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel)..
                       Hearing scheduled 11/15/2023 at 11:30 AM at Courtroom #2. (G., Eileen)
                       (Entered: 11/01/2023)

                 454   Notice of (related document(s): 298 Application to Employ Thomas Jung
                       Ho Park as Chief Financial Officer ) Notice of Continued Hearing for
                       Entry of Order on Application to Employ Thomas Jung Ho Park as Chief
                       Financial Officer Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc.. Hearing scheduled 11/15/2023 at 11:30 AM at Courtroom #2.
11/01/2023             (ZAHRALDDIN, RAFAEL) (Entered: 11/01/2023)

                 455   Withdrawal of Appearance of Vincent F. Alexander and entry of
                       appearance of Filed by VINCENT F. ALEXANDER on behalf of Stream
11/01/2023             TV Networks, Inc.. (ALEXANDER, VINCENT) (Entered: 11/01/2023)

                 456   *** Wrong Event Code Used***See entry 457***Expedited Motion
                       Hawk Investment Holdings Ltd.'s Expedited Motion to Hold Hearings in
                       Abeyance Filed by Hawk Investment Holdings Ltd. Represented by
                       Steven Caponi (Counsel). (Attachments: # 1 Proposed Order Order
                       Granting Expedited Motion to Hold Hearings in Abeyance # 2 Proposed
                       Order Order Granting Expedited Hearing) (Caponi, Steven) Modified on
11/02/2023             11/3/2023 (R., Donna). (Entered: 11/02/2023)

                 457   Motion to Expedite Hearing in Abeyance (related documents Generic
                       Motion) Filed by Hawk Investment Holdings Ltd. Represented by Steven
                       Caponi (Counsel) (related document(s)456) . (R., Donna) (Entered:
11/02/2023             11/03/2023)

                 458   Supplemental Statement Additional Supplement to Debtors Amended
                       Emergency Motion for Entry of An Order: (1) Enforcing the Automatic
                       Stay; (2) Directing the Turnover of Property of Debtors Estate; and (3)
                       Imposing Sanctions for Willful Stay Violations Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc. (related
                       document(s)90, 76, 49). (Attachments: # 1 Proposed Order Additional
                       Order Restating and Enforcing the Worldwide Automatic Stay # 2 Exhibit
                       A. # 3 Exhibit B # 4 Exhibit C # 5 Exhibit D # 6 Exhibit E # 7 Exhibit F #
                       8 Exhibit G # 9 Exhibit H # 10 Exhibit I # 11 Exhibit J # 12 Exhibit K #
                       13 Exhibit L # 14 Exhibit M # 15 Exhibit N # 16 Exhibit O # 17 Exhibit P
                       # 18 Exhibit Q # 19 Exhibit R # 20 Exhibit S # 21 Exhibit T # 22 Exhibit
                       U # 23 Exhibit V # 24 Exhibit W # 25 Exhibit X # 26 Exhibit Y # 27
11/06/2023             Exhibit Z) (ZAHRALDDIN, RAFAEL) (Entered: 11/06/2023)

                 459   Monthly Operating Report for Filing Period August 1, 2023 through
                       August 31, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered:
11/07/2023             11/07/2023)

                 460   Monthly Operating Report for Filing Period September 1, 2023 through
                       September 30, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc.. (ZAHRALDDIN, RAFAEL) (Entered:
11/07/2023             11/07/2023)

                 461   Application for Compensation (Second Monthly) Compensation and
                       Reimbursement of Expenses of Lewis Brisbois Bisgaard and Smith, LLP,
                       Counsel for the Debtors for RAFAEL X. ZAHRALDDIN, Debtor's
                       Attorney, Period: 5/1/2023 to 5/31/2023, Fee: $171509.20, Expenses:
                       $102.57. Filed by RAFAEL X. ZAHRALDDIN Represented by
                       Self(Counsel). (Attachments: # 1 Exhibit A − Invoice) (ZAHRALDDIN,
11/09/2023             RAFAEL) (Entered: 11/09/2023)


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                 462   Notice of (related document(s): 461 Application for Compensation
                       (Second Monthly) Compensation and Reimbursement of Expenses of
                       Lewis Brisbois Bisgaard and Smith, LLP, Counsel for the Debtors for
                       RAFAEL X. ZAHRALDDIN, Debtor's Attorney, Period: 5/1/2023 to
                       5/31/2023, Fee: &#03) Objection Deadline: November 24, 2023 Filed by
                       Stream TV Networks, Inc., Technovative Media, Inc.. (ZAHRALDDIN,
11/09/2023             RAFAEL) (Entered: 11/09/2023)

                 463   Supplemental Statement to August and September 2023 Monthly
                       Operating Reports Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)460, 459). (Attachments:
                       # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6
11/09/2023             Exhibit F) (ZAHRALDDIN, RAFAEL) (Entered: 11/09/2023)

                 464   Response to Motion to Expedite Hearing filed by Creditor Hawk
                       Investment Holdings Ltd. Response of Debtors Stream TV Networks, Inc.
                       and Technovative Media, Inc. to Hawk Investment Holdings Ltd.'s
                       Expedited Motion to Hold Hearings in Abeyance Filed by Stream TV
                       Networks, Inc., Technovative Media, Inc. (related document(s)457).
11/10/2023             (ZAHRALDDIN, RAFAEL) (Entered: 11/10/2023)

                 465   Objection to Motion to Compel filed by Debtor Stream TV Networks, Inc.
                       Hawk Investment Holdings Ltd.s Objection to Debtors Motion to Compel
                       Compliance With and for Relief and Remedies Under Rule 2019 Filed by
                       Hawk Investment Holdings Ltd. (related document(s)447). (Caponi,
11/13/2023             Steven) (Entered: 11/13/2023)

                 466   Objection to Motion to Compel filed by Debtor Stream TV Networks, Inc.
                       // SLS Holdings VI, LLC's Objection to Debtor's Motion to Compel
                       Compliance with and for Relief Under Rule 2019 Filed by SLS Holdings
                       VI, LLC (related document(s)447). (Attachments: # 1 Certificate of
11/13/2023             Service) (WRIGHT, DAVIS) (Entered: 11/13/2023)

                 467   Objection to Motion to Compel filed by Debtor Stream TV Networks, Inc.
                       Shadron L. Stastneys Objection to Debtors Motion to Compel Compliance
                       with and for Relief and Remedies under Rule 2019 Filed by Shadron L.
                       Stastney (related document(s)447). (Attachments: # 1 Certificate of
11/13/2023             Service) (VESPER, MARGARET) (Entered: 11/13/2023)

                 468   Objection to Motion to Compel filed by Debtor Stream TV Networks, Inc.
                       SeeCubic, Inc.'s (I) Objection to the Debtors Motion to Compel
                       Compliance with and for Relief and Remedies Under Rule 2019 and (II)
                       Joinder to Hawks 2019 Objection Filed by SeeCubic, Inc. (related
                       document(s)447). (Attachments: # 1 Certificate of Service) (Larkin,
11/13/2023             Joseph) (Entered: 11/13/2023)

                 469   Certificate of Service Filed by BMC Group Inc. (related document(s)439,
11/14/2023             438). (Ordaz, Steven) (Entered: 11/14/2023)

                 470   Certificate of Service Filed by BMC Group Inc. (related document(s)444,
11/14/2023             445). (Ordaz, Steven) (Entered: 11/14/2023)

                 471   Certificate of Service Filed by BMC Group Inc. (related document(s)448,
11/14/2023             447, 446, 449). (Ordaz, Steven) (Entered: 11/14/2023)

                 472   Certificate of Service Filed by BMC Group Inc. (related document(s)454,
11/14/2023             451). (Ordaz, Steven) (Entered: 11/14/2023)



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                 474   Notice of (related document(s): 134 Motion to Approve Employee
                       Obligations) Notice of Revised Order for Debtors' Motion Authorizing
                       Debtors to Pay (I) Prepetition Employee Obligations, (II) Prepetition
                       Witholding Obligations, and (III) Post−Petition Employee Obligations in
                       the Ordinary Course Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc.. (Attachments: # 1 Exhibit A − Blackline comparison of final
                       order # 2 Exhibit B − Revised Final Order) (ZAHRALDDIN, RAFAEL)
11/14/2023             (Entered: 11/14/2023)

                 475   Notice of (related document(s): 292 Motion to Extend Exclusivity Period
                       for Filing a Chapter 11 Plan and Disclosure Statement ) Notice of Revised
                       Order for Debtors' Motion for an Order Extending the Exclusive Periods
                       During Which Debtors May File a Plan and Disclosure Statement and
                       Solicit Acceptances Thereof Pursuant to 11 U.S.C. Sec. 1121(D) Filed by
                       Stream TV Networks, Inc., Technovative Media, Inc.. (Attachments: # 1
                       Exhibit A − Blackline Comparison of Order to Debtors' Motion # 2
                       Exhibit B − Revised Order Extending Exclusive Periods)
11/14/2023             (ZAHRALDDIN, RAFAEL) (Entered: 11/14/2023)

                 476   Notice of (related document(s): 49 Emergency Motion For Sanctions for
                       Violation of the Automatic Stay , 76 Motion For Sanctions for Violation
                       of the Automatic Stay , 90 Supplemental Motion To Stay (related
                       documents Motion for Sanctions for Violation of the Automatic Stay,
                       Scheduling Hearing) , 125 Motion For Sanctions for Violation of the
                       Automatic Stay ) (458 Additional Supplement to Debtors Emergency
                       Motion for Entry of an Order: (1) Enforcing the Automatic Stay; (2)
                       Directing the Turnover of Property of Debtors Estate; and (3) Imposing
                       Sanctions for Willful Stay Violations) Notice of Debtors Corrected
                       [Proposed] Order to Enforce the Worldwide Automatic Stay Filed by
                       Stream TV Networks, Inc.. (Attachments: # 1 Exhibit A. Previously Filed
                       [Proposed] Order # 2 Exhibit B. Corrected [Proposed} Order # 3 Exhibit
                       C. Corrected [Proposed] Order − BLACKLINE) (ZAHRALDDIN,
11/14/2023             RAFAEL) (Entered: 11/14/2023)

                 477   Motion to Extend Exclusivity Period for Filing a Chapter 11 Plan and
                       Disclosure Statement Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (Attachments: # 1 Proposed Order) (ZAHRALDDIN, RAFAEL)
11/15/2023             (Entered: 11/15/2023)

                 478   Hearing Held on 134 Motion to Approve Employee Obligations Filed by
                       Stream TV Networks, Inc., Technovative Media, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel).135] Motion to Approve Debtors'
                       Expedited Motion for Authority to Take Certain Actions in the Ordinary
                       Course of Business Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (related document(s),134,135,134). Motions terminated if needed counsel
11/15/2023             will file a new motion (G., Eileen) (Entered: 11/16/2023)

                 479   INCORRECT ENTRY *PLEASE SEE DOCKET #480**Hearing
                       Continued on 409 Application for Compensation (First Monthly)
                       Compensation and Reimbursement of Expenses of Lewis Brisbois
                       Bisgaard and Smith, LLP, Counsel for the Debtors for RAFAEL X.
                       ZAHRALDDIN, Debtor's Attorney, Period: 3/15/2023 to 4/30/2023, Fee:
                       $380382.00, Expenses: $3476.00. Filed by RAFAEL X. ZAHRALDDIN
                       Represented by Self(Counsel). . Hearing scheduled 11/29/2023 at 11:30
                       AM at Courtroom #2. (G., Eileen) Modified on 11/16/2023 (G., Eileen).
11/15/2023             hrg date incorrect should be 12/11 @ 11:30 (Entered: 11/16/2023)

11/15/2023       480


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                       Hearing Continued on 409 Application for Compensation (First Monthly)
                       Compensation and Reimbursement of Expenses of Lewis Brisbois
                       Bisgaard and Smith, LLP, Counsel for the Debtors for RAFAEL X.
                       ZAHRALDDIN, Debtor's Attorney, Period: 3/15/2023 to 4/30/2023, Fee:
                       $380382.00, Expenses: $3476.00. Filed by RAFAEL X. ZAHRALDDIN
                       Represented by Self(Counsel). Hearing scheduled 12/11/2023 at 10:30
                       AM at Courtroom #2. (G., Eileen) (Entered: 11/16/2023)

                 481   Hearing Continued on 298 Application to Employ Thomas Jung Ho Park
                       as Chief Financial Officer Filed by Technovative Media, Inc., Stream TV
                       Networks, Inc. Represented by RAFAEL X. ZAHRALDDIN (Counsel).
                       (G., Eileen)continued to 12/11/23 @ 10:30 a.m. Modified on 11/16/2023
11/15/2023             (G., Eileen). (Entered: 11/16/2023)

                 483   Hearing Continued on 49 Emergency Motion For Sanctions for Violation
                       of the Automatic Stay Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). , 76 Motion For Sanctions for
                       Violation of the Automatic Stay Filed by Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel). 90 Supplement
                       to Motion To Stay (related documents Motion for Sanctions for Violation
                       of the Automatic Stay, Scheduling Hearing) , Motion for Turnover of
                       Property , Motion For Sanctions Filed by Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel) (related
                       document(s)86, 76). , 125 Motion For Sanctions for Violation of the
                       Automatic Stay Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel).458 Supplemental Statement
                       Additional Supplement to Debtors Amended Emergency Motion for Entry
                       of An Order: (1) Enforcing the Automatic Stay; (2) Directing the
                       Turnover of Property of Debtors Estate; and (3) Imposing Sanctions for
                       Willful Stay Violations Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)90, 76, 49). Hearing
                       scheduled 11/27/2023 at 10:30 AM at Courtroom #2. (G., Eileen)
11/15/2023             (Entered: 11/21/2023)

                 482   Transcript regarding hearing held on 11/15/2023. Transcribed by
                       TheRecordXchange. 57 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [To
                       request a copy of a restricted transcript, please contact the transcriber
                       TheRecordXchange at 800−406−1290]. Notice of Intent to Request
                       Redaction Deadline Due By 11/27/2023. Redaction Request Due By
                       12/11/2023. Redacted Transcript Submission Due By 12/21/2023.
                       Transcript access will be restricted through 2/20/2024. (B., John)
11/20/2023             (Entered: 11/20/2023)

                 484   Objection to Motion for Sanctions for Violation of the Automatic Stay
                       filed by Debtor Stream TV Networks, Inc., Motion for Sanctions for
                       Violation of the Automatic Stay filed by Debtor Stream TV Networks,
                       Inc., Motion to Stay filed by Debtor Stream TV Networks, Inc., Motion
                       for Turnover of Property, Motion for Sanctions, Motion for Sanctions for
                       Violation of the Automatic Stay filed by Debtor Stream TV Networks,
                       Inc., Supplemental Statement filed by Debtor Stream TV Networks, Inc.,
                       Notice of Motion filed by Debtor Stream TV Networks, Inc. Stream TV
                       Networks, Inc. and Technovative Media, Inc.'s Limited Objection to
                       Remote Testimony Filed by Stream TV Networks, Inc., Technovative
                       Media, Inc. (related document(s)125, 476, 458, 90, 49, 76). (Attachments:
                       # 1 Exhibit A − Proposed Order Restating and Enforcing the Worldwide
11/21/2023             Automatic Stay) (ZAHRALDDIN, RAFAEL) (Entered: 11/21/2023)

11/24/2023       485   Objection to Application for Compensation filed by Debtor Stream TV
                       Networks, Inc., Debtor Technovative Media, Inc. Hawk Investment


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                       Holdings Ltd.'s Objection to Local Rule 2016−5 Second Request for
                       Payment on Account for Compensation and Reimbursement of Expenses
                       of Lewis Brisbois Bisgaard & Smith, LLP, Counsel for the Debtors, for
                       the Period May 1, 2023 Through May 31, 2023 Filed by Hawk Investment
                       Holdings Ltd. (related document(s)461). (Caponi, Steven) (Entered:
                       11/24/2023)

                 486   Certificate of Service Filed by BMC Group Inc. (related document(s)454,
11/27/2023             451). (Ordaz, Steven) (Entered: 11/27/2023)

                 487   Certificate of Service Filed by BMC Group Inc. (related document(s)458).
11/27/2023             (Ordaz, Steven) (Entered: 11/27/2023)

                 488   Certificate of Service Filed by BMC Group Inc. (related document(s)464).
11/27/2023             (Ordaz, Steven) (Entered: 11/27/2023)

                 489   Certificate of Service Filed by BMC Group Inc. (related document(s)475,
11/27/2023             474, 476, 473). (Ordaz, Steven) (Entered: 11/27/2023)

                 490   Certificate of Service Filed by BMC Group Inc. (related document(s)477).
11/27/2023             (Ordaz, Steven) (Entered: 11/27/2023)

                 491   Certificate of Service Filed by BMC Group Inc. (related document(s)484).
11/27/2023             (Ordaz, Steven) (Entered: 11/27/2023)

                 496   Hearing Continued on 49 Emergency Motion For Sanctions for Violation
                       of the Automatic Stay Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). , 458 Supplemental Statement
                       Additional Supplement to Debtors Amended Emergency Motion for Entry
                       of An Order: (1) Enforcing the Automatic Stay; (2) Directing the
                       Turnover of Property of Debtors Estate; and (3) Imposing Sanctions for
                       Willful Stay Violations Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)90, 76, 49). Hearing
                       scheduled 12/14/2023 at 01:00 PM at Courtroom #2. (ORAL
11/27/2023             ARGUMENT ONLY) (G., Eileen) (Entered: 12/01/2023)

                 492   Document in re: Amended Hawk Investment Holdings Ltd.'s Witness and
                       Exhibit List for November 29, 2023 Hearing Filed by Steven Caponi on
                       behalf of Hawk Investment Holdings Ltd.. (Caponi, Steven) (Entered:
11/28/2023             11/28/2023)

                 493   Document in re: Revised Witness and Exhibit List for November 29, 2023
                       Hearing Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV
                       Networks, Inc., Technovative Media, Inc. (related document(s)447).
11/28/2023             (ZAHRALDDIN, RAFAEL) (Entered: 11/28/2023)

                 494   Document in re: Supplemental Exhibit List for Rule 2019 Hearing Filed
                       by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.,
                       Technovative Media, Inc. (related document(s)493, 447).
11/29/2023             (ZAHRALDDIN, RAFAEL) (Entered: 11/29/2023)

                 495   TRIAL Held on 447 Motion to Compel Compliance With and for Relief
                       and Remedies Under Rule 2019 Filed by Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel).. (related
                       document(s),447). HEARING to be continued / date to be determined (G.,
11/29/2023             Eileen) (Entered: 12/01/2023)

12/01/2023       497


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                       Certificate of Service Filed by BMC Group Inc. (related document(s)493,
                       494). (Ordaz, Steven) (Entered: 12/01/2023)

                 498   Order Re: Motion to Extend Exclusivity Period for Filing a Chapter 11
                       Plan and Disclosure Statement (Related Doc # 292)(Related Doc # 477).
                       The Debtors Exclusive Periods are extended until such time as the Court
12/05/2023             rules onthe Exclusivity Motion.. (R., Donna) (Entered: 12/06/2023)

                 499   Declaration re: Second Supplemental Declaration of Rafael X.
                       Zahralddin−Aravena in Support of Debtors' Application to Employ Lewis
                       Brisbois Bisgaard & Smith LLP as Counsel for the Debtors Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.,
                       Technovative Media, Inc.. (ZAHRALDDIN, RAFAEL) (Entered:
12/07/2023             12/07/2023)

                 500   Brief − Debtors Brief in Support of First Request for Payment on Account
                       for Compensation and Reimbursement of Expenses of Lewis Brisbois
                       Bisgaard & Smith, LLP, Counsel for Debtors, for the Period March 15,
                       2023 through April 30, 2023, Filed by RAFAEL X. ZAHRALDDIN on
                       behalf of Stream TV Networks, Inc. (related document(s)409).
12/07/2023             (ZAHRALDDIN, RAFAEL) (Entered: 12/07/2023)

                 501   Document in re: Amended Hawk Investment Holdings Ltd.'s Witness and
                       Exhibit List for December 11, 2023 Hearings Filed by Steven Caponi on
                       behalf of Hawk Investment Holdings Ltd.. (Caponi, Steven) (Entered:
12/08/2023             12/08/2023)

                 502   Monthly Operating Report for Filing Period Period Ending March 31,
                       2023 Revised Monthly Operating Report Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc.. (Attachments: #
                       1 Exhibit Stream TV Balance Sheet # 2 Exhibit Bank of America Bank
                       Statement 3.31.23 # 3 Exhibit Stream TV − VSI March 16−March 31
                       2023 # 4 Exhibit VSI Letter − March 2023) (ZAHRALDDIN, RAFAEL)
12/08/2023             (Entered: 12/08/2023)

                 503   Monthly Operating Report for Filing Period Ending April 30, 2023
                       Revised Monthly Operating Report Filed by RAFAEL X. ZAHRALDDIN
                       on behalf of Stream TV Networks, Inc.. (Attachments: # 1 Exhibit Stream
                       TV Balance Sheet April 2023 # 2 Exhibit Bank of America Statement
                       4.30.23 # 3 Exhibit VSI April 1 − April 30, 2023 # 4 Exhibit VSI Letter −
12/08/2023             April 2023) (ZAHRALDDIN, RAFAEL) (Entered: 12/08/2023)

                 504   Monthly Operating Report for Filing Period May 31, 2023 Revised
                       Monthly Operating Report Filed by RAFAEL X. ZAHRALDDIN on
                       behalf of Stream TV Networks, Inc.. (Attachments: # 1 Exhibit Stream
                       TV − Balance Sheet May 2023 # 2 Exhibit Bank of America Bank
                       Statement − May 2023 # 3 Exhibit VSI Expenses Paid − May 2023 # 4
                       Exhibit VSI Letter May 2023) (ZAHRALDDIN, RAFAEL) (Entered:
12/08/2023             12/08/2023)

                 505   Monthly Operating Report for Filing Period Period Ending June 30, 2023
                       Revised Monthly Operating Report Filed by RAFAEL X. ZAHRALDDIN
                       on behalf of Stream TV Networks, Inc.. (Attachments: # 1 Exhibit Stream
                       TV − Balance Sheet June 2023 # 2 Exhibit Bank of America Statement
                       June 2023 # 3 Exhibit VSI − June 2023 # 4 Exhibit VSI Letter − June
12/08/2023             2023) (ZAHRALDDIN, RAFAEL) (Entered: 12/08/2023)

12/08/2023       506   Document in re: Witness and Exhibit List for Hearing on Debtors' First
                       Request for Payment on Account for Compensation and Reimbursement of


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                       Expenses of Lewis Brisbois Bisgaard & Smith, LLP, Counsel for the
                       Debtors, for the Period March 15, 2023 Through April 30, 2023 Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
                       (Attachments: # 1 Certificate of Service) (ZAHRALDDIN, RAFAEL)
                       (Entered: 12/08/2023)

                 507   Certificate of Service Filed by BMC Group Inc. (related document(s)498).
12/08/2023             (Ordaz, Steven) (Entered: 12/08/2023)

                 508   Certificate of Service Filed by BMC Group Inc. (related document(s)499).
12/08/2023             (Ordaz, Steven) (Entered: 12/08/2023)

                 509   Motion To Stay (related documents Motion for Sanctions for Violation of
                       the Automatic Stay, Supplemental Statement) Motion for Entry of a
                       Stipulated Order Restating and Enforcing the Worldwide Automatic Stay,
                       Filed by Stream TV Networks, Inc. Represented by RAFAEL X.
                       ZAHRALDDIN (Counsel) (related document(s)458, 49). (Attachments: #
                       1 Exhibit A. Stipulated Order Restating and Enforcing the Worldwide
12/09/2023             Automatic Stay) (ZAHRALDDIN, RAFAEL) (Entered: 12/09/2023)

                 510   Motion to Approve Entry of a Stipulated Order Settling Objections to Fee
                       Applications, Objection to Retention of CFO by the Debtors, and
                       Continuance of Matters Filed by Stream TV Networks, Inc. Represented
                       by RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit 1.
                       Stipulation and Order Regarding Settling Objections to Fee Applications,
                       Objection to Retention of CFO by the Debtors, and Continuance of
12/10/2023             Matters) (ZAHRALDDIN, RAFAEL) (Entered: 12/10/2023)

                 511   Document in re: Notice of Withdrawal of Document Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc. (related
12/11/2023             document(s)504). (ZAHRALDDIN, RAFAEL) (Entered: 12/11/2023)

                 512   Monthly Operating Report for Filing Period May 31, 2023 Revised
                       Monthly Operating Report for Period Ending May 31, 2023 Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
                       (Attachments: # 1 Balance Sheet − May 2023 # 2 Bank of America
                       Statement − May 2023 # 3 VSI − May 2023 # 4 VSI Letter − May 2023)
12/11/2023             (ZAHRALDDIN, RAFAEL) (Entered: 12/11/2023)

                 513   Status Hearing scheduled 12/14/2023 at 01:00 PM at Courtroom #2. The
                       telephone number to call in is 877−336−1828 access code 7855845 (G.,
12/11/2023             Eileen) (Entered: 12/11/2023)

                 514   Praecipe to Withdraw Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)504). (R., Donna)
12/11/2023             (Entered: 12/12/2023)

                 515   BNC Certificate of Mailing − Status Hearing. Number of Notices Mailed:
                       (related document(s) (Related Doc # 513)). No. of Notices: 20. Notice
12/13/2023             Date 12/13/2023. (Admin.) (Entered: 12/14/2023)

                 516   Stipulation and Order regarding settling objections to fee applications,
                       objection to retention of CFO by the Debtors, and continuance of matters
12/14/2023             (related document(s)510). (J., Randi) (Entered: 12/14/2023)

                 517   Stipulated Order restating and enforcing the Worldwide Automatic Stay .
                       (J., Randi). Related document(s) 509 . Modified on 12/15/2023 (R.,
12/14/2023             Donna). (Entered: 12/14/2023)


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                 518   Monthly Operating Report for Filing Period July 31, 2023 Revised
                       Monthly Operating Report for Period Ending July 31, 2023 Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc..
                       (Attachments: # 1 Balance Sheet − July 2023 # 2 Bank of America
                       Statement − July 2023 # 3 VSI − July 2023 # 4 VSI Letter − July 2023)
12/14/2023             (ZAHRALDDIN, RAFAEL) (Entered: 12/14/2023)

                 519   Status Conference Held on outstanding matters (G., Eileen) (Entered:
12/14/2023             12/15/2023)

                 520   Hearing Continued on 49 Emergency Motion For Sanctions for Violation
                       of the Automatic Stay Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). 76 Motion For Sanctions for
                       Violation of the Automatic Stay Filed by Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel)., 90 Supplement
                       to Motion To Stay (related documents Motion for Sanctions for Violation
                       of the Automatic Stay, Scheduling Hearing) , Motion for Turnover of
                       Property , Motion For Sanctions Filed by Stream TV Networks, Inc.
                       Represented by RAFAEL X. ZAHRALDDIN (Counsel) (related
                       document(s)86, 76). 125 Motion For Sanctions for Violation of the
                       Automatic Stay Filed by Stream TV Networks, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). 409 Application for
                       Compensation (First Monthly) Compensation and Reimbursement of
                       Expenses of Lewis Brisbois Bisgaard and Smith, LLP, Counsel for the
                       Debtors for RAFAEL X. ZAHRALDDIN, Debtor's Attorney, Period:
                       3/15/2023 to 4/30/2023, Fee: $380382.00, Expenses: $3476.00. Filed by
                       RAFAEL X. ZAHRALDDIN Represented by Self(Counsel). 458
                       Supplemental Statement Additional Supplement to Debtors Amended
                       Emergency Motion for Entry of An Order: (1) Enforcing the Automatic
                       Stay; (2) Directing the Turnover of Property of Debtors Estate; and (3)
                       Imposing Sanctions for Willful Stay Violations Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc. (related
                       document(s)90, 76, 49). Hearing scheduled 2/12/2024 at 10:30 AM at
12/14/2023             Courtroom #2. (G., Eileen) (Entered: 12/15/2023)

                 521   Transcript regarding Status Conference held on 12/14/2023. Transcribed
                       by TheRecordXchange. 16 total pages including Certification of
                       Transcriber. The transcript may be viewed at the Bankruptcy Court
                       Clerk's Office. [To request a copy of a restricted transcript, please contact
                       the transcriber TheRecordXchange at 800−406−1290]. Notice of Intent to
                       Request Redaction Deadline Due By 12/22/2023. Redaction Request Due
                       By 1/5/2024. Redacted Transcript Submission Due By 1/16/2024.
                       Transcript access will be restricted through 3/14/2024. (B., John)
12/15/2023             (Entered: 12/15/2023)

                 522   Certificate of No Response to Local Rule 2016−5 First Request for
                       Payment on Account of Compensation and Reimbursement of Expenses of
                       Lewis Brisbois Bisgaard and Smith LLP, Counsel for the Debtor, for the
                       Period March 15, 2023 Through April 30, 2023 and Second Request for
                       Payment on Account of Compensation and Reimbursement of Expenses of
                       Lewis Brisbois Bisgaard and Smith, LLP, Counsel for the Debtor, for the
                       Period May 1, 2023 Through May 31, 2023 Filed by RAFAEL X.
                       ZAHRALDDIN on behalf of Stream TV Networks, Inc. (related
                       document(s)461, 409). (Attachments: # 1 Certificate of Service)
12/15/2023             (ZAHRALDDIN, RAFAEL) (Entered: 12/15/2023)

12/15/2023       523   Application for Compensation Local Rule 2016−5 Third Request for
                       Payment on Account for Compensation and Reimbursement of Expenses
                       of Lewis Brisbois Bisgaard & Smith, LLP, Counsel for the Debtors, for
                       the Periods June 1, 2023 through June 30, 20223 and July 1, 2023


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                       through July 31, 2023 for RAFAEL X. ZAHRALDDIN, Debtor's
                       Attorney, Period: 6/1/2023 to 7/31/2023, Fee: $419,336.40, Expenses:
                       $6,972.71. Filed by RAFAEL X. ZAHRALDDIN Represented by
                       Self(Counsel). (Attachments: # 1 Exhibit A − June 2023 Invoice # 2
                       Exhibit B − July 2023 Invoice) (ZAHRALDDIN, RAFAEL) (Entered:
                       12/15/2023)

                 524   Notice of (related document(s): 523 Application for Compensation Local
                       Rule 2016−5 Third Request for Payment on Account for Compensation
                       and Reimbursement of Expenses of Lewis Brisbois Bisgaard & Smith,
                       LLP, Counsel for the Debtors, for the Periods June 1, 2023 through June
                       30, 20223) Filed by Stream TV Networks, Inc.. (ZAHRALDDIN, RAFAEL)
12/15/2023             (Entered: 12/15/2023)

                 525   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 516)). No. of Notices: 10. Notice Date 12/16/2023.
12/16/2023             (Admin.) (Entered: 12/17/2023)

                 526   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 517)). No. of Notices: 1. Notice Date 12/16/2023.
12/16/2023             (Admin.) (Entered: 12/17/2023)

                 527   Monthly Operating Report for Filing Period August 31, 2023 Revised
                       Monthly Operating Report for Filing Period August 1, 2023 through
                       August 31, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc.. (Attachments: # 1 Exhibit Stream Balance
                       Sheet − August 2023 # 2 Exhibit Bank of America Statement − August
                       2023 # 3 Exhibit VSI − August 2023 # 4 Exhibit VSI Letter − August
12/18/2023             2023) (ZAHRALDDIN, RAFAEL) (Entered: 12/18/2023)

                 528   Monthly Operating Report for Filing Period September 30, 2023 Revised
                       Monthly Operating Report for Filing Period September 1, 2023 through
                       September 30, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc.. (Attachments: # 1 Exhibit Balance Sheet −
                       September 2023 # 2 Exhibit Bank of America Statement September 2023
                       # 3 Exhibit VSI Letter − September 2023) (ZAHRALDDIN, RAFAEL)
12/19/2023             (Entered: 12/19/2023)

                 529   Monthly Operating Report for Filing Period October 31, 2023 Revised
                       Monthly Operating Report for Filing Period October 1, 2023 through
                       October 31, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc.. (Attachments: # 1 Exhibit Balance Sheet −
                       October 2023 # 2 Exhibit Bank of America Statement − October 2023 # 3
                       Exhibit M&T Bank Statement − October 2023 # 4 Exhibit VSI Letter −
12/19/2023             October 2023) (ZAHRALDDIN, RAFAEL) (Entered: 12/19/2023)

                 530   Monthly Operating Report for Filing Period August 31, 2023 Third
                       Amended Monthly Operating Report for August 1, 2023 through August
                       31, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV
                       Networks, Inc.. (Attachments: # 1 Exhibit Balance Sheet − August 2023 #
                       2 Exhibit Key Bank Statement − August 2023 # 3 Exhibit Bank Statement
                       − Bank of America August 2023 # 4 Exhibit VSI − August 2023)
12/22/2023             (ZAHRALDDIN, RAFAEL) (Entered: 12/22/2023)

12/22/2023       531   Monthly Operating Report for Filing Period September 30, 2023 Second
                       Revised Monthly Operating Report for September 1, 2023 through
                       September 30, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc.. (Attachments: # 1 Exhibit Balance Sheet −
                       September 2023 # 2 Exhibit Key Bank − Bank Statement − September


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                       2023 # 3 Exhibit Bank of America Statement − September 2023 # 4
                       Exhibit VSI − September 2023) (ZAHRALDDIN, RAFAEL) (Entered:
                       12/22/2023)

                 532   Monthly Operating Report for Filing Period October 31, 2023 Second
                       Revised Monthly Operating Report for October 1, 203 through October
                       31, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV
                       Networks, Inc.. (Attachments: # 1 Exhibit Balance Sheet − October 2023
                       # 2 Exhibit Key Bank Statement October 2023 # 3 Exhibit M&T Bank
                       Statement October 2023 # 4 Exhibit Bank of America Statement October
                       2023 # 5 Exhibit VSI October 2023) (ZAHRALDDIN, RAFAEL)
12/22/2023             (Entered: 12/22/2023)

                 533   Monthly Operating Report for Filing Period November 30, 2023 Monthly
                       Operating Report for November 1, 2023 through November 30, 2023
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Exhibit Balance Sheet − November 2023 # 2
                       Exhibit Key Bank Statement − November 2023 # 3 Exhibit M&T Bank
                       Statement − November 2023 # 4 Exhibit VSI − November 2023)
12/22/2023             (ZAHRALDDIN, RAFAEL) (Entered: 12/22/2023)

                 534   Motion to Dismiss Case. Motion of the United States Trustee to Dismiss
                       Debtors Cases for Cause Under 11 U.S.C. § 1112(b) Filed by United
                       States Trustee Represented by JOHN HENRY SCHANNE (Counsel).
                       (Attachments: # 1 Proposed Order) (SCHANNE, JOHN) (Entered:
12/29/2023             12/29/2023)

                 535   Notice of (related document(s): 534 Motion to Dismiss Case. Motion of
                       the United States Trustee to Dismiss Debtors Cases for Cause Under 11
                       U.S.C. § 1112(b) ) Filed by United States Trustee. Hearing scheduled
                       1/24/2024 at 11:30 AM at Courtroom #2. (SCHANNE, JOHN) (Entered:
12/29/2023             12/29/2023)

                 536   Certificate of Service Filed by JOHN HENRY SCHANNE on behalf of
                       United States Trustee (related document(s)535, 534). (SCHANNE,
12/29/2023             JOHN) (Entered: 12/29/2023)

                 537   Certificate of No Response to Local Rule 2016−5 Third Request for
                       Payment on Account for Compensation and Reimbursement of Expenses
                       of Lewis Brisbois Bisgaard & Smith, LLP, Counsel for the Debtors, for
                       the Periods June 1, 2023 through June 30, 20223 and July 1, 2023
                       through July 31, 2023 Filed by RAFAEL X. ZAHRALDDIN on behalf of
                       Stream TV Networks, Inc. (related document(s)523). (Attachments: # 1
01/02/2024             Certificate of Service) (ZAHRALDDIN, RAFAEL) (Entered: 01/02/2024)

                 538   Motion to Appear pro hac vice on behalf of Scott D. Cousins Filed by
                       Stream TV Networks, Inc., Technovative Media, Inc. Represented by
                       RAFAEL X. ZAHRALDDIN (Counsel). (Attachments: # 1 Exhibit A # 2
                       Proposed Order # 3 Certificate of Service) (ZAHRALDDIN, RAFAEL)
01/02/2024             (Entered: 01/02/2024)

                 539   Certificate of Service Filed by BMC Group Inc. (related document(s)517,
01/02/2024             518, 516, 514). (Ordaz, Steven) (Entered: 01/02/2024)

                       Receipt Number APAEDC−17163920, Fee Amount $75.00 (related
01/02/2024             document(s)538). Scott D. Cousins. (R., Donna) (Entered: 01/03/2024)

                 540   Certificate of Service Filed by BMC Group Inc. (related document(s)523,
01/03/2024             522, 524). (Ordaz, Steven) (Entered: 01/03/2024)

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                 541   Certificate of Service Filed by BMC Group Inc. (related document(s)528,
01/03/2024             527, 529). (Ordaz, Steven) (Entered: 01/03/2024)

                 542   Certificate of Service Filed by BMC Group Inc. (related document(s)533,
01/03/2024             532, 530, 531). (Ordaz, Steven) (Entered: 01/03/2024)

                 543   Certificate of Service Filed by BMC Group Inc. (related document(s)513,
                       506, 511, 510, 509, 505, 502, 504, 512, 500, 503). (Ordaz, Steven)
01/03/2024             (Entered: 01/03/2024)

                 544   Application for Compensation / First Interim Application for
                       Compensation and Reimbursement of Expenses of Lewis Brisbois
                       Bisgaard & Smith, LLP, Counsel for Debtors, for the Period March 15,
                       2023 through July 31, 2023 for RAFAEL X. ZAHRALDDIN, Debtor's
                       Attorney, Period: 3/15/2023 to 7/31/2023, Fee: $242,521.90, Expenses:
                       $10,551.28. Filed by RAFAEL X. ZAHRALDDIN Represented by
                       Self(Counsel). (Attachments: # 1 Proposed Order # 2 Exhibit A # 3
                       Exhibit B # 4 Exhibit C # 5 Exhibit D # 6 Exhibit Certificate of Service)
01/04/2024             (ZAHRALDDIN, RAFAEL) (Entered: 01/04/2024)

                 545   Notice of (related document(s): 544 Application for Compensation / First
                       Interim Application for Compensation and Reimbursement of Expenses of
                       Lewis Brisbois Bisgaard & Smith, LLP, Counsel for Debtors, for the
                       Period March 15, 2023 through July 31, 2023 for RAFAEL X.
                       ZAHRALDDI) Filed by Stream TV Networks, Inc.. (ZAHRALDDIN,
01/04/2024             RAFAEL) (Entered: 01/04/2024)

                 546   Application for Compensation Local Rule 2016−5 Fourth Request for
                       Payment on Account for Compensation and Reimbursement of Expenses
                       of Lewis Brisbois Bisgaard & Smith, LLP, Counsel for the Debtors, for
                       the Periods August 1, 2023 Through August 31, 2023 and September 1,
                       2023 Through September 30, 2023 for RAFAEL X. ZAHRALDDIN,
                       Debtor's Attorney, Period: 8/1/2023 to 9/30/2023, Fee: $407,218.00,
                       Expenses: $13532.10. Filed by RAFAEL X. ZAHRALDDIN Represented
                       by Self(Counsel). (Attachments: # 1 Exhibit A # 2 Exhibit B)
01/05/2024             (ZAHRALDDIN, RAFAEL) (Entered: 01/05/2024)

                 547   Notice of (related document(s): 546 Application for Compensation Local
                       Rule 2016−5 Fourth Request for Payment on Account for Compensation
                       and Reimbursement of Expenses of Lewis Brisbois Bisgaard & Smith,
                       LLP, Counsel for the Debtors, for the Periods August 1, 2023 Through
                       August 31,) Filed by Stream TV Networks, Inc.. (ZAHRALDDIN,
01/05/2024             RAFAEL) (Entered: 01/05/2024)

                 548   Memorandum Re:The Motion of Section 1102/1104 and the Motion for
                       Relief from Stay file by Hawk Investment Holdings LTD. An order
                       consistent with this Memorandum shall be entered. (related
01/05/2024             document(s)16, 83). (R., Donna) (Entered: 01/05/2024)

                 549   Ordered: The Section 1112/1104 Motion is GRANTED solely to the
                       extent it requests that a trustee be appointed in the Debtors bankruptcy
                       cases pursuant §1104(a) of the Bankruptcy Code. The Hawk Stay Relief
                       Motion is GRANTED to permit the Section 225 Action to proceed solely
                       with respect to the Technovative Director Issue and the Debt Conversion
                       Issue. Status Hearing scheduled 1/24/2024 at 02:00 PM at Courtroom #2.
01/05/2024             (related document(s)16, 83). (R., Donna) (Entered: 01/05/2024)

01/07/2024       550   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 548)). No. of Notices: 2. Notice Date 01/07/2024.


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                       (Admin.) (Entered: 01/08/2024)

                 551   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 549)). No. of Notices: 6. Notice Date 01/07/2024.
01/07/2024             (Admin.) (Entered: 01/08/2024)

                 552   Order Granting Motion To Appear pro hac vice for Scott D. Cousins,
01/08/2024             Esquire. (Related Doc # 538) (S., Antoinette) (Entered: 01/08/2024)

                 553   Motion to Appoint Trustee Filed by United States Trustee Represented by
                       JOHN HENRY SCHANNE (Counsel). (Attachments: # 1 Affidavit
                       Verified Statement # 2 Proposed Order) (SCHANNE, JOHN) (Entered:
01/09/2024             01/09/2024)

                 554   Notice of Appointment of William A. Homony to serve as the chapter 11
                       trustee Filed by United States Trustee Represented by JOHN HENRY
                       SCHANNE (Counsel). (SCHANNE, JOHN) Modified on 1/10/2024 (R.,
01/09/2024             Donna). (Entered: 01/09/2024)

                 555   Order Granting Motion Application of the Debtors for Entry of an
                       OrderAuthorizing the Debtors to Retain Thomas Jung Ho Park as Chief
                       Financial Officer to the Debtors (Related Doc # 234) (R., Donna)
01/10/2024             (Entered: 01/10/2024)

                 556   Order Extending All Responsive Pleading Deadlines for 30 days. all
                       current deadlines in the Bankruptcy Cases and the Adversary Proceeding
                       are hereby EXTENDED for 30 days from the entry of this Order, subject
                       to further extension sua sponte or upon motion and hearing. (R., Donna)
                       Additional attachment(s) added on 1/11/2024 (R., Donna). (Entered:
01/10/2024             01/10/2024)

                 557   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 552)). No. of Notices: 1. Notice Date 01/10/2024.
01/10/2024             (Admin.) (Entered: 01/11/2024)

                 558   Order Granting Motion to Appoint Trustee (related document(s)553).
                       WILLIAM A. HOMONY added to the case. (B., John) (Entered:
01/12/2024             01/12/2024)

                 559   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 555)). No. of Notices: 2. Notice Date 01/12/2024.
01/12/2024             (Admin.) (Entered: 01/13/2024)

                 560   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 556)). No. of Notices: 3. Notice Date 01/13/2024.
01/13/2024             (Admin.) (Entered: 01/14/2024)

                 561   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 558)). No. of Notices: 211. Notice Date 01/14/2024.
01/14/2024             (Admin.) (Entered: 01/15/2024)

                 562   Notice of Acceptance of Trustee Appointment Filed by MICHAEL D.
                       VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)558). (VAGNONI, MICHAEL) Modified on 1/16/2024 (S.,
01/15/2024             Antoinette). (Entered: 01/15/2024)

01/17/2024       563   Application for Compensation / Local Rule 2016−5 Fifth Request for
                       Payment on Account for Compensation and Reimbursement of Expenses

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                       of Lewis Brisbois Bisgaard & Smith, LLP, Counsel for the Debtors, for
                       the Periods October 1, 2023 through October 31, 2023 and November 1,
                       2023 through November 30, 2023 for RAFAEL X. ZAHRALDDIN,
                       Debtor's Attorney, Period: 10/1/2023 to 11/30/2023, Fee: $508,005.26,
                       Expenses: $14549.34. Filed by RAFAEL X. ZAHRALDDIN Represented
                       by Self(Counsel). (Attachments: # 1 Exhibit A # 2 Exhibit B)
                       (ZAHRALDDIN, RAFAEL) (Entered: 01/17/2024)

                 564   Application to Employ Obermayer Rebmann Maxwell & Hippel LLP as
                       General Counsel Filed by WILLIAM A. HOMONY Represented by
                       MICHAEL D. VAGNONI (Counsel). (Attachments: # 1 Affidavit of
                       Disinterestedness # 2 Proposed Order # 3 Certificate of Service)
01/17/2024             (VAGNONI, MICHAEL) (Entered: 01/17/2024)

                 565   Notice of Application to Employ Obermayer Rebmann Maxwell & Hippel
                       LLP as General Counsel Filed by WILLIAM A. HOMONY.
01/17/2024             (VAGNONI, MICHAEL) (Entered: 01/17/2024)

                 566   Application to Employ Miller Coffey Tate LLP as Accountants and
                       Bankruptcy Consultants Filed by WILLIAM A. HOMONY Represented
                       by MICHAEL D. VAGNONI (Counsel). (Attachments: # 1 Declaration of
                       M. Tomlin # 2 Proposed Order # 3 Certificate of Service) (VAGNONI,
01/17/2024             MICHAEL) (Entered: 01/17/2024)

                 567   Notice of (related document(s): 566 Application to Employ Miller Coffey
                       Tate LLP as Accountants and Bankruptcy Consultants ) Filed by
                       WILLIAM A. HOMONY. (VAGNONI, MICHAEL) (Entered:
01/17/2024             01/17/2024)

                 568   Praecipe to Withdraw Motion of the United States Trustee to Dismiss
                       Debtors' Cases for Cause Under 11 U.S.C. § 1112(b) Filed by JOHN
                       HENRY SCHANNE on behalf of United States Trustee (related
01/18/2024             document(s)534). (SCHANNE, JOHN) (Entered: 01/18/2024)

                 575   Status Hearing held (related document(s)549). Order to be submitted. (B.,
01/24/2024             John) (Entered: 01/29/2024)

                 569   Certificate of No Response to Application to Employ Obermayer
                       Rebmann Maxwell & Hippel LLP as Counsel Filed by MICHAEL D.
                       VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)564). (Attachments: # 1 Exhibit A − Revised Proposed Order,
                       Clean # 2 Exhibit B − Revised Proposed Order, Redline) (VAGNONI,
01/25/2024             MICHAEL) (Entered: 01/25/2024)

                 570   Certificate of No Response to Application to Employ Miller Coffey Tate
                       LLP as Accountants and Bankruptcy Consultants Filed by MICHAEL D.
                       VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)566). (Attachments: # 1 Exhibit A − Revised Proposed Order,
                       Clean # 2 Exhibit B − Revised Proposed Order, Redline) (VAGNONI,
01/25/2024             MICHAEL) (Entered: 01/25/2024)

                 571   Certificate of Service Filed by BMC Group Inc. (related document(s)544,
01/26/2024             545). (Ordaz, Steven) (Entered: 01/26/2024)

                 572   Certificate of Service Filed by BMC Group Inc. (related document(s)547,
01/26/2024             546). (Ordaz, Steven) (Entered: 01/26/2024)

01/26/2024       573


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                       Certificate of No Response to Application pursuant to Local Rule 2016−5
                       Fourth Request for Payment on Account of Compensation and
                       Reimbursement of Expenses of Lewis Brisbois Bisgaard and Smith LLP,
                       Counsel for the Debtors, for the Periods August 1, 2023 through August
                       31, 2023 and September 1, 2023 through September 30, 2023 Filed by
                       RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks, Inc.
                       (related document(s)546). (Attachments: # 1 Certificate of Service)
                       (ZAHRALDDIN, RAFAEL) (Entered: 01/26/2024)

                 574   Certificate of Service Filed by BMC Group Inc. (related document(s)563).
01/26/2024             (Ordaz, Steven) (Entered: 01/26/2024)

                 576   Amended Notice of (related document(s): 566 Application to Employ
                       Miller Coffey Tate LLP as Accountants and Bankruptcy Consultants )
                       Filed by WILLIAM A. HOMONY. (Attachments: # 1 Exhibit A)
01/29/2024             (VAGNONI, MICHAEL) (Entered: 01/29/2024)

                 577   Order Granting Application of the Chapter 11 Trustee to Employ
                       Obermayer Rebmann Mawell & Hippel LLP as general counsel to the
                       Chapter 11 Trustee . Ordered that compensation to Obermayer is only
                       allowed by order to this Court upon submission of an application for
                       compensation in conformity with the United States Bankruptcy Code,
                       applicable Bankruptcy Rules, and In re Busy Beaver Building Center, Inc.
                       19F.3d833 (3rd Cir. 1994). (Related Doc # 564569) (K., Marie) (Entered:
01/29/2024             01/29/2024)

                 578   Bond of Chapter 11 Trustee Filed by United States Trustee. (SCHANNE,
01/30/2024             JOHN) (Entered: 01/30/2024)

                 579   Application to Employ Steven M. Coren, Esquire and Coren & Ress, P.C.
                       as Special Counsel Filed by WILLIAM A. HOMONY Represented by
                       MICHAEL D. VAGNONI (Counsel). (Attachments: # 1 Exhibit A # 2
                       Exhibit B # 3 Proposed Order # 4 Certificate of Service) (VAGNONI,
01/31/2024             MICHAEL) (Entered: 01/31/2024)

                 580   Notice of (related document(s): 579 Application to Employ Steven M.
                       Coren, Esquire and Coren & Ress, P.C. as Special Counsel ) Filed by
                       WILLIAM A. HOMONY. (VAGNONI, MICHAEL) (Entered:
01/31/2024             01/31/2024)

                 581   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 577)). No. of Notices: 1. Notice Date 01/31/2024.
01/31/2024             (Admin.) (Entered: 02/01/2024)

                 582   Proposed Order Re: Further Extending Deadlines Filed by MICHAEL D.
                       VAGNONI on behalf of WILLIAM A. HOMONY (related
02/01/2024             document(s)556). (VAGNONI, MICHAEL) (Entered: 02/01/2024)

                 583   Certificate of No Response to Application to Employ Miller Coffey Tate
                       LLP as Accountants and Bankruptcy Consultants Filed by MICHAEL D.
                       VAGNONI on behalf of WILLIAM A. HOMONY (related
02/06/2024             document(s)576, 566). (VAGNONI, MICHAEL) (Entered: 02/06/2024)

                 584   Hearing scheduled for February 12, 2024 is cancelled and continued to a
                       future hearing date to be determined. Proposed Order Extending
                       Deadlines and Scheduling Further Hearing has been filed for review.
                       (related document(s)582). Related to pending matters: (49), (76), (90),
02/07/2024             (125), (409), (458). (Barbetta, John) (Entered: 02/07/2024)


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                 585   Certificate of No Response to Employ Steven M. Coren, Esquire and
                       Coren & Ress, P.C. as his Special Counsel Filed by MICHAEL D.
                       VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)579). (Attachments: # 1 Exhibit A − Proposed Order)
02/08/2024             (VAGNONI, MICHAEL) (Entered: 02/08/2024)

                 586   Order Granting Application to Employ Miller Coffey Tate (Related Doc #
02/15/2024             566) (R., Donna) (Entered: 02/16/2024)

                 587   Order Granting Application to Employ STEVEN M. COREN as Special
02/15/2024             Counsel (Related Doc # 579) (R., Donna) (Entered: 02/16/2024)

                 588   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 586)). No. of Notices: 3. Notice Date 02/18/2024.
02/18/2024             (Admin.) (Entered: 02/19/2024)

                 589   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 587)). No. of Notices: 2. Notice Date 02/18/2024.
02/18/2024             (Admin.) (Entered: 02/19/2024)

                 590   Document in re: Notice of Errata to Submission of Local Rule 2016−5
                       Corrected First, Second, Third, First Interim and Fifth Requests on
                       Account for Compensation and Reimbursement of Expenses of Lewis
                       Brisbois Bisgaard and Smith LLP, Counsel for the Debtors, for the
                       Periods March 15, 2023 − April 30, 2023, May 1, 2023 − May 31, 2023,
                       June 1, 2023 − July 31, 2023 and October 1, 2023 − November 30, 2023
                       Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Exhibit 1 to Notice of Errata # 2 Exhibit 2 to
                       Notice of Errata # 3 Exhibit 3 to Notice of Errata # 4 Exhibit 4 to Notice
                       of Errata # 5 Exhibit 5 to Notice of Errata # 6 Exhibit 6 to Notice of Errata
                       # 7 Exhibit 7 to Notice of Errata # 8 Exhibit 8 to Notice of Errata # 9
                       Exhibit 9 to Notice of Errata) (ZAHRALDDIN, RAFAEL) (Entered:
02/28/2024             02/28/2024)

                 591   Order Further Extending All Responsive Pleading Deadlines. It is hereby
                       Ordered that all current deadlines in the Bankruptcy Cases and Adversary
                       Proceeding 23−00057 are extended until further Order of this Court, and it
                       is further Ordered that the temporary restraining order entered on January
                       5, 2024 in the adversary proceeding is hereby extended to until May 10,
                       2024, and the Final Hearing shall be held on May 10, 2024 at 10:30 AM
                       in Nix Building Courtroom 2. It is Ordered that a further Status Hearing
                       shall be held in these cases on March 6, 2024 at 2:00 PM by video
02/28/2024             conference. (Barbetta, John) (Entered: 02/28/2024)

                 592   Expedited Motion to Impose Automatic Stay Filed by WILLIAM A.
                       HOMONY Represented by MICHAEL D. VAGNONI (Counsel).
                       (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order Expediting
                       Consideration # 4 Proposed Order Reinstating Automatic Stay)
03/01/2024             (VAGNONI, MICHAEL) (Entered: 03/01/2024)

                 593   Declaration re: of William A. Homony in Support of Motion to Reinstate
                       Automatic Stay Filed by MICHAEL D. VAGNONI on behalf of
                       WILLIAM A. HOMONY (related document(s)592). (VAGNONI,
03/01/2024             MICHAEL) (Entered: 03/01/2024)

                 594   Order Scheduling Expedited Hearing on 592 Expedited Motion to Impose
                       Automatic Stay filed by Trustee WILLIAM A. HOMONY represented by
                       MICHAEL D. VAGNONI (Counsel). Hearing is scheduled for 3/6/2024
03/01/2024             at 2:00 PM on video conference. (Barbetta, John) (Entered: 03/01/2024)


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                 595   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 591)). No. of Notices: 212. Notice Date 03/01/2024.
03/01/2024             (Admin.) (Entered: 03/02/2024)

                 596   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 594)). No. of Notices: 20. Notice Date 03/03/2024.
03/03/2024             (Admin.) (Entered: 03/04/2024)

                 597   Notice of Appearance and Request for Notice by ANDREW J. BELLI
                       Filed by ANDREW J. BELLI on behalf of WILLIAM A. HOMONY.
03/05/2024             (BELLI, ANDREW) (Entered: 03/05/2024)

                 598   Notice of Appearance and Request for Notice by STEVEN M. COREN
                       Filed by STEVEN M. COREN on behalf of WILLIAM A. HOMONY.
03/05/2024             (COREN, STEVEN) (Entered: 03/05/2024)

                 599   Objection to Motion to Impose Automatic Stay filed by Trustee
                       WILLIAM A. HOMONY Hawk Investment Holdings Ltd.'s Objection to
                       Motion of William A. Homony in His Capacity as Chapter 11 Trustee for
                       (I) Expedited Consideration, Shortened Time and Limited Notice, (II) the
                       Entry of an Order Reinstating the Automatic Stay as to the Section 225
                       Action, and (III) For Related Relief Filed by Hawk Investment Holdings
                       Ltd. (related document(s)592). (Attachments: # 1 Exhibit A # 2 Exhibit B
                       # 3 Exhibit C # 4 Exhibit C−1 # 5 Exhibit D # 6 Exhibit E # 7 Exhibit F)
03/05/2024             (Caponi, Steven) (Entered: 03/05/2024)

                 600   Status Hearing continued. Status Hearing is scheduled for 3/13/2024 at
03/06/2024             12:00 PM by video conference. (Barbetta, John) (Entered: 03/06/2024)

                 601   Status Hearing held. Order to be submitted. (Barbetta, John) (Entered:
03/13/2024             03/13/2024)

                 602   Certificate of Service Filed by BMC Group Inc. (related document(s)593,
03/13/2024             594, 592). (Ordaz, Steven) (Entered: 03/13/2024)

                 603   Transcript regarding hearing held on 3/06/2024. Transcribed by
                       TheRecordXchange. 54 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [To
                       request a copy of a restricted transcript, please contact the transcriber
                       TheRecordXchange at 800−406−1290]. Notice of Intent to Request
                       Redaction Deadline Due By 3/25/2024. Redaction Request Due By
                       4/8/2024. Redacted Transcript Submission Due By 4/18/2024. Transcript
                       access will be restricted through 6/17/2024. (Barbetta, John) (Entered:
03/18/2024             03/18/2024)

                 604   Transcript regarding hearing held on 3/13/2024. Transcribed by
                       TheRecordXchange. 14 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [To
                       request a copy of a restricted transcript, please contact the transcriber
                       TheRecordXchange at 800−406−1290]. Notice of Intent to Request
                       Redaction Deadline Due By 3/25/2024. Redaction Request Due By
                       4/8/2024. Redacted Transcript Submission Due By 4/18/2024. Transcript
                       access will be restricted through 6/17/2024. (Barbetta, John) (Entered:
03/18/2024             03/18/2024)

                 605   Status Hearing scheduled. Hearing scheduled 4/4/2024 at 10:00 AM at
                       Philadelphia Video Hearing. Counsel may email Judge Chan's courtroom
                       deputy, Pamela Blalock at Pamela_Blalock@paeb.uscourts.gov, to obtain
03/27/2024             the zoom link. (B., Pamela) (Entered: 03/27/2024)

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                 606   Proposed Consent Order RE: Trustee's Motion for Entry of an Order
                       Reinstating the Automatic Stay as to the Section 225 Action Filed by
                       MICHAEL D. VAGNONI on behalf of WILLIAM A. HOMONY (related
03/28/2024             document(s)592). (VAGNONI, MICHAEL) (Entered: 03/28/2024)

                 607   Monthly Operating Report for Filing Period December 2023 Filed by
                       MICHAEL D. VAGNONI on behalf of Stream TV Networks, Inc..
                       (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
03/28/2024             03/28/2024)

                 608   Chapter 11 Monthly Operating Report for the Month Ending: 01/31/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
03/28/2024             03/28/2024)

                 609   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 12/31/2023 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (VAGNONI, MICHAEL) (Entered:
03/28/2024             03/28/2024)

                 610   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 01/31/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (VAGNONI, MICHAEL) (Entered:
03/28/2024             03/28/2024)

                 611   Notice of Appearance and Request for Notice by LESLIE BETH
                       BASKIN Filed by LESLIE BETH BASKIN on behalf of Visual
03/28/2024             Semiconductor, Inc.. (BASKIN, LESLIE) (Entered: 03/28/2024)

                 612   Consent Order granting the Motion of William A. Homony in his
                       Capacity as Chapter 11 Trustee for (I) The Entry of an Order Reinstating
                       the Automatic Stay as to the Section 225 Action, and (II) For Related
                       Relief. (related document(s)606, 592, 549). (Barbetta, John) (Entered:
04/01/2024             04/01/2024)

                 613   Case reassigned to Judge Ashely M. Chan. Involvement of Chief Judge
                       Magdeline D. Coleman Terminated. See Miscellaneous Case Number
04/02/2024             24−03004−mdc . (Moy Ng, Yim) (Entered: 04/02/2024)

                 614   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 10/31/2023 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (VAGNONI, MICHAEL) (Entered:
04/02/2024             04/02/2024)

                 615   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 11/30/2023 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (VAGNONI, MICHAEL) (Entered:
04/02/2024             04/02/2024)

                 616   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 02/29/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (VAGNONI, MICHAEL) (Entered:
04/02/2024             04/02/2024)

                 617   Chapter 11 Monthly Operating Report for the Month Ending: 02/29/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
04/02/2024             04/02/2024)


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                 618   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 612)). No. of Notices: 216. Notice Date 04/03/2024.
04/03/2024             (Admin.) (Entered: 04/04/2024)

04/04/2024       619   Status Hearing Held and concluded. (B., Pamela) (Entered: 04/04/2024)

                 620   Withdrawal of Appearance of Brittany S. Ogden of Quarles & Brady LLP
                       as pro hac vice Counsel and entry of appearance of Filed by DAVIS LEE
                       WRIGHT on behalf of SLS Holdings VI, LLC. (WRIGHT, DAVIS)
04/11/2024             (Entered: 04/11/2024)

                 621   Withdrawal of Appearance of Catherine Guastello Allen of Quarles &
                       Brady LLP as pro hac vice Counsel and entry of appearance of Filed by
                       DAVIS LEE WRIGHT on behalf of SLS Holdings VI, LLC. (WRIGHT,
04/11/2024             DAVIS) (Entered: 04/11/2024)

                 622   Withdrawal of Appearance of Sargina M. Desargones of Quarles & Brady
                       LLP as pro hac vice Counsel and entry of appearance of Filed by DAVIS
                       LEE WRIGHT on behalf of SLS Holdings VI, LLC. (WRIGHT, DAVIS)
04/11/2024             (Entered: 04/11/2024)

                 623   Notice of Change of Address for J. von der Heydt, Esq. Filed by
                       JENNIFER R. HOOVER on behalf of Trans World International, LLC.
04/26/2024             (HOOVER, JENNIFER) (Entered: 04/26/2024)

                 624   Application to Employ Capstone Capital Markets LLC as Investment
                       Banker to the Chapter 11 Trustee Filed by WILLIAM A. HOMONY
                       Represented by MICHAEL D. VAGNONI (Counsel). (Attachments: # 1
                       Exhibit A, Declaration of J. Lisac # 2 Exhibit B, Engagement Agreement
                       # 3 Proposed Order # 4 Certificate of Service) (VAGNONI, MICHAEL)
05/02/2024             (Entered: 05/02/2024)

                 625   Notice of (related document(s): 624 Application to Employ Capstone
                       Capital Markets LLC as Investment Banker to the Chapter 11 Trustee)
                       Filed by WILLIAM A. HOMONY. (VAGNONI, MICHAEL) (Entered:
05/02/2024             05/02/2024)

                 626   Chapter 11 Monthly Operating Report for the Month Ending: 03/31/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
05/02/2024             05/02/2024)

                 627   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 03/31/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (VAGNONI, MICHAEL) (Entered:
05/02/2024             05/02/2024)

                 628   Objection to Claim Number 6, 9 and 14 by Claimant Hawk Investment
                       Holdings Ltd. (6), SLS Holdings VI, LLC (9), and SeeCubic, Inc. (14).
                       Filed by Rembrandt 3D Holding Ltd.. (Attachments: # 1 Exhibit 1 −
                       Proposed Order # 2 Exhibit 2)(DEMARCO, ANDREW) (Entered:
05/02/2024             05/02/2024)

                 629   Notice of Objection to claim Filed by Rembrandt 3D Holding Ltd.
                       (related document(s)628). (DEMARCO, ANDREW) (Entered:
05/02/2024             05/02/2024)

05/06/2024       630


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                       Motion to Approve Compromise under Rule 9019 Filed by WILLIAM A.
                       HOMONY Represented by MICHAEL D. VAGNONI (Counsel).
                       (Attachments: # 1 Exhibit A, Sharing and Carve−Out Agreement # 2
                       Proposed Order # 3 Certificate of Service) (VAGNONI, MICHAEL)
                       (Entered: 05/06/2024)

                 631   Notice of (related document(s): 630 Motion to Approve Compromise
                       under Rule 9019 ) Filed by WILLIAM A. HOMONY. Hearing scheduled
                       6/26/2024 at 12:30 PM at Courtroom #4. (VAGNONI, MICHAEL)
05/06/2024             (Entered: 05/06/2024)

                 632   Certificate of Service Filed by BMC Group Inc. (related document(s)630,
05/08/2024             631). (Ordaz, Steven) (Entered: 05/08/2024)

                 633   Objection to Application to Employ filed by Trustee WILLIAM A.
                       HOMONY Capstone Capital Markets LLC as Investment Banker Filed by
                       Visual Semiconductor, Inc. (related document(s)624). (Attachments: # 1
                       Exhibit Email from Counsel to Trustee to Counsel for VSI, dated May 3,
05/09/2024             2024) (BASKIN, LESLIE) (Entered: 05/09/2024)

                 634   Amended Notice of Objection to claim Filed by Rembrandt 3D Holding
                       Ltd. (related document(s)628). Hearing scheduled 6/26/2024 at 11:00 AM
                       at Courtroom #4 . (DEMARCO, ANDREW) Modified on 5/10/2024 (R.,
05/09/2024             Donna). Modified on 5/10/2024 (R., Donna). (Entered: 05/09/2024)

                 635   Objection to Application to Employ filed by Trustee WILLIAM A.
                       HOMONY Filed by Rembrandt 3D Holding Ltd. (related
05/09/2024             document(s)624). (DEMARCO, ANDREW) (Entered: 05/09/2024)

                 636   Hearing Set 633 . Objection to Application to Employ by Trustee
                       WILLIAM A. HOMONY Capstone Capital Markets LLC as Investment
                       Banker Filed by Visual Semiconductor, Inc. (related document(s)624).
                       635 Objection to Application to Employ filed by Creditor Rembrandt 3D
                       Holding Ltd.. Hearing scheduled 6/5/2024 at 11:00 AM at Courtroom #4.
05/10/2024             (R., Donna) (Entered: 05/10/2024)

                 637   BNC Certificate of Mailing − Hearing Set. Number of Notices Mailed:
                       (related document(s) (Related Doc # 636)). No. of Notices: 1. Notice Date
05/12/2024             05/12/2024. (Admin.) (Entered: 05/13/2024)

                 638   Amended Notice of (related document(s): 630 Motion to Approve
                       Compromise under Rule 9019 ) Filed by WILLIAM A. HOMONY.
                       Hearing scheduled 6/5/2024 at 11:00 AM at Courtroom #4. (VAGNONI,
05/14/2024             MICHAEL) (Entered: 05/14/2024)

                 639   Response to Objection to Claim filed by Creditor Rembrandt 3D Holding
                       Ltd. Hawk Investment Holdings Ltd.'s Response to Rembrandt 3D
                       Holding Ltd.'s Objection to Proofs of Claim No. 6 Filed by Hawk
                       Investment Holdings Ltd., As Collateral Agent, No. 9 Filed by SLS
                       Holdings VI, LLC, and No. 14 Filed by SeeCubic, Inc. Filed by Hawk
                       Investment Holdings Ltd. (related document(s)628). (Caponi, Steven)
05/16/2024             (Entered: 05/16/2024)

                 640   Response to Objection to Claim filed by Creditor Rembrandt 3D Holding
                       Ltd. // SLS Holdings VI, LLC's Response to Rembrandt 3D Holding Ltd.'s
                       Objection to Proofs of Claim No. 6 Filed by Hawk Investment Holdings
                       Ltd., "As Collateral Agent", No. 9 Filed by SLS Holdings VI, LLC, and
                       No. 14 Filed by SeeCubic, Inc. Filed by SLS Holdings VI, LLC (related
05/16/2024             document(s)628). (WRIGHT, DAVIS) (Entered: 05/16/2024)

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                 641   Certificate of Service Filed by BMC Group Inc. (related document(s)638).
05/17/2024             (Ordaz, Steven) (Entered: 05/17/2024)

                 642   Objection to Motion to Approve Compromise under Rule 9019 filed by
                       Trustee WILLIAM A. HOMONY Filed by Visual Semiconductor, Inc.
                       (related document(s)630). (Attachments: # 1 Exhibit A − Copy of Asset
                       List VSI Provided to Trustee # 2 Exhibit B − True and Correct Excerpts
                       of Debtor's 8−12−2023 Complaint # 3 Exhibit C − True and correct copy
                       of VSI Proposal dated 5−19−2024 # 4 Exhibit D − True and correct copy
                       of Cystar Purchase Order # 5 Exhibit E − True and Correct Copy of SoTel
                       Purchase Order # 6 Service List) (BASKIN, LESLIE) (Entered:
05/20/2024             05/20/2024)

                 643   Objection to Motion to Approve Compromise under Rule 9019 filed by
                       Trustee WILLIAM A. HOMONY Filed by Rembrandt 3D Holding Ltd.
                       (related document(s)630). (Attachments: # 1 Affidavit of Christopher A.
                       Michaels # 2 Exhibit 1 # 3 Exhibit 2 # 4 Proposed Order) (DEMARCO,
05/20/2024             ANDREW) (Entered: 05/20/2024)

                 655   Letter from Filed by MWL International limited (R., Donna) (Entered:
05/20/2024             06/10/2024)

                 644   Chapter 11 Monthly Operating Report for the Month Ending: 04/30/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
05/29/2024             05/29/2024)

                 645   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 04/30/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (VAGNONI, MICHAEL) (Entered:
05/29/2024             05/29/2024)

                 646   Motion for Turnover of Property and Entry of an Order Enforcing the
                       Automatic Stay Filed by WILLIAM A. HOMONY Represented by
                       MICHAEL D. VAGNONI (Counsel). (Attachments: # 1 Exhibit A # 2
                       Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E − Proposed Order)
05/30/2024             (VAGNONI, MICHAEL) (Entered: 05/30/2024)

                 647   Notice of (related document(s): 646 Motion for Turnover of Property and
                       Entry of an Order Enforcing the Automatic Stay) Filed by WILLIAM A.
                       HOMONY. Hearing scheduled 6/26/2024 at 11:00 AM at Courtroom #4.
05/30/2024             (VAGNONI, MICHAEL) (Entered: 05/30/2024)

                 648   Declaration re: (Supplemental) Declaration of Proposed Investment
                       Banker Filed by MICHAEL D. VAGNONI on behalf of WILLIAM A.
                       HOMONY (related document(s)624). (VAGNONI, MICHAEL) (Entered:
06/03/2024             06/03/2024)

                 649   Certificate of Service Filed by BMC Group Inc. (related document(s)646,
06/03/2024             647). (Ordaz, Steven) (Entered: 06/03/2024)

                 650   Response to Objection to Claim filed by Creditor Rembrandt 3D Holding
                       Ltd., Response filed by Creditor Hawk Investment Holdings Ltd.,
                       Response filed by Interested Party SLS Holdings VI, LLC Filed by
                       WILLIAM A. HOMONY (related document(s)640, 628, 639).
06/04/2024             (VAGNONI, MICHAEL) (Entered: 06/04/2024)

06/05/2024       651


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                       Evidentiary Hearing Held on 630 Motion to Approve Compromise under
                       Rule 9019 Filed by WILLIAM A. HOMONY. Order entered granting
                       motion. (B., Pamela) (Entered: 06/06/2024)

                 666   **DOCKETED IN ERROR***Hearing Continued on 635 Objection
                       Filed by Rembrandt 3D Holding Ltd.. Hearing scheduled 06/19/2024 at
                       11:30 AM at Philadelphia Telephone Hearing. (B., Pamela) Modified on
06/05/2024             6/17/2024 (B., Pamela). (Entered: 06/17/2024)

                 667   Hearing Continued on 633 Objection Filed by Visual Semiconductor, Inc..
                       Hearing scheduled 06/18/2024 at 11:30 AM at Philadelphia Telephone
06/05/2024             Hearing. (B., Pamela) (Entered: 06/17/2024)

                 668   Hearing Continued on 635 Objection Filed by Rembrandt 3D Holding
                       Ltd.. Hearing scheduled 06/18/2024 at 11:30 AM at Philadelphia
06/05/2024             Telephone Hearing. (B., Pamela) (Entered: 06/17/2024)

                 652   Hearing Continued on 646 Motion for Turnover of Property Filed by
                       WILLIAM A. HOMONY. Hearing scheduled 07/15/2024 at 10:00 AM at
06/06/2024             Philadelphia Video Hearing. (B., Pamela) (Entered: 06/06/2024)

                 653   Order Granting Motion to Approve Compromise under Rule 9019
06/06/2024             (Related Doc # 630) (R., Donna) (Entered: 06/07/2024)

                 654   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 653)). No. of Notices: 1. Notice Date 06/09/2024.
06/09/2024             (Admin.) (Entered: 06/10/2024)

                 656   Withdrawal of Appearance of Leslie B. Baskin and entry of appearance of
                       Unknown Filed by LESLIE BETH BASKIN on behalf of Visual
06/11/2024             Semiconductor, Inc.. (BASKIN, LESLIE) (Entered: 06/11/2024)

                 657   Motion to Withdraw as Attorney Filed by Visual Semiconductor, Inc.
                       Represented by LESLIE BETH BASKIN (Counsel). (Attachments: # 1
                       Exhibit Ex A # 2 Service List Cert of Service # 3 Proposed Order
06/12/2024             Proposed Order) (BASKIN, LESLIE) (Entered: 06/12/2024)

                 658   Motion to Expedite Hearing (related documents Motion to Withdraw as
                       Attorney) , Filed by Visual Semiconductor, Inc. Represented by
                       Self(Counsel) (related document(s)657) . (R., Donna) (Entered:
06/12/2024             06/12/2024)

                 659   Order Granting Expedited Hearing re:657 Motion to Withdraw as
                       Attorney Filed by Visual Semiconductor, Inc. Represented by LESLIE
                       BETH BASKIN (Counsel). . Hearing scheduled 6/18/2024 at 11:30 AM
06/13/2024             at Philadelphia Telephone Hearing. (R., Donna) (Entered: 06/13/2024)

                 660   Amended Motion (related document(s): Motion to Withdraw as Attorney
                       filed by Debtor In Possession Visual Semiconductor, Inc., Motion to
                       Expedite Hearing (related documents Motion to Withdraw as Attorney)
                       filed by Debtor In Possession Visual Semiconductor, Inc., Motion to
                       Withdraw as Attorney) Attaching Affidavits of Maneen and Rajan Filed
                       by Visual Semiconductor, Inc. Represented by LESLIE BETH BASKIN
                       (Counsel) (related document(s)658, 657). (Attachments: # 1 Exhibit N.
                       Maneen and M. Rajan Affidavits # 2 Service List) (BASKIN, LESLIE)
06/13/2024             (Entered: 06/13/2024)

06/13/2024       661


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                       Objection to Application to Employ filed by Trustee WILLIAM A.
                       HOMONY Filed by United States Trustee (related document(s)624).
                       (Attachments: # 1 Service List) (CALLAHAN, KEVIN) (Entered:
                       06/13/2024)

                 662   Document in re: Service Requirements Concerning the Motion of SGRV
                       Allowing it to Withdrawal s Counsel for Visual Semiconductor, Inc.
                       Pursuant to Court's Order dated June 13, 2024 Filed by LESLIE BETH
                       BASKIN on behalf of Visual Semiconductor, Inc. (related
                       document(s)658, 657). (Attachments: # 1 Service List Certificate of
06/13/2024             Service) (BASKIN, LESLIE) (Entered: 06/13/2024)

                 663   Limited Objection to Motion to Withdraw as Attorney filed by Debtor In
                       Possession Visual Semiconductor, Inc., Motion to Expedite Hearing filed
                       by Debtor In Possession Visual Semiconductor, Inc., Motion to Withdraw
                       as Attorney Filed by Hawk Investment Holdings Ltd. (related
06/14/2024             document(s)658, 657). (Caponi, Steven) (Entered: 06/14/2024)

                 664   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 659)). No. of Notices: 1. Notice Date 06/15/2024.
06/15/2024             (Admin.) (Entered: 06/16/2024)

                 665   Hearing Continued on 646 Motion for Turnover of Property Filed by
                       WILLIAM A. HOMONY. Hearing scheduled 08/12/2024 at 10:00 AM at
06/17/2024             Philadelphia Video Hearing. (B., Pamela) (Entered: 06/17/2024)

                 669   Hearing Set 661 Objection to Application to Employ filed by Trustee
                       WILLIAM A. HOMONY Filed by United States Trustee (related
                       document(s)624). (Attachments: # 1 Service List) filed by U.S. Trustee
                       United States Trustee. Hearing scheduled 6/18/2024 at 11:30 AM at
06/17/2024             Philadelphia Telephone Hearing. (B., Pamela) (Entered: 06/17/2024)

                 670   Transcript regarding hearing held on 6/05/2024. Transcribed by
                       TheRecordXchange. 96 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [To
                       request a copy of a restricted transcript, please contact the transcriber
                       TheRecordXchange at 800−406−1290]. Notice of Intent to Request
                       Redaction Deadline Due By 6/24/2024. Redaction Request Due By
                       7/8/2024. Redacted Transcript Submission Due By 7/18/2024. Transcript
                       access will be restricted through 9/16/2024. (Barbetta, John) (Entered:
06/17/2024             06/17/2024)

                 671   Proposed Order Re: Denying Objection of Rembrandt 3D Holding Ltd. to
                       Proofs of Claim Nos. 6, 9, and 14 Filed by MICHAEL D. VAGNONI on
                       behalf of WILLIAM A. HOMONY (related document(s)628).
06/17/2024             (VAGNONI, MICHAEL) (Entered: 06/17/2024)

                 672   Notice of Appearance and Request for Notice Notice of Appearance and
                       Demand for Service of Papers by Donald N. David Filed by Donald N.
                       David on behalf of Visual Semiconductor, Inc.. (David, Donald) (Entered:
06/18/2024             06/18/2024)

                 673   Hearing Held on 657 Motion to Withdraw as Attorney Filed by Visual
06/18/2024             Semiconductor, Inc.. Order entered. (B., Pamela) (Entered: 06/18/2024)

                 674   Hearing Held on 661 Objection Filed by United States Trustee. Order to
06/18/2024             be submitted. (B., Pamela) (Entered: 06/18/2024)



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                 675   Hearing Held on 633 Objection Filed by Visual Semiconductor, Inc..
06/18/2024             Objection withdrawn. (B., Pamela) (Entered: 06/18/2024)

                 676   Hearing Held on 635 Objection Filed by Rembrandt 3D Holding Ltd..
06/18/2024             Objection overruled. (B., Pamela) (Entered: 06/18/2024)

                 677   Motion to Appear pro hac vice on behalf of Randall Adam Swick Filed by
                       Visual Semiconductor, Inc. Represented by Donald N. David (Counsel).
                       (Attachments: # 1 Proposed Order Proposed Order) (David, Donald)
06/18/2024             (Entered: 06/18/2024)

                 678   Objection to Motion for Turnover of Property filed by Trustee WILLIAM
                       A. HOMONY Filed by Visual Semiconductor, Inc. (related
                       document(s)646). (Attachments: # 1 Declaration of Mathu Rajan # 2
                       Exhibit A # 3 Exhibit B # 4 Exhibit C # 5 Exhibit D # 6 Exhibit E # 7
                       Exhibit F # 8 Exhibit G # 9 Exhibit H # 10 Exhibit I # 11 Exhibit J # 12
06/18/2024             Exhibit K # 13 Exhibit L) (David, Donald) (Entered: 06/18/2024)

                 679   Order Denying Rembrandt 3D Holding LTD.'s Objection to Proofs of
                       Claims #:6 filed by Hawk Investment Holdings LTD as Collateral Agent,
                       ,9 Filed by SLS Holdings VI, LLC, and No. 14 filed by SeeCubic,
                       Inc.(related document(s)628). The Objection is Denied as moot. (K.,
06/20/2024             Marie) (Entered: 06/20/2024)

                 680   *Docket in error**Please see Order#679** Reclassify Claim(s) No.
                       6,9,14. Proof of Claim Status changed to: Disallow. (related
                       document(s)679). (K., Marie) Modified on 6/20/2024 (K., Marie).
06/20/2024             (Entered: 06/20/2024)

                 681   *Docket in error**Please see Order#679** at doc.#Reclassify Claim(s)
                       No. 6. Proof of Claim Status changed to: Disallow. Filed by Hawk
                       Investment Holdings Ltd. (related document(s)679). (K., Marie) *This
                       entry was Modified on 6/20/2024−See Corrective Entry Entered
06/20/2024             6−20−2024* (K., Marie). (Entered: 06/20/2024)

                 682   Order Granting Motion of Spector Gadon Rosen Vinci P.C. to withdrawal
                       as counsel of record to Visual Semiconductor Inc.. Effective as of June
06/20/2024             11, 2024. (Related Doc # 660) (K., Marie) (Entered: 06/20/2024)

                       Receipt Number APAEDC−17548305, Fee Amount $75.00 re: Pro Hac
                       Vice Motion filed for Attorney Randall Adam Swick sponsored by
                       Donald David. (related document(s)677). (K., Marie) (Entered:
06/20/2024             06/20/2024)

                       Corrective Entry re: Doc.#681 Reclassify Claim(s) No. 6. Proof of Claim
                       Status changed to: Disallow. Filed by Hawk Investment Holdings Ltd.
                       **This was Docketed in Error and should be Disregarded. Please See
                       Order that is correct at doc.#679. (related document(s) 681 ). (K., Marie)
06/20/2024             (Entered: 06/20/2024)

                 683   Proposed Order re Dkt. 677 Filed by Donald N. David on behalf of Visual
                       Semiconductor, Inc.. (David, Donald*) Modified on 6/20/2024 to remove
06/20/2024             the wording "Brief" to reflect PDF* (K., Marie). (Entered: 06/20/2024)

                 684   Motion to Appear pro hac vice on behalf of John H. Thompson Filed by
                       Visual Semiconductor, Inc. Represented by Donald N. David (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Proposed Order) (David, Donald)
06/20/2024             (Entered: 06/20/2024)


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                 685   Notice of Appeal to District Court. . Fee Amount $298.00 Filed by
                       Rembrandt 3D Holding Ltd. (related document(s)653). Appellant
                       Designation due by 07/5/2024. Transmission of record on appeal to
                       District Court Due Date:07/18/2024. (Attachments: # 1 Exhibit Order
                       Granting a Motion to Approve Compromise under Rule
06/20/2024             9019)(DEMARCO, ANDREW) (Entered: 06/20/2024)

                       Receipt of Notice of Appeal( 23−10763−amc) [appeal,ntcapl] ( 298.00)
                       Filing Fee. Receipt number AXXXXXXXX. Fee Amount $ 298.00. (re: Doc#
06/20/2024             685) (U.S. Treasury) (Entered: 06/20/2024)

                 686   Motion to Reconsider (related documents Order on Motion to Approve
                       Compromise under Rule 9019) Filed by Visual Semiconductor, Inc.
                       Represented by Donald N. David (Counsel) (related document(s)653).
                       (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C) (David, Donald)
06/20/2024             (Entered: 06/20/2024)

                       Receipt Number APAEDC−17551763, Fee Amount $75.00 (related
06/21/2024             document(s)684). (R., Donna) (Entered: 06/21/2024)

                 687   Courts Certificate of Service Re: Notice of Appeal filed by Creditor
                       Rembrandt 3D Holding Ltd.. The following Party(s) have been notified:
                       Case Judge − via email Case Trustee − via CM/ECF Debtor − via Regular
                       mail through the BNC Debtors Counsel − via CM/ECF Office of the U.S.
                       Trustee − via CM/ECF U.S. District Court − via email Attorney Sean M.
                       Brennecke Counsel for Debtors Stream TV Networks Inc. and
                       Technovative Media Inc; Attorney Scott D. Cousins Counsel for Debtors;
                       Attorney Bennett G. Fisher Counsel for Debtors; Attorney Michael D.
                       Vagnoni Counsel for Debtors; Attorney Rafael X. Zahralddin Counsel for
                       Debtors; Attorney Donald N. David Counsel for Creditor Visual
                       Semiconductor Inc.; Attorney R. Adam Swick Counsel for Creditor
                       Visual Semiconductor Inc.; Attorney John H. Thompson Counsel for
                       Creditor Visual Semiconductor Inc.; − via Regular mail through the BNC
06/21/2024             (related document(s)653). (R., Donna) (Entered: 06/21/2024)

                 688   Amended Courts Certificate of Service Re: Notice of Appeal filed by
                       Creditor Rembrandt 3D Holding Ltd.. The following Party(s) have been
                       notified: Case Judge − via email Case Trustee − via CM/ECF Debtor −
                       via Regular mail through the BNC Debtors Counsel − via CM/ECF Office
                       of the U.S. Trustee − via CM/ECF U.S. District Court − via email
                       Attorney Sean M. Brenneck Counsel for Debtors Stream TV Networks,
                       Inc and Technovative Media Inc.; Attorney Scott D. Cousins Counsel for
                       Debtors; Attorney Michael D. Vagnoni Counsel for Debtor; Attorney
                       Donald N. David Counsel for Creditor Visual Semiconductor Inc.; R.
                       Adams Swick Counsel for Creditor Visual Semiconductor Inc. John H.
                       Thompson Counsel for Creditor Semiconductor Inc. − via Regular mail
                       through the BNC (related document(s)685). (R., Donna) Modified on
                       6/21/2024 (R., Donna). Additional attachment(s) added on 6/21/2024 (R.,
06/21/2024             Donna). (Entered: 06/21/2024)

                 689   Transmission of Record on Appeal to District Court (related
06/21/2024             document(s)685). (R., Donna) (Entered: 06/21/2024)

                 690   Notice of Docketing Record on Appeal to District Court. Civil Action
                       No.24cv−2727 Assigned to Judge John M. Gallagher ( 0313224027270)
06/21/2024             (related document(s)685). (R., Donna) (Entered: 06/21/2024)

06/22/2024       691   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 679)). No. of Notices: 2. Notice Date 06/22/2024.


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                       (Admin.) (Entered: 06/23/2024)

                 692   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 682)). No. of Notices: 1. Notice Date 06/22/2024.
06/22/2024             (Admin.) (Entered: 06/23/2024)

                 693   BNC Certificate of Mailing −Court's Certificate of Mailing or Service.
                       Number of Notices Mailed: (related document(s) (Related Doc # 688)).
                       No. of Notices: 1. Notice Date 06/23/2024. (Admin.) (Entered:
06/23/2024             06/24/2024)

                 694   Chapter 11 Monthly Operating Report for the Month Ending: 05/31/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
06/24/2024             06/24/2024)

                 695   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 05/31/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (Attachments: # 1 Attachments)
06/24/2024             (VAGNONI, MICHAEL) (Entered: 06/24/2024)

                 696   Order granting 677 Motion for RANDALL ADAM SWICK to appear Pro
                       Hac Vice on behalf of Visual Semiconductor, Inc. (Barbetta, John)
06/24/2024             (Entered: 06/24/2024)

                 697   Order granting 684 Motion for JOHN H. THOMPSON to appear Pro Hac
                       Vice on behalf of Visual Semiconductor, Inc. (Barbetta, John) (Entered:
06/24/2024             06/24/2024)

                 698   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 696)). No. of Notices: 24. Notice Date 06/26/2024.
06/26/2024             (Admin.) (Entered: 06/27/2024)

                 699   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 697)). No. of Notices: 24. Notice Date 06/26/2024.
06/26/2024             (Admin.) (Entered: 06/27/2024)

                 700   Objection to Motion to Reconsider filed by Creditor Visual
                       Semiconductor, Inc. Filed by WILLIAM A. HOMONY (related
                       document(s)686). (Attachments: # 1 Proposed Order # 2 Service List)
07/05/2024             (VAGNONI, MICHAEL) (Entered: 07/05/2024)

                 701   Bond Rider bond $1,207,500.00 Filed by United States Trustee. (WARD,
07/10/2024             HUGH) (Entered: 07/10/2024)

                 702   Notice of (related document(s): 686 Motion to Reconsider (related
                       documents Order on Motion to Approve Compromise under Rule 9019) )
                       Filed by Visual Semiconductor, Inc.. Hearing scheduled 8/14/2024 at
07/10/2024             11:00 AM at Courtroom #4. (SWICK, RANDALL) (Entered: 07/10/2024)

                 703   Certificate of Service Filed by RANDALL ADAM SWICK on behalf of
                       Visual Semiconductor, Inc. (related document(s)702). (SWICK,
07/10/2024             RANDALL) (Entered: 07/10/2024)

                 704   Transmission of Record on Appeal to District Court (related
07/19/2024             document(s)685). (R., Donna) (Entered: 07/19/2024)



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                 705   Appellee Designation of Contents for Inclusion in Record of Appeal Filed
                       by WILLIAM A. HOMONY (related document(s)685). (VAGNONI,
07/19/2024             MICHAEL) (Entered: 07/19/2024)

                 706   District Court Receipt of Record on Appeal Civil Action No.
07/19/2024             24−cv−2727(related document(s)685). (R., Donna) (Entered: 07/22/2024)

                 707   Electronic Transmission of Supplemental Designation of Record on
                       Appeal to District Court (related document(s)705). (R., Donna) (Entered:
07/22/2024             07/22/2024)

                 708   Chapter 11 Monthly Operating Report for the Month Ending: 06/30/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
07/22/2024             07/22/2024)

                 709   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 06/30/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (Attachments: # 1 Attachments)
07/22/2024             (VAGNONI, MICHAEL) (Entered: 07/22/2024)

                 710   District Court Receipt of Appellee's Designation of Contents for Inclusion
                       in Record of Appeal . Civil # 24−2727.(related document(s)705, 707).
07/24/2024             (K., Marie) (Entered: 07/24/2024)

                 711   Praecipe to Withdraw Application of the Chapter 11 Trustee to Employ
                       Capstone Capital Markets LLC as Investment Banker Filed by MICHAEL
                       D. VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)624). (Attachments: # 1 Certificate of Service) (VAGNONI,
07/26/2024             MICHAEL) (Entered: 07/26/2024)

                 712   Notice to Take Deposition of: William A. Homony as the Chapter 11
                       Trustee Subpoena Duces Tecum Filed by Visual Semiconductor, Inc..
07/26/2024             (SWICK, RANDALL) (Entered: 07/26/2024)

                 713   Hearing Continued on 646 Motion for Turnover of Property Filed by
                       WILLIAM A. HOMONY. Hearing scheduled 10/04/2024 at 10:00 AM at
08/07/2024             Philadelphia Video Hearing. (B., Pamela) (Entered: 08/07/2024)

                 714   Hearing Continued on 686 Motion to Reconsider Filed by Visual
                       Semiconductor, Inc.. Hearing scheduled 10/04/2024 at 10:00 AM at
08/07/2024             Philadelphia Video Hearing. (B., Pamela) (Entered: 08/07/2024)

                 715   Application to Employ SSG Advisors, LLC as Investment Banker to the
                       Chapter 11 Trustee Filed by WILLIAM A. HOMONY Represented by
                       MICHAEL D. VAGNONI (Counsel). (Attachments: # 1 Exhibit A,
                       Engagement Agreement # 2 Declaration of J. Scott Victor # 3 Proposed
                       Order # 4 Certificate of Service) (VAGNONI, MICHAEL) (Entered:
08/14/2024             08/14/2024)

                 716   Notice of (related document(s): 715 Application to Employ SSG
                       Advisors, LLC as Investment Banker to the Chapter 11 Trustee) Filed by
                       WILLIAM A. HOMONY. (VAGNONI, MICHAEL) (Entered:
08/14/2024             08/14/2024)

08/21/2024       717   Limited Objection to Application to Employ filed by Trustee WILLIAM
                       A. HOMONY Filed by Visual Semiconductor, Inc. (related
                       document(s)715). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit


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                       C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G) (SWICK,
                       RANDALL) (Entered: 08/21/2024)

                 718   Amended Notice to Take Deposition of: WILLIAM A. HOMONY AS
                       THE CHAPTER 11 TRUSTEE Filed by Visual Semiconductor, Inc..
08/24/2024             (SWICK, RANDALL) (Entered: 08/24/2024)

                 719   Notice of Appearance and Request for Notice by JEFFREY KURTZMAN
                       Filed by JEFFREY KURTZMAN on behalf of SSG Advisors, LLC.
08/27/2024             (KURTZMAN, JEFFREY) (Entered: 08/27/2024)

                 720   Chapter 11 Monthly Operating Report for the Month Ending: 07/31/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
08/27/2024             08/27/2024)

                 721   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 07/31/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (Attachments: # 1 Attachments)
08/27/2024             (VAGNONI, MICHAEL) (Entered: 08/27/2024)

                 722   Application for Compensation / Local Rule 2016−5 Sixth Request for
                       Payment on Account for Compensation and Reimbursement of Expenses
                       of Lewis Brisbois Bisgaard & Smith LLP, Counsel for the Debtors, for the
                       Periods December 1, 2023 through December 31, 2023 and January 1,
                       2024 through January 15, 2024 for Lewis Brisbois Bisgaard & Smith
                       LLP, Debtor's Attorney, Period: 12/1/2023 to 1/15/2024, Fee:
                       $457,400.00, Expenses: $9,376.77. Filed by RAFAEL X. ZAHRALDDIN
                       Represented by Self(Counsel). (Attachments: # 1 Exhibit A # 2 Exhibit B)
                       (ZAHRALDDIN, RAFAEL) Modified on 11/15/2024 to reopen (W.,
08/28/2024             Belinda). (Entered: 08/28/2024)

                 723   Final Application for Compensation for Lewis Brisbois Bisgaard & Smith
                       LLP, Debtor's Attorney, Period: 3/15/2023 to 1/15/2024, Fee:
                       $2,928,159.00, Expenses: $49,799.10. Filed by RAFAEL X.
                       ZAHRALDDIN Represented by Self(Counsel). (Attachments: # 1 Exhibit
                       A) (ZAHRALDDIN, RAFAEL) Modified on 11/15/2024 to reopen (W.,
08/28/2024             Belinda). (Entered: 08/28/2024)

                 724   Expedited Motion to Quash and for Protective Order Filed by WILLIAM
                       A. HOMONY Represented by ANDREW J. BELLI, STEVEN M.
                       COREN, MICHAEL D. VAGNONI (Counsel). (Attachments: # 1
                       Proposed Order for Expedited Consideration # 2 Proposed Order)
                       (VAGNONI, MICHAEL) Additional attachment(s) added on 10/25/2024
08/29/2024             (S., Antoinette). (Entered: 08/29/2024)

                 725   Expedited Motion to Withdraw Motion for Entry of an Automatic Stay
                       (D.I. #646) Order Enforcing the Filed by WILLIAM A. HOMONY
                       Represented by ANDREW J. BELLI, STEVEN M. COREN, MICHAEL
                       D. VAGNONI (Counsel). (Attachments: # 1 Exhibit A # 2 Proposed
                       Order for Expedited Consideration # 3 Proposed Order) (VAGNONI,
08/29/2024             MICHAEL) (Entered: 08/29/2024)

                 726   Order Granting re:724 Expedited Motion to Quash and for Protective
                       Order, 725 Granting Expedited Motion to Withdraw Motion for Entry of
                       an Automatic Stay (D.I. #646) Order Enforcing the Hearing scheduled
                       9/18/2024 at 11:00 AM at Courtroom #4. (R., Donna) (Entered:
08/30/2024             08/30/2024)



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                 727   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 726)). No. of Notices: 1. Notice Date 09/01/2024.
09/01/2024             (Admin.) (Entered: 09/02/2024)

                 728   Objection to Motion to Quash filed by Trustee WILLIAM A. HOMONY,
                       Generic Motion filed by Trustee WILLIAM A. HOMONY and Motion to
                       Compel Filed by Visual Semiconductor, Inc. (related document(s)724,
                       725). (Attachments: # 1 Exhibit A − Declaration of Mark Walpole # 2
                       Exhibit B − Declaration of John H Thompson) (SWICK, RANDALL)
09/04/2024             (Entered: 09/04/2024)

                 729   Motion to Appear pro hac vice on behalf of Leif M. Clark Filed by Visual
                       Semiconductor, Inc. Represented by Donald N. David (Counsel).
                       (Attachments: # 1 Proposed Order) (David, Donald) (Entered:
09/04/2024             09/04/2024)

                       Receipt Number APAEDC−17719393, Fee Amount $75.00 (related
09/05/2024             document(s)729). (R., Donna) (Entered: 09/05/2024)

                 730   Motion to Appear pro hac vice on behalf of Mark S Lichtenstein Filed by
                       Visual Semiconductor, Inc. Represented by Donald N. David (Counsel).
                       (Attachments: # 1 Proposed Order) (David, Donald) (Entered:
09/05/2024             09/05/2024)

                       Receipt Number APAEDC−17722016, Fee Amount $75.00 (related
09/05/2024             document(s)730). (R., Donna) (Entered: 09/05/2024)

                 731   Order Granting Motion To Appear pro hac vice of Leif M. Clark (Related
09/06/2024             Doc # 729) (R., Donna) (Entered: 09/06/2024)

                 732   Amended Application to Employ SSG Advisors, LLC as Investment
                       Banker Filed by WILLIAM A. HOMONY Represented by MICHAEL D.
                       VAGNONI (Counsel). (Attachments: # 1 Exhibit A # 2 Declaration of J.
                       Victor # 3 Proposed Order # 4 Certificate of Service) (VAGNONI,
09/06/2024             MICHAEL) (Entered: 09/06/2024)

                 733   Notice of (related document(s): 732 Amended Application to Employ
                       SSG Advisors, LLC as Investment Banker ) Filed by WILLIAM A.
09/06/2024             HOMONY. (VAGNONI, MICHAEL) (Entered: 09/06/2024)

                 734   Order Granting Motion To Appear pro hac vice for Mark S. Lichtenstein
09/10/2024             (Related Doc # 730) (R., Donna) (Entered: 09/10/2024)

                 735   Motion to Expedite Hearing (related documents Objection) Motion to
                       Compel Filed by Visual Semiconductor, Inc. Represented by RANDALL
                       ADAM SWICK (Counsel) (related document(s)728). (Attachments: # 1
                       Exhibit A − Proposed Order) (SWICK, RANDALL) (Entered:
09/12/2024             09/12/2024)

                 736   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 734)). No. of Notices: 1. Notice Date 09/12/2024.
09/12/2024             (Admin.) (Entered: 09/13/2024)

                 737   Hearing Continued on 725 Generic Motion Filed by WILLIAM A.
                       HOMONY. Hearing scheduled 10/02/2024 at 11:00 AM at Courtroom #4.
09/17/2024             (B., Pamela) (Entered: 09/17/2024)

09/17/2024       738

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                       Hearing Continued on 724 Motion to Quash Filed by WILLIAM A.
                       HOMONY. Hearing scheduled 10/02/2024 at 11:00 AM at Courtroom #4.
                       (B., Pamela) (Entered: 09/17/2024)

                 739   Motion to Dismiss/Withdraw Document (related document(s): Objection)
                       Notice of Withdrawal Filed by Visual Semiconductor, Inc. Represented by
                       RANDALL ADAM SWICK (Counsel) (related document(s)717).
09/18/2024             (SWICK, RANDALL) (Entered: 09/18/2024)

                 740   Certificate of No Response to Amended Application to Employ SSG
                       Advisors, LLC Filed by MICHAEL D. VAGNONI on behalf of
                       WILLIAM A. HOMONY (related document(s)732). (Attachments: # 1
                       Exhibit A − Proposed Order) (VAGNONI, MICHAEL) (Entered:
09/18/2024             09/18/2024)

                 741   Order Granting Application to Employ SSG Advisors,LLC (Related Doc
09/20/2024             # 732) (R., Donna) (Entered: 09/20/2024)

                 742   Proposed Consent Order RE: and Stipulation to Extend Time to Respond
                       to Applications for Compensation Filed by MICHAEL D. VAGNONI on
                       behalf of WILLIAM A. HOMONY (related document(s)723, 722).
                       (Attachments: # 1 Proposed Consent Order) (VAGNONI, MICHAEL)
09/20/2024             (Entered: 09/20/2024)

                 743   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 741)). No. of Notices: 2. Notice Date 09/22/2024.
09/22/2024             (Admin.) (Entered: 09/23/2024)

                 744   Chapter 11 Monthly Operating Report for the Month Ending: 08/31/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
09/25/2024             09/25/2024)

                 745   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 08/31/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (Attachments: # 1 Attachments)
09/25/2024             (VAGNONI, MICHAEL) (Entered: 09/25/2024)

                 746   Hearing Continued on 725 Generic Motion Filed by WILLIAM A.
                       HOMONY. Hearing scheduled 11/07/2024 at 10:00 AM at Zoom. (B.,
09/25/2024             Pamela) (Entered: 09/25/2024)

                 747   Hearing Continued on 724 Motion to Quash Filed by WILLIAM A.
                       HOMONY. Hearing scheduled 11/07/2024 at 10:00 AM at Zoom. (B.,
09/25/2024             Pamela) (Entered: 09/25/2024)

                 748   Hearing Continued on 646 Motion for Turnover of Property Filed by
                       WILLIAM A. HOMONY. Hearing scheduled 11/07/2024 at 10:00 AM at
09/25/2024             Zoom. (B., Pamela) (Entered: 09/25/2024)

                 749   Hearing Continued on 686 Motion to Reconsider Filed by Visual
                       Semiconductor, Inc.. Hearing scheduled 11/07/2024 at 10:00 AM at
09/25/2024             Zoom. (B., Pamela) (Entered: 09/25/2024)

09/30/2024       750   Expedited Motion to Approve (i) the proposed bidding procedures for
                       soliciting bids for the Debtors Assets, (ii) the form of Asset Purchase
                       Agreement, (iii) establishing notice procedures, (iv) approving procedures
                       for the assumption and assignment of certain executory contracts and


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                       unexpired leases, (v) scheduling a hearing to approve the Sale, (vi)
                       granting Expedited Consideration, and (vii) granting related relief; and (i)
                       authorizing and approving the sale of the Assets, (ii) and the assumption
                       and assignment of certain executory contracts and unexpired leases, and
                       (iii) granting related relief Filed by WILLIAM A. HOMONY Represented
                       by MICHAEL D. VAGNONI (Counsel). (Attachments: # 1 Exhibit A,
                       Bidding Procedures Order # 2 Exhibit B, Asset Purchase Agreement # 3
                       Exhibit C, Sale Order # 4 Exhibit D, Sale Notice # 5 Exhibit E, Contract
                       Assumption Notice # 6 Proposed Order Expediting Consideration)
                       (VAGNONI, MICHAEL) (Entered: 09/30/2024)

                 751   Certificate of Service Filed by BMC Group Inc. (related document(s)750).
10/01/2024             (Ordaz, Steven) (Entered: 10/01/2024)

                 752   Objection to Motion to Approve filed by Trustee WILLIAM A.
                       HOMONY (I) an Order (A) Approving Bidding Procedures and Form
                       Asset Purchase Agreement for the Sale of Substantially all of the Debtors
                       Assets Including Approval of the Provisions for Designation of a Stalking
                       Horse, (B) Establishing the Notice Procedures and Approving the Form
                       and Manner of Notice Thereof and scheduling and Auction, (C)
                       Approving Procedures for Assumption and Assignment of Certain
                       Executory Contracts and Unexpired Leases (D) Scheduling a Sale
                       Hearing, and (E) Granting Expedited Consideration Pursuant to Local
                       Rule of Bankruptcy Procedure 5070−1(g); and (F) Granting Related
                       Relief and (II) an Order Approving (A) the Sale of the Debtors Assets
                       Free and Clear of All Liens, Claims, Encumbrances, and Other Interests,
                       (B) Approving the Assumption and Assignment of Certain Executory
                       Contracts and Unexpired Leases Related Thereto and (C) Granting
                       Related Relief Filed by Visual Semiconductor, Inc. (related
10/01/2024             document(s)750). (SWICK, RANDALL) (Entered: 10/01/2024)

                 753   Consent Order Re: Sixth Request for Payment on Account for
                       Compensation and Reimbursement of Expenses of Lewis Brisbois
                       Bisgaard & Smith LLP, for the periods December 1, 2023 through
                       December 31, 2023 and January 1m, 2024 through January 15 2024 and
                       or the Final Application of Lewis Brisbois Bisgaard & Smith LLP for
                       Allowance and Payment of Compensation and Reimbursement of
                       Expenses for period from March 15, 2023 through January 15, 2024 The
                       time within which the Trustee may file a response is extended to on or
                       before October 28, 2024.(related document(s)723, 722). (K., Marie)
10/02/2024             (Entered: 10/02/2024)

                 754   Ordered that the motion for expedited consideration of the Bid Procedures
                       Motion pursuant to Rule 5070−1(g) of the Local Bankruptcy Rule and on
                       October 1, 2024 Visual Semiconductor, Inc. filed an objection to the
                       expedited consideration request, AND upon consideration of the
                       Expedited Consideration Request and the VSI Objection thereto. It is
                       Hereby ORDERED that the Expedited Consideration is DENIED. The
                       Court shall hold a hearing (the Bid Procedures Hearing) on the Bid
                       Procedures Motion on November 13, 2024 at 11:00 a.m. (ET). 3.
                       Objections, if any, to the Bid Procedures Motion shall be filed on or
                       before November 6, 2024(Related Doc 750) (K., Marie) ** This entry was
                       Modified on 10/2/2024− See Corrective Entry Entered 10−2−2024** (K.,
10/02/2024             Marie). (Entered: 10/02/2024)

10/02/2024             Corrective Entry re: Order Denying Expedited Consideration Request of
                       the Bid Procedures & scheduling hearing . This entry was modified to
                       include "the Court shall hold a hearing on the Bid Procedures Motion on
                       November 13, 2024 at 11:00am.m and Objections,in any, to the Bid
                       Procedures Motion shall be filed on or before November 6, 2024"


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                       reflecting the Order/PDF. (related document(s)754). (K., Marie) (Entered:
                       10/02/2024)

                 755   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 753)). No. of Notices: 1. Notice Date 10/04/2024.
10/04/2024             (Admin.) (Entered: 10/05/2024)

                 756   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 754)). No. of Notices: 1. Notice Date 10/04/2024.
10/04/2024             (Admin.) (Entered: 10/05/2024)

                 757   Amended Schedule E/F: Creditors Who Have Unsecured Claims Fee
                       Amount $34 Filed by MICHAEL D. VAGNONI on behalf of
                       Technovative Media, Inc.. (VAGNONI, MICHAEL) (Entered:
10/10/2024             10/10/2024)

                 758   Declaration Under Penalty of Perjury for Non−individual Debtors re
                       Amended Schedule E/F of Technovative Media, Inc. Filed by MICHAEL
                       D. VAGNONI on behalf of WILLIAM A. HOMONY. (VAGNONI,
10/10/2024             MICHAEL) (Entered: 10/10/2024)

                 759   Document in re: Notice of Amendment to Scheduled General Unsecured
                       Claim of Rembrandt 3D Holding Ltd. Filed by MICHAEL D. VAGNONI
                       on behalf of WILLIAM A. HOMONY (related document(s)757).
                       (Attachments: # 1 Certificate of Service) (VAGNONI, MICHAEL)
10/10/2024             (Entered: 10/10/2024)

                       Receipt of Schedule E/F − (for first filing and amendments)(
                       23−10763−amc) [misc,schef] ( 34.00) Filing Fee. Receipt number
                       AXXXXXXXX. Fee Amount $ 34.00. (re: Doc# 757) (U.S. Treasury)
10/10/2024             (Entered: 10/10/2024)

                 760   Certificate of Service Filed by BMC Group Inc. (related document(s)754).
10/10/2024             (Ordaz, Steven) (Entered: 10/10/2024)

                 761   Second Notice to Take Deposition of: William A. Homony, as Chapter 11
                       Trustee Filed by Visual Semiconductor, Inc.. (SWICK, RANDALL)
10/11/2024             (Entered: 10/11/2024)

                 762   Notice to Take Deposition of: designated representative of Hawk
                       Investment Holdings Ltd. Filed by Visual Semiconductor, Inc.. (SWICK,
10/11/2024             RANDALL) (Entered: 10/11/2024)

                 763   Notice to Take Deposition of: Arthur Leonard Robert Morton Filed by
10/11/2024             Visual Semiconductor, Inc.. (SWICK, RANDALL) (Entered: 10/11/2024)

                 764   Notice to Take Deposition of: Alastair Crawford Filed by Visual
10/11/2024             Semiconductor, Inc.. (SWICK, RANDALL) (Entered: 10/11/2024)

                 765   Notice to Take Deposition of: Kevin Gollop Filed by Visual
10/11/2024             Semiconductor, Inc.. (SWICK, RANDALL) (Entered: 10/11/2024)

                 766   Document in re: Certificate of Conference as to Subpoena and Scheduling
                       of Deposition for Hawk Investment Holdings Ltd. Filed by RANDALL
                       ADAM SWICK on behalf of Visual Semiconductor, Inc. (related
10/11/2024             document(s)762). (SWICK, RANDALL) (Entered: 10/11/2024)



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                 767   Hearing rescheduled on 725 Generic Motion Filed by WILLIAM A.
                       HOMONY. Hearing scheduled 10/30/2024 at 11:00 AM at Courtroom #4.
10/17/2024             (B., Pamela) (Entered: 10/17/2024)

                 768   Hearing rescheduled re: 724 Motion to Quash Filed by WILLIAM A.
                       HOMONY. Hearing scheduled 10/30/2024 at 11:00 AM at Courtroom #4.
10/17/2024             (B., Pamela) (Entered: 10/17/2024)

                 769   Chapter 11 Monthly Operating Report for the Month Ending: 09/30/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
10/21/2024             10/21/2024)

                 770   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 09/30/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (Attachments: # 1 Attachments)
10/21/2024             (VAGNONI, MICHAEL) (Entered: 10/21/2024)

                 771   Praecipe to Attach Second Notice of Oral Deposition Subpoena Duces
                       Tecum of William A. Homony as the Chapter 11 Trustee to Motion to
                       Quash and Motion to Compel Filed by MICHAEL D. VAGNONI on
                       behalf of WILLIAM A. HOMONY. (Attachments: # 1 Certificate of
10/25/2024             Service) (VAGNONI, MICHAEL) (Entered: 10/25/2024)

                 772   Proposed Consent Order RE: and Stipulation to Extend Time to Respond
                       to Applications for Compensation Filed by MICHAEL D. VAGNONI on
                       behalf of WILLIAM A. HOMONY (related document(s)753, 723, 722).
                       (Attachments: # 1 Proposed Consent Order) (VAGNONI, MICHAEL)
10/28/2024             (Entered: 10/28/2024)

                 773   Stipulation By Stream TV Networks, Inc. and Between United States
                       Trustee Regarding the Final Fee Application of Lewis Brisbois Bisgaard
                       & Smith LLP. Filed by RAFAEL X. ZAHRALDDIN on behalf of Stream
                       TV Networks, Inc. (related document(s)723). (Attachments: # 1 Proposed
10/28/2024             Order) (ZAHRALDDIN, RAFAEL) (Entered: 10/28/2024)

                 774   Hearing Held on 725 Generic Motion Filed by WILLIAM A. HOMONY.
10/30/2024             Order entered. (B., Pamela) (Entered: 10/30/2024)

                 775   Hearing Held on 724 Motion to Quash Filed by WILLIAM A.
10/30/2024             HOMONY. Order entered. (B., Pamela) (Entered: 10/30/2024)

                 776   Order Granting Motion to Withdrawal Within three business days of the
                       entry of this Order , the Trustee shall file a praecipe withdrawing the Stay
                       Enforcement Motion on the docket in the above captioned case. (Related
10/30/2024             Doc # 725) (R., Donna) (Entered: 10/30/2024)

                 777   Order Granting Motion To Quash as provided herein and (Related Doc #
                       724), Order Denying Motion to Compel (Related Doc # 735) (R., Donna)
10/30/2024             (Entered: 10/30/2024)

                 778   Order Granting Consent Order (Related document(s) 772 filed by Trustee
                       WILLIAM A. HOMONY. Modified on 10/31/2024 (R., Donna).
10/31/2024             (Entered: 10/31/2024)

10/31/2024       779   Order GrantingStipulation By Stream TV Networks, Inc. and Between
                       United States Trustee Regarding the Final Fee Application of Lewis
                       Brisbois Bisgaard & Smith LLP. (related document(s)773). (R., Donna)


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                       (Entered: 10/31/2024)

                 780   Consent Order upon consideration of the stipulation of the parties through
                       counsel, the time within which the Trustee may file a response to the
                       Local Rule 2016−5 Sixth Request for Payment on Account for
                       Compensation and Reimbursement of Expenses of Lewis Brisbois
                       Bisgaard & Smith LLP, for the periods December 1, 2023 through
                       December 31, 2023 and January 1, 2024 through January 15, 2024 and/or
                       the Final Application of Lewis Brisbois Bisgaard & Smith, LLP for
                       Allowance and Payment of Compensation for the Period from March 15,
                       2023 through January 15, 2024 is extended on or before November 4,
                       2024. (related document(s)723, 722,772). (K., Marie) (Entered:
10/31/2024             10/31/2024)

                 781   Praecipe to Withdraw Motion for Entry of an Order Enforcing the
                       Automatic Stay and Compelling Turnover of Estate Property Filed by
                       MICHAEL D. VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)646). (Attachments: # 1 Certificate of Service) (VAGNONI,
10/31/2024             MICHAEL) (Entered: 10/31/2024)

                 782   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 776)). No. of Notices: 1. Notice Date 11/01/2024.
11/01/2024             (Admin.) (Entered: 11/02/2024)

                 783   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 777)). No. of Notices: 1. Notice Date 11/01/2024.
11/01/2024             (Admin.) (Entered: 11/02/2024)

                 784   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 780)). No. of Notices: 1. Notice Date 11/02/2024.
11/02/2024             (Admin.) (Entered: 11/03/2024)

                 785   Motion to Further Extend time to Respond to the Final Fee Application of
                       Lewis Brisbois Bisgaard & Smith LLP Filed by WILLIAM A. HOMONY
                       Represented by STEVEN M. COREN (Counsel). (Attachments: # 1
                       Proposed Order # 2 Certificate of Service) (COREN, STEVEN) (Entered:
11/04/2024             11/04/2024)

                 786   Transcript regarding hearing held on 10/30/2024. Transcribed by
                       TheRecordXchange. 11 total pages including Certification of Transcriber.
                       The transcript may be viewed at the Bankruptcy Court Clerk's Office. [To
                       request a copy of a restricted transcript, please contact the transcriber
                       TheRecordXchange at 800−406−1290]. Notice of Intent to Request
                       Redaction Deadline Due By 11/12/2024. Redaction Request Due By
                       11/26/2024. Redacted Transcript Submission Due By 12/6/2024.
                       Transcript access will be restricted through 2/3/2025. (Barbetta, John)
11/05/2024             (Entered: 11/05/2024)

                 787   Proposed Consent Order RE: and Stipulation to Extend Time to Respond
                       to Applications for Compensation Filed by MICHAEL D. VAGNONI on
                       behalf of WILLIAM A. HOMONY (related document(s)753, 723, 722,
                       780). (Attachments: # 1 Proposed Consent Order) (VAGNONI,
11/05/2024             MICHAEL) (Entered: 11/05/2024)

11/06/2024       788   Objection to Order on Motion to Approve Objection to Motion of William
                       A Homony in His Capacity as Ch 11 Trustee for (I) Order (A) Approving
                       Bidding Procedures and Form of Asset Purchase Agreement for the Sale
                       of Substantially All of the Debtor's Assets Including Approval of
                       Provisions for Designation of A Stalking Horse, (B) Establishing the


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                       Notice Procedures and Approving the Form and Manner of Notice
                       Thereof and Scheduling and Auction, (C) Approving Procedures for
                       Assumption and Assignment of Certain Executory Contracts and
                       Unexpired Leases, (D) Scheduling a Sale Hearing, (E) Granting
                       Expedited Consideration Pursuant to Local Rule of Bankruptcy
                       Procedure 5070−1(g); and (F) Granting Related Relief, and (II) an Order
                       Approving (A) the Sale of Debtor's Assets Free and Clear of All Liens,
                       Claims, Encumbrances, and Other Interests, (B) Approving the
                       Assumption and Assignment of Certain Executory Contracts and
                       Unexpired Leases Related Thereto and (C) Granting Related Relief [ECF
                       #750] Filed by Visual Semiconductor, Inc. (related document(s)754).
                       (Attachments: # 1 Exhibit A − Declaration of John H Thompson # 2
                       Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7
                       Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K # 12
                       Exhibit L # 13 Exhibit M # 14 Exhibit N # 15 Exhibit O # 16 Exhibit P)
                       (SWICK, RANDALL) (Entered: 11/06/2024)

                 789   Objection to Order on Motion to Approve REMBRANDT 3D HOLDING
                       LTD.S OBJECTION TO MOTION OF WILLIAM A. HOMONY IN HIS
                       CAPACITY AS CHAPTER 11 TRUSTEE FOR (I) AN ORDER (A)
                       APPROVING THE BIDDING PROCEDURES AND FORM OF ASSET
                       PURCHASE AGREEMENT FOR THE SALE OF SUBSTANTIALLY ALL
                       OF THE DEBTORS ASSETS INCLUDING APPROVAL OF PROVISIONS
                       FOR DESIGNATION OF A STALKING HORSE, (B) ESTABLISHING
                       THE NOTICE PROCEDURES AND APPROVING THE FORM AND
                       MANNER OF NOTICE THEREOF AND SCHEDULING AN AUCTION,
                       (C) APPROVING PROCEDURES FOR THE ASSUMPTION AND
                       ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
                       UNEXPIRED LEASES, (D) SCHEDULING A SALE HEARING, (E)
                       GRANTING EXPEDITED CONSIDERATION PURSUANT TO LOCAL
                       RULE OF BANKRUPTCY PROCEDURE 5070−1(g); AND (F)
                       GRANTING RELATED RELIEF, AND (II) AN ORDER (A) APPROVING
                       THE SALE OF THE DEBTORS ASSETS FREE AND CLEAR OF ALL
                       LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS, (B)
                       APPROVING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
                       EXECUTORY CONTRACTS AND UNEXPIRED LEASES RELATED
                       THERETO, AND (C) GRANTING RELATED RELIEF Filed by
                       Rembrandt 3D Holding Ltd. (related document(s)754). (Attachments: # 1
                       Exhibit A # 2 Exhibit B # 3 Exhibit C) (DEMARCO, ANDREW)
11/06/2024             (Entered: 11/06/2024)

                 790   Hearing Set (docketed for calendar purposes only) 750 Expedited Motion
                       to Approve (i) the proposed bidding procedures for soliciting bids for the
                       Debtors Assets, (ii) the form of Asset Purchase Agreement, (iii)
                       establishing notice procedures, (iv) approving procedures for the
                       assumption and assignment of certain executory contracts and unexpired
                       leases, (v) scheduling a hearing to approve the Sale, (vi) granting
                       Expedited Consideration, and (vii) granting related relief; and (i)
                       authorizing and approving the sale of the Assets, (ii) and the assumption
                       and assignment of certain executory contracts and unexpired leases, and
                       (iii) granting related relief Filed by WILLIAM A. HOMONY Represented
                       by MICHAEL D. VAGNONI (Counsel). (Attachments: # 1 Exhibit A,
                       Bidding Procedures Order # 2 Exhibit B, Asset Purchase Agreement # 3
                       Exhibit C, Sale Order # 4 Exhibit D, Sale Notice # 5 Exhibit E, Contract
                       Assumption Notice # 6 Proposed Order Expediting Consideration) filed
                       by Trustee WILLIAM A. HOMONY. Hearing scheduled 11/13/2024 at
11/07/2024             11:00 AM at Courtroom #4. (B., Pamela) (Entered: 11/07/2024)

                 791   Hearing Held on 686 Motion to Reconsider Filed by Visual
                       Semiconductor, Inc.. Matter taken under advisement. (B., Pamela)
11/07/2024             (Entered: 11/07/2024)

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                 792   Consent Order Grnating Extension of Time to Respond to Applications
                       for Compensation Filed by MICHAEL D. VAGNONI on behalf of
                       WILLIAM A. HOMONY (related document(s)787). (D., Stacey)
11/07/2024             (Entered: 11/07/2024)

                 793   Praecipe to Withdraw Motion for Order Further Extending Time for the
                       Trustee to File a Response to Fee Applications of Lewis Brisbois
                       Bisgaard & Smith LLP Filed by MICHAEL D. VAGNONI on behalf of
                       WILLIAM A. HOMONY (related document(s)785). (Attachments: # 1
11/07/2024             Certificate of Service) (VAGNONI, MICHAEL) (Entered: 11/07/2024)

                 794   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 792)). No. of Notices: 2. Notice Date 11/09/2024.
11/09/2024             (Admin.) (Entered: 11/10/2024)

                 795   Praecipe to Amend and Substitute, Exhibit B − Asset Purchase Agreement
                       Filed by MICHAEL D. VAGNONI on behalf of WILLIAM A.
                       HOMONY (related document(s)750). (Attachments: # 1 Exhibit Asset
11/11/2024             Purchase Agreement) (VAGNONI, MICHAEL) (Entered: 11/11/2024)

                 796   Transcript regarding Hearing Held on 11/7/24 Re: Motion to Reconsider
                       Filed by Visual Semiconductor, Inc. Transcribed by The Record Xchange
                       (www.trxchange.com (800) 406−1290) 23 pages. The transcript may be
                       viewed at the Bankruptcy Court Clerk's Office. [For information about
                       how to contact the transcriber, call the Clerk's Office] (related
                       document(s) 791 ). Notice of Intent to Request Redaction Deadline Due
                       By 11/19/2024. Redaction Request Due By 12/3/2024. Redacted
                       Transcript Submission Due By 12/13/2024. Transcript access will be
11/12/2024             restricted through 2/10/2025. (D., Tasha) (Entered: 11/12/2024)

                 797   Motion to Continue Hearing On Motion to Reconsider (Pursuant to the
                       Court's 11/7/2024 request to report back) Filed by Rembrandt 3D
                       Holding Ltd. Represented by ANDREW PETER DEMARCO (Counsel)
                       (related document(s)686). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3
11/12/2024             Exhibit 3 # 4 Exhibit 4) (DEMARCO, ANDREW) (Entered: 11/12/2024)

                 798   Praecipe to Supplement VSI's Objection [ECF #788] to Chapter 11
                       Trustee's Motion [ECF #750] Filed by RANDALL ADAM SWICK on
                       behalf of Visual Semiconductor, Inc.. (SWICK, RANDALL) (Entered:
11/12/2024             11/12/2024)

                 799   Motion to Extend time to Deadlines, Timing, and Amount of Certain
                       Obligations in the Sharing and Carve−Out Agreement Between the
                       Trustee and Hawk Investment Holdings, Ltd. as Collateral Agent of the
                       Secured Noteholders of SeeCubic, Inc., and for Related Relief Filed by
                       WILLIAM A. HOMONY Represented by MICHAEL D. VAGNONI
                       (Counsel). (Attachments: # 1 Proposed Order # 2 Certificate of Service)
11/12/2024             (VAGNONI, MICHAEL) (Entered: 11/12/2024)

                 800   Notice of (related document(s): 799 Motion to Extend time to Deadlines,
                       Timing, and Amount of Certain Obligations in the Sharing and
                       Carve−Out Agreement Between the Trustee and Hawk Investment
                       Holdings, Ltd. as Collateral Agent of the Secured Noteholders of
                       SeeCubic, Inc., and for Related) Filed by WILLIAM A. HOMONY.
                       Hearing scheduled 12/18/2024 at 11:00 AM at Courtroom #4.
11/12/2024             (VAGNONI, MICHAEL) (Entered: 11/12/2024)

11/12/2024       801   Reply to Motion to Approve filed by Trustee WILLIAM A. HOMONY,
                       Objection filed by Creditor Visual Semiconductor, Inc., Objection filed by


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                       Creditor Rembrandt 3D Holding Ltd., Motion to Continue/Reschedule
                       Hearing filed by Creditor Rembrandt 3D Holding Ltd. Hawk Investment
                       Holdings Ltd.'s (1) Reply in Support of Motion of William A. Homony in
                       His Capacity as Chapter 11 Trustee for (I) an Order (A) Approving the
                       Bidding Procedures and Form of Asset Purchase Agreement for the Sale
                       of Substantially All of the Debtors Assets Including Approval of
                       Provisions for Designation of a Stalking Horse, (B) Establishing the
                       Notice Procedures and Approving the Form and Manner of Notice
                       Thereof and Scheduling an Auction, (C) Approving Procedures for the
                       Assumption and Assignment of Certain Executory Contracts and
                       Unexpired Leases, (D) Scheduling a Sale Hearing, (E) Granting
                       Expedited Consideration Pursuant to Local Rule of Bankruptcy
                       Procedure 5070−1(g), and (F) Granting Related Relief; and (II) an Order
                       (A) Approving the Sale of the Debtors Assets Free and Clear of All Liens,
                       Claims, Encumbrances, and Other Interests, (B) Approving the
                       Assumption and Assignment of Certain Executory Contracts and
                       Unexpired Leases Related Thereto, and (C) Granting Related Relief and
                       (2) Responding to Related Pleadings Filed by Hawk Investment Holdings
                       Ltd. (related document(s)797, 750, 789, 788). (Caponi, Steven) (Entered:
                       11/12/2024)

                 802   Document in re: Witness and Exhibit List for November 13 Hearing Filed
                       by RANDALL ADAM SWICK on behalf of Visual Semiconductor, Inc.
                       (related document(s)750, 790 ). (SWICK, RANDALL) (Entered:
11/12/2024             11/12/2024)

                 803   Praecipe to Amend and Substitute Filed by MICHAEL D. VAGNONI on
                       behalf of WILLIAM A. HOMONY (related document(s)750).
                       (Attachments: # 1 Proposed Order Bid Procedures Order # 2 Exhibit
                       Redline of Bid Procedures Order) (VAGNONI, MICHAEL) (Entered:
11/13/2024             11/13/2024)

                 804   Hearing Held on 750 Motion to Approve Filed by WILLIAM A.
                       HOMONY. Revised bid procedures order to be submitted. (B., Pamela)
11/13/2024             (Entered: 11/14/2024)

                 805   Order Re: The Reconsideration Motion is DENIED.The Motion to Quash
                       is GRANTED with respect to the Remaining VSI Discovery Requests.
                       The Motion to Compel is DENIED with respect to the Remaining
                       Discovery Requests 797, 686, 735728 777). (R., Donna) (Entered:
11/14/2024             11/14/2024)

                 806   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 805)). No. of Notices: 1. Notice Date 11/16/2024.
11/16/2024             (Admin.) (Entered: 11/17/2024)

                 807   Transcript regarding Hearing Held on 11/13/24 Re: Motion to Approve
                       Filed by WILLIAM A. HOMONY. Revised bid procedures. Transcribed
                       by T R Xchange 84 pages. The transcript may be viewed at the
                       Bankruptcy Court Clerk's Office. [For information about how to contact
                       the transcriber, call the Clerk's Office] (related document(s) 804 ). Notice
                       of Intent to Request Redaction Deadline Due By 11/25/2024. Redaction
                       Request Due By 12/9/2024. Redacted Transcript Submission Due By
                       12/19/2024. Transcript access will be restricted through 2/18/2025. (D.,
11/18/2024             Tasha) (Entered: 11/18/2024)

11/18/2024       808   Objection to Application for Compensation of Lewis Brisbois Bisgaard &
                       Smith LLP Filed by WILLIAM A. HOMONY (related document(s)723).
                       (Attachments: # 1 Proposed Order # 2 Exhibit Exhibit A # 3 Exhibit
                       Exhibit B # 4 Exhibit Exhibit C # 5 Exhibit Exhibit D # 6 Exhibit Exhibit

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                       E # 7 Exhibit Exhibit F # 8 Exhibit Exhibit G # 9 Exhibit Exhibit H # 10
                       Exhibit Exhibit I # 11 Exhibit Exhibit J) (COREN, STEVEN) (Entered:
                       11/18/2024)

                 809   Proposed Order Re: Bidding Procedures Order Filed by MICHAEL D.
                       VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)750, 803). (Attachments: # 1 Bid Procedures Order Redline)
11/19/2024             (VAGNONI, MICHAEL) (Entered: 11/19/2024)

                 810   Support Document Asset List of Stream and Technovative re 363 Sale
                       Filed by MICHAEL D. VAGNONI on behalf of WILLIAM A.
                       HOMONY (related document(s)750). (Attachments: # 1 Schedules to
                       Asset Purchase Agreement # 2 Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit
                       # 6 Exhibit # 7 Exhibit # 8 Exhibit # 9 Exhibit # 10 Exhibit # 11 Exhibit #
                       12 Exhibit # 13 Exhibit # 14 Exhibit # 15 Exhibit # 16 Exhibit)
11/19/2024             (VAGNONI, MICHAEL) (Entered: 11/19/2024)

                 811   Ordered (A) Approving Bidding Procedures And Form of Asset Purchase
                       Agreement In Connection With The Sale Of Substantially All of The
                       Debtors Assets, (B) Approving Procedures For The Assumption and
                       Assignment of Executory Contracts And Unexpired Leases, (C)
                       Approving Procedures For Selection Of A Stalking Horse Bidder And Bid
                       Protections, And (D) Granting Related Relief Scheduling Hearing re:750 .
                       The Motion is Granted as set forth herein. A Sale Hearing will commence
                       on 12/4/2024 at 01:00 PM at Courtroom #4 before the Honorable Ashely
                       M. Chan. Response deadline. Responses or replies, if any, to timely filed
                       objections to the entry of the Sale Order approving a Sale to the
                       Successful Bidder must be filed on or before November 29, 2024 at 4
                       P.M. (prevailing Eastern Standard Time) (K., Marie) (Entered:
11/20/2024             11/20/2024)

                 812   Application to Employ Panitch Schwarze Belisario & Nadel LLP as
                       Special Counsel Filed by WILLIAM A. HOMONY Represented by
                       MICHAEL D. VAGNONI (Counsel). (Attachments: # 1 Exhibit A,
                       Declaration of M. Belisario # 2 Exhibit B, Fee Agreement # 3 Proposed
                       Order # 4 Certificate of Service) (VAGNONI, MICHAEL) (Entered:
11/21/2024             11/21/2024)

                 813   Notice of Application to Employ Panitch Schwarze Belisario & Nadel
                       LLP as Special Counsel to the Chapter 11 Trustee Filed by WILLIAM A.
11/21/2024             HOMONY. (VAGNONI, MICHAEL) (Entered: 11/21/2024)

                 814   Document in re: Notice of No Assumption or Assignment of Executory
                       Contracts and Unexpired Leases Filed by MICHAEL D. VAGNONI on
                       behalf of WILLIAM A. HOMONY. (VAGNONI, MICHAEL) (Entered:
11/21/2024             11/21/2024)

                 815   Objection to Motion to Approve filed by Trustee WILLIAM A.
                       HOMONY Filed by Visual Semiconductor, Inc. (related
                       document(s)750). (Attachments: # 1 Declaration of Charles M Robertson
                       # 2 Exhibit A # 3 Exhibit B # 4 Exhibit C # 5 Exhibit D # 6 Exhibit E # 7
                       Exhibit F # 8 Exhibit G # 9 Exhibit H # 10 Exhibit I # 11 Exhibit J # 12
                       Exhibit K # 13 Exhibit L # 14 Exhibit M # 15 Exhibit N # 16 Exhibit O)
11/22/2024             (SWICK, RANDALL) (Entered: 11/22/2024)

                 816   Objection to Scheduling Hearing Filed by Rembrandt 3D Holding Ltd.
                       (related document(s)811). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
11/22/2024             Exhibit C) (DEMARCO, ANDREW) (Entered: 11/22/2024)



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                 817   Certificate of Service re: Order (A) Approving Bidding Procedures And
                       Form of Asset Purchase Agreement In Connection With The Sale Of
                       Substantially All of The Debtors Assets, (B) Approving Procedures For
                       The Assumption And Assignment of Executory Contracts And Unexpired
                       Leases, (C) Approving Procedures For Selection Of A Stalking Horse
                       Bidder And Bid Protections, And (D) Granting Related Relief, And
                       Exhibits 1 And 2 Thereto Filed by BMC Group Inc. (related
11/22/2024             document(s)811). (Ordaz, Steven) (Entered: 11/22/2024)

                 818   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 811)). No. of Notices: 1. Notice Date 11/22/2024.
11/22/2024             (Admin.) (Entered: 11/23/2024)

                 819   Monthly Operating Report for Filing Period Ending 10/31/2024 Filed by
                       MICHAEL D. VAGNONI on behalf of Stream TV Networks, Inc..
                       (Attachments: # 1 Attachments) (VAGNONI, MICHAEL) (Entered:
11/27/2024             11/27/2024)

                 820   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 10/31/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (Attachments: # 1 Attachments)
11/27/2024             (VAGNONI, MICHAEL) (Entered: 11/27/2024)

                 821   Notice of Appeal to District Court Court. . Fee Amount $298.00 Filed by
                       Visual Semiconductor, Inc. (related document(s)805). Appellant
                       Designation due by 12/11/2024. Transmission of record on appeal to
                       District Court Due Date:12/26/2024. (Attachments: # 1 Exhibit Order
                       Approving Settlement between Trustee, Hawk Investment Holdings, Ltd.,
11/27/2024             and SeeCubic Inc.)(SWICK, RANDALL) (Entered: 11/27/2024)

                       Receipt of Notice of Appeal( 23−10763−amc) [appeal,ntcapl] ( 298.00)
                       Filing Fee. Receipt number AXXXXXXXX. Fee Amount $ 298.00. (re: Doc#
11/27/2024             821) (U.S. Treasury) (Entered: 11/27/2024)

                 822   Chapter 11 Monthly Operating Report for the Month Ending: 10/31/2024
                       Filed by MICHAEL D. VAGNONI on behalf of Stream TV Networks,
                       Inc.. (Attachments: # 1 Attachements) (VAGNONI, MICHAEL)
11/27/2024             (Entered: 11/27/2024)

                 823   Chapter 11 Monthly Operating Report for Case Number 23−10764 for the
                       Month Ending: 10/31/2024 Filed by MICHAEL D. VAGNONI on behalf
                       of Technovative Media, Inc.. (Attachments: # 1 Attachments)
11/27/2024             (VAGNONI, MICHAEL) (Entered: 11/27/2024)

                 824   Motion For Sanctions Against Parties who Violated the Temporary
                       Restraining Order, Enforcement of the Temporary Restraining Order, and
                       Injunctive Relief Filed by Rembrandt 3D Holding Ltd. Represented by
                       ANDREW PETER DEMARCO (Counsel). (Attachments: # 1 Exhibit 1 #
                       2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4) (DEMARCO, ANDREW)
11/27/2024             (Entered: 11/27/2024)

                 825   Motion to Expedite Hearing (related documents Motion for Sanctions)
                       Filed by Rembrandt 3D Holding Ltd. Represented by ANDREW PETER
                       DEMARCO (Counsel) (related document(s)824). (DEMARCO,
11/27/2024             ANDREW) (Entered: 11/27/2024)

11/27/2024       826   Motion to Reconsider (related documents Order (Generic)) Motion to
                       Reconsider November 14, 2024 Order Quashing the Remaining VSI
                       Discovery (ECF No. 805) and Grant Appropriate Relief Filed by Visual

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                       Semiconductor, Inc. Represented by RANDALL ADAM SWICK
                       (Counsel) (related document(s)805). (Attachments: # 1 Exhibit 10−30−24
                       Hearing Transcripts # 2 Exhibit 11−7−24 Hearing Transcripts # 3 Exhibit
                       11−13−24 Hearing Transcripts) (SWICK, RANDALL) (Entered:
                       11/27/2024)

                 827   Motion to Expedite Hearing (related documents Motion to Reconsider)
                       Filed by Visual Semiconductor, Inc. Represented by RANDALL ADAM
                       SWICK (Counsel) (related document(s)826). (Attachments: # 1 Exhibit A
11/27/2024             − Proposed Order) (SWICK, RANDALL) (Entered: 11/27/2024)

                 828   Joinder to Filed by RANDALL ADAM SWICK on behalf of Visual
                       Semiconductor, Inc. (related document(s)824). (Attachments: # 1 Exhibit
                       1 Declaration of Charles Robertson # 2 Exhibit 4−14−23 Hearing
                       Transcript # 3 Exhibit 10−16−23 Hearing Transcript # 4 Exhibit
                       10−30−23 Hearing Transcript # 5 Exhibit 11−15−23 Hearing Transcript #
                       6 Exhibit 12−14−23 Hearing Transcript) (SWICK, RANDALL) (Entered:
11/27/2024             11/27/2024)

                 829   Courts Certificate of Service Re: Notice of Appeal filed by Creditor
                       Visual Semiconductor, Inc.. The following Party(s) have been notified:
                       Case Judge − via email Case Trustee − via CM/ECF Debtor − via Regular
                       mail through the BNC Joint Debtor − via Regular mail through the BNC
                       Debtors Counsel − via CM/ECF Joint Debtors Counsel − via CM/ECF
                       Office of the U.S. Trustee − via CM/ECF U.S. District Court − via email
                       Steven L. Caponi Esq; Margaret R. Westbrook Esq; Aaron S. Rothman
                       Esq; Jonathan N. Edel Esq; Thomas A. Warns Esq Attorney's for Hawk
                       Investment Holdings Ltd; Andrew J. Belli Esq; Steven M. Coren Esq
                       Attorney 's for William A. Homony , Trustee; Donald N. David Esq;
                       Mark Lichtenstein Esq; R. Adam Swick Esq; John H. Thompson Esq;Leif
                       M. Clark Esq Attorneys for Visual Semiconductor Inc. − via Regular mail
                       through the BNC (related document(s)821). (R., Donna) (Entered:
11/29/2024             11/29/2024)

                 830   Amended Courts Certificate of Service Re: Notice of Appeal filed by
                       Creditor Visual Semiconductor, Inc.. The following Party(s) have been
                       notified: Case Judge − via email Case Trustee − via CM/ECF Debtor −
                       via Regular mail through the BNC Joint Debtor − via Regular mail
                       through the BNC Debtors Counsel − via CM/ECF Joint Debtors Counsel
                       − via CM/ECF Office of the U.S. Trustee − via CM/ECF U.S. District
                       Court − via email Steven L.Caponi Esq Attorney for Hawk Investment
                       Holdings Ltd; Andrew Belli Esq for Attorney William A. Homony,
                       Trustee; R. Adam Swick Esq Attorney for Visual Semiconductor Inc; −
                       via Regular mail through the BNC (related document(s)821). (R., Donna)
11/29/2024             Modified on 11/29/2024 (R., Donna). (Entered: 11/29/2024)

                 831   Transmission of Record of Appeal to District Court (related
11/29/2024             document(s)821). (R., Donna) (Entered: 11/29/2024)

                 832   Objection to Motion to Expedite Hearing filed by Creditor Rembrandt 3D
                       Holding Ltd. Filed by WILLIAM A. HOMONY (related
11/29/2024             document(s)825). (VAGNONI, MICHAEL) (Entered: 11/29/2024)

                 833   Notice of Docketing Record on Appeal to District Court. Case Number:
                       23−10763 CV#24−cv−6397. Judge: John M. Gallagher (related
11/29/2024             document(s)821). (R., Donna) (Entered: 11/29/2024)

11/29/2024       834   Objection to Motion to Expedite Hearing filed by Creditor Visual
                       Semiconductor, Inc. Filed by WILLIAM A. HOMONY (related


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                       document(s)827). (VAGNONI, MICHAEL) (Entered: 11/29/2024)

                 835   Response filed by Trustee WILLIAM A. HOMONY Omnibus Response
                       of Chapter 11 Trustee to Objections: Objection filed by Creditor Visual
                       Semiconductor, Inc.; Objection filed by Creditor Rembrandt 3D Holding
                       Ltd. (related document(s)815, 816, 750). (Attachments: # 1 Exhibit # 2
                       Exhibit # 3 Exhibit # 4 Exhibit # 5 Exhibit # 6 Exhibit # 7 Exhibit)
11/29/2024             (VAGNONI, MICHAEL) (Entered: 11/29/2024)

                 836   Joinder Hawk Investment Holdings Ltd.'s (i) Joinder to the Omnibus
                       Response of William A. Homony, In His Capacity As Chapter 11 Trustee,
                       to the Objections to the Trustees Motion for, Inter Alia, An Order (A)
                       Approving the Sale of the Debtors Assets Free and Clear of All Liens,
                       Claims, Encumbrances, and Other Interests, (B) Approving the
                       Assumption and Assignment of Certain Executory Contracts and
                       Unexpired Leases Related Thereto, and (C) Granting Related Relief; (ii)
                       Brief in Support of Sale; and (iii) Request for Related Relief Filed by
                       Steven Caponi on behalf of Hawk Investment Holdings Ltd. (related
11/29/2024             document(s)835). (Caponi, Steven) (Entered: 11/29/2024)

                 837   Joinder of SeeCubic, Inc. to Responses in Support of the Trustee's Motion
                       for, Inter Alia, an Order (A) Approving the Sale of the Debtors' Assets
                       Free and Clear of all Liens, Claims, Encumbrances, and Other Interests,
                       (B) Approving the Assumption and Assignment of Certain Executory
                       Contracts Related Thereto, and (C) Granting Related Relief Filed by
                       Joseph Oliver Larkin on behalf of SeeCubic, Inc. (related
                       document(s)815, 750, 836, 835, 816). (Attachments: # 1 Certificate of
11/30/2024             Service) (Larkin, Joseph) (Entered: 11/30/2024)

                 838   BNC Certificate of Mailing −Court's Certificate of Mailing or Service.
                       Number of Notices Mailed: (related document(s) (Related Doc # 830)).
                       No. of Notices: 1. Notice Date 12/01/2024. (Admin.) (Entered:
12/01/2024             12/02/2024)

                 839   **See Adversary at #24−142**Third−Party Complaint by Rembrandt 3D
                       Holding Ltd. against Stream TV Networks, Inc., Technovative Media, Inc.
                       . (DEMARCO, ANDREW) Modified on 12/4/2024 (K., Marie). (Entered:
12/02/2024             12/02/2024)

                 840   Exhibit 1 Filed by ANDREW PETER DEMARCO on behalf of
                       Rembrandt 3D Holding Ltd. (related document(s)839). (Attachments: # 1
                       Exhibit 2 # 2 Exhibit 3 # 3 Exhibit 4 # 4 Exhibit 5 # 5 Exhibit 6 # 6
                       Exhibit 7 # 7 Exhibit 8 # 8 Exhibit 9 # 9 Exhibit 10 # 10 Exhibit 11 # 11
                       Exhibit 12 # 12 Exhibit 13 # 13 Exhibit 14 # 14 Exhibit 15 # 15 Exhibit
                       16 # 16 Exhibit 17 # 17 Exhibit 18 # 18 Exhibit 19 # 19 Exhibit 20 # 20
                       Exhibit 21 # 21 Exhibit 22 # 22 Exhibit 23 # 23 Exhibit 24 # 24 Exhibit
                       25 # 25 Exhibit 26 # 26 Exhibit 27) (DEMARCO, ANDREW) (Entered:
12/02/2024             12/02/2024)

                 841   Document in re: Interested Party Leia Inc.'s Reservation of Rights
                       regarding Trustee's Sale Motion Filed by KERI P EBECK on behalf of
                       Leia, Inc (related document(s)750, 810). (EBECK, KERI). (Entered:
12/02/2024             12/02/2024)

                 842   Certificate of Service for Interested Party Leia, Inc.'s Reservation of
                       Rights Regarding Trustee's Sale Motion Filed by Leia, Inc (related
                       document(s)810, 841). (Attachments: # 1 Exhibit)(EBECK, KERI)
12/02/2024             (Entered: 12/02/2024)



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                 843   Order Denying (827) Motion for an Expedited Hearing on (826) Motion
                       to Reconsider Order Dated November 14, 2024 Filed by Visual
                       Semiconductor, Inc. represented by RANDALL ADAM SWICK
                       (Counsel). VSI is directed, to the extent it wishes to prosecute the
                       Reconsideration Motion, to follow the Court's hearing scheduling
                       procedures set forth in Local Rule 9014−3(c) to obtain a hearing date on
                       the motion no sooner than January 2025. (Barbetta, John) (Entered:
12/02/2024             12/02/2024)

                 844   Order Denying (825) Motion for an Expedited Hearing on (824) Motion
                       For Sanctions Against Parties who Violated the Temporary Restraining
                       Order, Enforcement of the Temporary Restraining Order, and For
                       Injunctive Relief filed by Rembrandt 3D Holding Ltd. represented by
                       ANDREW PETER DEMARCO (Counsel). Rembrandt is directed to
                       re−file the TRO Motion in Adversary Proceeding 23−00057 where the
                       TRO was entered, and shall follow the Court's hearing scheduling
                       procedures set forth in Local Rule 9014−3(c), made applicable to the
                       Adversary Proceeding by Local Rule 7005−1, to obtain a hearing date on
                       the motion no sooner than January 2025. (Barbetta, John) (Entered:
12/02/2024             12/02/2024)

                 845   Document in re: Notice of No Auction to be Held and Selection of
                       Successful Bidder Filed by MICHAEL D. VAGNONI on behalf of
                       WILLIAM A. HOMONY. (VAGNONI, MICHAEL) (Entered:
12/02/2024             12/02/2024)

                 846   Certificate of Service Filed by BMC Group Inc. (related document(s)835).
12/02/2024             (Ordaz, Steven) (Entered: 12/02/2024)

                 847   Disclosure Statement for Visual Semiconductor, Inc.'s Chapter 11 Plan of
                       Reorganization of Stream Networks, Inc. and Technovative Media, Inc.
                       (Exhibit A − Plan) Filed by Visual Semiconductor, Inc.. (SWICK,
12/03/2024             RANDALL) (Entered: 12/03/2024)

                 848   Chapter 11 Plan of Reorganization by Visual Semiconductor, Inc. of
                       Stream TV Networks, Inc. and Technomedia, Inc. Pursuant to Chapter 11
                       of the Bankruptcy Code Filed by Visual Semiconductor, Inc.. (SWICK,
12/03/2024             RANDALL) (Entered: 12/03/2024)

                 849   Certificate of Service Filed by BMC Group Inc. (related document(s)845).
12/03/2024             (Ordaz, Steven) (Entered: 12/03/2024)

                 850   Declaration re: Declaration of William A. Homony in His Capacity as
                       Chapter 11 Trustee, in Support of the Motion for Entry of an Order (A)
                       Approving the Sale of the Debtors' Assets Free and Clear of All Liens,
                       Claims, Encumbrances, and Other Interests, (B) Approving the
                       Assumption and Assignment of Certain Executory Contracts and
                       Unexpired Leases Related Thereto, and (C) Granting Related Relief Filed
                       by MICHAEL D. VAGNONI on behalf of WILLIAM A. HOMONY.
12/03/2024             (VAGNONI, MICHAEL) (Entered: 12/03/2024)

                 851   Motion to Appear pro hac vice on behalf of Alyssa Russell Filed by
                       SeeCubic, Inc. Represented by Joseph Oliver Larkin (Counsel).
                       (Attachments: # 1 Proposed Order # 2 Verified Statement) (Larkin,
12/03/2024             Joseph) (Entered: 12/03/2024)

                       Receipt Number APAEDC−17918800, Fee Amount $75.00 in re: Motion
                       for Pro Hac Vice for attorney Alyssa Russell sponsored by Joseph O.
12/03/2024             Larkin. (related document(s)851). (K., Marie) (Entered: 12/03/2024)


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                 852   Declaration re: Declaration Of J. Scott Victor In Support Of Chapter 11
                       Trustees Motion For Entry Of An Order (i) Authorizing And Approving,
                       But Not Directing, The Sale Of The Assets, In Each Case With Such Sale
                       Being Free And Clear Of Any And All Liens, Claims, Encumbrances And
                       Interests, (ii) The Assumption And Assignment Of Certain Executory
                       Contracts And Unexpired Leases In Connection With The Sale, And (iii)
                       Granting Related Relief Filed by MICHAEL D. VAGNONI on behalf of
                       WILLIAM A. HOMONY (related document(s)750, 835). (VAGNONI,
12/03/2024             MICHAEL) (Entered: 12/03/2024)

                 853   Praecipe to Amend and Substitute Exhibit "C" to Sale Motion Filed by
                       MICHAEL D. VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)750). (Attachments: # 1 Sale Order # 2 Exhibit 1 to Sale
                       Order # 3 Exhibit 2 to Sale Order # 4 Redline of Sale Order) (VAGNONI,
12/04/2024             MICHAEL) (Entered: 12/04/2024)

                 854   Certificate of No Response to Motion to Extend Deadlines, Timing, and
                       Amount of Certain Obligations in the Sharing and Carve−Out Agreement
                       Between the Trustee and Hawk Investment Holdings, Ltd. as Collateral
                       Agent of the Secured Noteholders of SeeCubic, Inc. and for Related Relief
                       Filed by MICHAEL D. VAGNONI on behalf of WILLIAM A.
                       HOMONY (related document(s)799). (Attachments: # 1 Proposed Order)
12/04/2024             (VAGNONI, MICHAEL) (Entered: 12/04/2024)

                 855   Adversary case 24−00142. Complaint by ANDREW PETER
                       DEMARCO, Christopher A. Michaels on behalf of Rembrandt 3D
                       Holding Ltd. against William A. Homony, Stream Networks, Inc.,
                       Technovative Media, Inc., Shadron L. Stastney, Hawk Investment
                       Holdings, Ltd., SeeCubic, Inc., SeeCubic, B.V.. Fee Amount $350 .
                       (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5
                       Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10
                       Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit
                       14 # 15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19
                       Exhibit 19 # 20 Exhibit 20 # 21 Exhibit 21 # 22 Exhibit 22 # 23 Exhibit
                       23 # 24 Exhibit 24 # 25 Exhibit 25 # 26 Exhibit 26 # 27 Exhibit 27) (72
                       (Injunctive relief − other)),(91 (Declaratory judgment)) (DEMARCO,
12/04/2024             ANDREW) (Entered: 12/04/2024)

                 856   Certificate of No Response to Application to Employ Panitch Schwarze
                       Belisario & Nadel LLP as Special Counsel Filed by MICHAEL D.
                       VAGNONI on behalf of WILLIAM A. HOMONY (related
                       document(s)812). (Attachments: # 1 Proposed Order) (VAGNONI,
12/04/2024             MICHAEL) (Entered: 12/04/2024)

                 857   Motion to Approve Disclosure Statement and (ii) Procedures for the
                       Solicitation and Tabulation of Votes to Accept or Reject Visual
                       Semiconductor, Inc.'s Chapter 11 Plan of Reorganization; and (iii)
                       Related Notice and Objection Procedures (Exh. A Proposed Disclosure
                       Statement Order; Exh A−1− Form of Ballot; Exh. A−2 Disclosure
                       Statement Hearing Notice; Exh. A−3 Confirmation Hearing Notice). Filed
                       by Visual Semiconductor, Inc. Represented by RANDALL ADAM
12/04/2024             SWICK (Counsel). (SWICK, RANDALL) (Entered: 12/04/2024)

                 858   Certificate of Service Filed by BMC Group Inc. (related document(s)850,
12/04/2024             852). (Ordaz, Steven) (Entered: 12/04/2024)

                 859   Declaration re: of Mark Hsu in further support of Visual Semiconductor,
                       Inc.'s Objection to Trustee's Sale Motion Filed by RANDALL ADAM
                       SWICK on behalf of Visual Semiconductor, Inc. (related document(s)815,
12/04/2024             750). (SWICK, RANDALL) (Entered: 12/04/2024)

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                 860   Hearing Held and concluded on 750 Motion to Approve Filed by
                       WILLIAM A. HOMONY. Parties have until Monday, 12/9/24 at 9:00
                       a.m. to file their concerns as to the red−lined sale order. (B., Pamela)
12/04/2024             (Entered: 12/04/2024)

                 861   Notice of Appeal to District Court Court. . Fee Amount $298.00 Filed by
                       Visual Semiconductor, Inc. (related document(s)811). Appellant
                       Designation due by 12/18/2024. Transmission of record on appeal to
                       District Court Due Date:01/2/2025. (Attachments: # 1 Order Approving
12/04/2024             Bid Procedures)(SWICK, RANDALL) (Entered: 12/04/2024)

                       Receipt of Notice of Appeal( 23−10763−amc) [appeal,ntcapl] ( 298.00)
                       Filing Fee. Receipt number AXXXXXXXX. Fee Amount $ 298.00. (re: Doc#
12/04/2024             861) (U.S. Treasury) (Entered: 12/04/2024)

                 862   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 843)). No. of Notices: 28. Notice Date 12/04/2024.
12/04/2024             (Admin.) (Entered: 12/05/2024)

                 863   BNC Certificate of Mailing − PDF Document. (related document(s)
                       (Related Doc # 844)). No. of Notices: 29. Notice Date 12/04/2024.
12/04/2024             (Admin.) (Entered: 12/05/2024)

                 864   Courts Certificate of Service Re: Notice of Appeal filed by Creditor
                       Visual Semiconductor, Inc.. The following Party(s) have been notified:
                       Case Judge − via email Case Trustee − via CM/ECF Debtor − via Regular
                       mail through the BNC Joint Debtor − via Regular mail through the BNC
                       Debtors Counsel − via CM/ECF Joint Debtors Counsel − via CM/ECF
                       Office of the U.S. Trustee − via CM/ECF U.S. District Court − via email
                       R.Adam Swick Esq Attorney for Visual Semiconductor Inc; Andrew Belli
                       Esq for Attorney for William A. Homony , Trustee; Steven Caponi Esq;
                       Attorney for Hawk Investment Holdings; − via Regular mail through the
12/05/2024             BNC (related document(s)861). (R., Donna) (Entered: 12/05/2024)




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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :
     In re:                                             :    Chapter 11
                                                        :
     Stream TV Networks, Inc., et al.                   :    Bankruptcy No. 23-10763 (AMC)
                                                        :
                              Debtors.                  :    (Jointly Administered)1
                                                        :

         ORDER (A) APPROVING BIDDING PROCEDURES AND FORM OF ASSET
           PURCHASE AGREEMENT IN CONNECTION WITH THE SALE OF
          SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS, (B) APPROVING
       PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY
      CONTRACTS AND UNEXPIRED LEASES, (C) APPROVING PROCEDURES FOR
     SELECTION OF A STALKING HORSE BIDDER AND BID PROTECTIONS, AND (D)
                         GRANTING RELATED RELIEF

          Upon the motion (the “Sale Motion”) of William A. Homony (the “Trustee”) in his

 capacity of Chapter 11 Trustee of Stream TV Networks, Inc. (“Stream”) and Technovative Media

 Inc. (“Technovative”, and collectively with Stream, the “Debtors”), seeking entry of an order

 (this “Order”), (a) authorizing and approving the bidding procedures attached hereto as Exhibit 1

 (the “Bidding Procedures”)2 in connection with the sale of the Assets of the Debtors, the Stalking

 Horse APA, and form of Asset Purchase Agreement in connection with the Sale, (b) approving the

 form and manner of notice of the Auction and the Sale Hearing, (c) scheduling the Sale Hearing

 and setting other related dates, (d) approving procedures for the assumption and assignment of

 executory contracts and unexpired leases and noticing of related Cure Payments, (e) granting the

 Sale Motion and (f) granting related relief; and this Court having jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having the power to enter a final order



 1
   On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).
 2
   Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion or the
 Declaration of the Trustee in Support of the Motion, as applicable.


 4858-4678-3740 v3

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 consistent with Article III of the United States Constitution; and this Court having found that venue

 of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

 and this Court having found that the Trustee’s notice of the Motion and opportunity for a hearing

 on the Motion were appropriate under the circumstances and no further notice need be provided;

 and this Court having reviewed the Motion and having heard the statements in support of the relief

 requested therein at a hearing before this Court; and this Court having determined that the legal

 and factual bases set forth in the Motion and at the hearing establish just cause for the relief granted

 herein; and this Court having determined that the relief requested by the Motion is in the best

 interests of the Debtors, its estate, creditors, and other parties in interest; and upon all of the

 proceedings in this Chapter 11 case conducted before this Court; and after due deliberation and

 sufficient cause appearing therefore and any remaining objections having been withdrawn or

 overruled, it is hereby FOUND, CONCLUDED AND DETERMINED THAT:

         A.          Jurisdiction; Venue. This Court has jurisdiction over this matter pursuant to 28

 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The statutory

 predicates for the relief sought herein are sections 105, 363, and 365 of the Bankruptcy Code and

 Bankruptcy Rules 2002, 6004, and 6006. Venue for these cases and the Motion in this district is

 proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         B.          Bidding Procedures. The Trustee has articulated good and sufficient reasons for

 authorizing and approving the Bidding Procedures attached hereto as Exhibit 1, which are fair,

 reasonable, and appropriate under the circumstances and designed to maximize the value of the

 Assets. The Bidding Procedures were negotiated in good faith and at arm’s length and are

 reasonably designed to promote a competitive and robust bidding process to generate the greatest

 level of interest in the Assets.



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 4858-4678-3740 v3

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         C.          Asset Purchase Agreement. That certain Asset Purchase Agreement, originally

 filed on the docket on September 30, 2024 (D.I. #750), and amended on November 11, 2024 (D.I.

 #795), among the Debtors and SeeCubic, Inc. (the “Stalking Horse Bidder”) (as amended, the

 “Stalking Horse APA”) was negotiated in good faith and at arm’s length between the parties and

 may serve as a reasonable and appropriate baseline for soliciting other bids for the Assets.

         D.          Stalking Horse Bidder. The Stalking Horse Bid as reflected in the Stalking Horse

 APA represents the highest and best offer the Trustee has received to date. The Stalking Horse

 APA provides the Debtors with the opportunity to sell the Assets in order to preserve and realize

 their going concern value and provide a floor for a further marketing and auction process. The

 Stalking Horse Bid will secure a fair and adequate baseline price for the Assets and, accordingly,

 will provide a clear benefit to the Debtors’ estates, their creditors, and all other parties in interest.

 The Stalking Horse Bidder is not an “insider” or “affiliate” of either of the Debtors, as those terms

 are defined in section 101 of the Bankruptcy Code, and no common identity of incorporators,

 directors, or controlling stakeholders exist between the Stalking Horse Bidder and the Debtors.

         E.          Sale Notice. The notice, substantially in the form attached hereto as Exhibit 2, as

 amended, provided by the Trustee regarding the Sale of the Assets by the Auction and Sale Hearing

 (the “Sale Notice”) is reasonably calculated to provide all interested parties with timely and proper

 notice of the proposed Sale, including: (i) the date, time, and place of the Auction; (ii) the Bidding

 Procedures and certain dates and deadlines related thereto; (iii) the objection deadline for the

 Motion and the date, time, and place of the Sale Hearing; (iv) specific identification of the Assets

 for sale; (v) instructions for promptly obtaining a copy of the Stalking Horse APA; (vi)

 representations describing the Sale as being free and clear of liens, claims, interests, and other

 encumbrances, with all such liens, claims, interests, and other encumbrances attaching to the sale



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 proceeds with the same validity and priority; and (vii) notice of the proposed assumption and

 assignment of the Assigned Contracts to the Successful Bidder and the right, procedures, and

 deadlines for objecting thereto, and no further notice of the Sale shall be required.

         F.          Assumption and Assignment Procedures. The Motion and the Contract Assumption

 Notice (as defined herein) are reasonably calculated to provide counterparties to the Assigned

 Contracts with proper notice of the intended assumption and assignment of their executory

 contracts and any Cure Payments (as defined herein). The Assumption Procedures (as defined

 herein) are appropriate.

         G.          Other Findings. The findings and conclusions set forth herein constitute the Court’s

 findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

 proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the preceding findings of fact

 constitute conclusions of law, they are adopted as such. To the extent any of the preceding

 conclusions of law constitute findings of fact, they are adopted as such.

         NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

         1.          The Motion is GRANTED as set forth herein.

         2.          The Debtors and the Trustee are authorized to enter into and perform under the

 Stalking Horse APA, which shall be subject to higher or otherwise better offers in accordance with

 the terms of this Order and the Bidding Procedures.

 I.      Important Dates and Deadlines

         3.          Sale Hearing. The Sale Hearing will commence on December 4, 2024, at 1:00

 P.M. (prevailing Eastern Standard Time) before the Honorable Ashely M. Chan, United States

 Bankruptcy Judge, in the United States Bankruptcy Court, Robert N.C. Nix Sr. Federal

 Courthouse, 900 Market Street, Philadelphia, PA, 19107, in Courtroom No. 4.



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         4.          Sale Objection Deadline. Objections, if any, to the Motion and the Sale of the

 Assets to a Successful Bidder, except objections solely related to the identity of the Successful

 Bidder and adequate assurance of future performance by a Successful Bidder, must be filed by

 November 22, 2024, at 4:00 P.M. (prevailing Eastern Standard Time) (the “Sale Objection

 Deadline”). Objections solely based on the identity of the Successful Bidder and adequate

 assurance of future performance must be made at the Sale Hearing (the “Supplemental Limited

 Sale Objection Deadline”). In each case, all objections must: (a) be in writing; (b) conform to the

 applicable provisions of the Bankruptcy Rules, the Local Rules, and any orders of the Court; (c)

 state with particularity the legal and factual basis for the objection and the specific grounds

 therefor; and (d) be filed with the Court no later than the Sale Objection Deadline or the

 Supplemental Limited Sale Objection Deadline, as applicable, and served on (i) counsel to the

 Trustee so as to be received by the applicable objection deadline as set forth in the Procedures

 Order and (ii) any other entity on the Master Service List. Objections solely based on the identity

 of the Successful Bidder and adequate assurance of future performance must additionally be served

 on counsel to the Successful Bidder.

         5.          Response Deadline. Responses or replies, if any, to timely filed objections to the

 entry of the Sale Order approving a Sale to the Successful Bidder must be filed on or before

 November 29, 2024, at 4:00 P.M. (prevailing Eastern Standard Time), provided that such

 deadline may be extended by agreement of the Trustee and the affected objecting party. Responses

 or replies, if any, to timely filed objections to the identity of the Successful Bidder and/or adequate

 assurance of future performance may be presented at the Sale Hearing.

         6.          Competitive Bidding. The following dates regarding the competitive bidding

 process are hereby established and approved:



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                     a.     Bid Deadline: December 2, 2024, at 12:00 P.M. (prevailing Eastern

 Standard Time), the deadline by which all Qualified Bids (as defined in the Bidding Procedures)

 must be actually received in writing in electronic format by the parties specified in the Bidding

 Procedures (the “Bid Deadline”); and

                     b.     Auction: December 3, 2024, at 10:00 A.M. (prevailing Eastern

 Standard Time), is the date and time the Auction, if required, which will be held at the offices of

 counsel to the Trustee, Obermayer Rebmann Maxwell & Hippel LLP, 1500 Market Street, Suite

 3400 Philadelphia, PA, 19102 or such other place and time as the Trustee shall notify all Qualified

 Bidders that have submitted Qualified Bids, and the Secured Creditors and their counsel.

 II.     Bidding Procedures and Related Relief

         A.          Bidding Procedures.

         7.          The Bidding Procedures, substantially in the form attached hereto as Exhibit 1 and

 incorporated by reference as though fully set forth herein, are hereby approved in their entirety.

 The Bidding Procedures shall govern the submission, receipt, and analysis of all bids relating to

 the proposed Sale, and any party desiring to submit an offer for the Assets must comply with the

 terms of the Bidding Procedures and this Order. The Bidding Procedures shall also govern the

 terms on which the Trustee will proceed with the Auction and/or the Sale. The Trustee is

 authorized to take any and all actions reasonably necessary or appropriate to implement the

 Bidding Procedures.

         8.          No person or entity shall be entitled to any expense reimbursement, break-up fee,

 “topping,” or other similar bid protections or fee or payment.

         9.          The deposits provided by all Qualified Bidders shall be deemed held in escrow in

 a designated non-interest bearing account by the Trustee and shall not become property of the



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 Debtors’ bankruptcy estates unless and until released from escrow to the Trustee pursuant to an

 Order of this Court.

         10.         The Stalking Horse Bidder is a Qualified Bidder and the Stalking Horse Bid is a

 Qualified Bid for all purposes.

 III.    Auction

         11.         The Trustee is authorized, subject to the terms of this Order and the Bidding

 Procedures, to take actions reasonably necessary, in the discretion of the Trustee, to conduct and

 implement the Auction.

         12.         Only the Trustee (and his professionals and advisors), and any Qualified Bidder, in

 each case, along with their representatives and counsel, or such other parties as the Trustee shall

 determine, shall attend the Auction and only such Qualified Bidders will be entitled to make Bids

 at the Auction. Pursuant to the Hawk Settlement, the Secured Creditors shall be deemed to be a

 Qualified Bidder for all purposes under the Bid Procedures.

         13.         The Trustee and his professionals shall direct and preside over the Auction and the

 Auction shall be transcribed. Other than as expressly set forth in this Order or the Bidding

 Procedures, the Trustee may conduct the Auction in the manner he reasonably determines will

 result in the highest or otherwise best Qualified Bid.

         14.         Each Qualified Bidder participating in the Auction must confirm on the record that

 it (a) has not engaged in any collusion with respect to the bidding or sale of any of the Assets

 described herein, (b) has reviewed, understands and accepts the Bidding Procedures; and (c) has

 consented to the core jurisdiction of this Court and to the entry of a final order by this Court on

 any matter related to this Order, the Sale, or the Auction if it is determined that this Court would

 lack Article III jurisdiction to enter such a final order or judgment absent the consent of the parties.



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         15.         The Trustee may (a) select, in its business judgment, pursuant to the Bidding

 Procedures, the overall highest or otherwise best Qualified Bid and the Successful Bidder, and (b)

 reject any bid that, in the Trustee’s business judgment, is (i) inadequate or insufficient, (ii) not in

 conformity with the requirements of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules,

 or the Bidding Procedures, or (iii) contrary to the best interests of the Debtors, their respective

 estates, their creditors, and parties-in-interest.

 IV.     Sale Hearing Notice and Related Relief

         16.         The Sale Notice is hereby approved. On or before November 20, 2024 (the

 “Mailing Date”), the Trustee will cause the Sale Notice to be served on: (a) any party that has

 filed a notice of appearance in these Chapter 11 cases; (b) any entity on the Master Service List;

 (c) any parties known or reasonably believed to have expressed an interest in the Assets or any

 portion thereof; (d) all entities known or reasonably believed to have asserted a lien, encumbrance,

 claim, or other interest in the Assets; (e) all parties to executory contracts and unexpired leases to

 be assumed and assigned, or rejected as part of the Sale; (f) all applicable state and local taxing

 authorities; and (g) any governmental agency that has a reasonably known interest with respect to

 the Sale and transactions proposed thereunder.

 V.      Assumption and Assignment Procedures

         17.         The procedures set forth below regarding the assumption and assignment of the

 executory contracts and unexpired leases proposed to be assumed by the Successful Bidder

 pursuant to section 365(b) of the Bankruptcy Code and assigned to the Successful Bidder pursuant

 to section 365(f) of the Bankruptcy Code in connection with the Sale (the “Assumption

 Procedures”) are hereby approved to the extent set forth herein.

         18.         The Assumption Procedures shall govern the assumption and assignment of all of



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 the Debtors’ executory contracts and unexpired leases to be assumed and assigned in connection

 with the Sale under the Asset Purchase Agreement (each, an “Assigned Contract,” and,

 collectively, the “Assigned Contracts”), subject to the payment of any payments necessary to cure

 any defaults arising under any Assigned Contract (the “Cure Payments”), the provision of

 adequate assurance by the Debtors or the Successful Bidder, as applicable, that Buyer will

 promptly cure any non-monetary defaults existing prior to the Closing under the Assigned

 Contracts, and the provision of adequate assurance of future performance by the Successful Bidder

 under the Assigned Contracts:

                     a.   Contract Assumption Notice: On November 21, 2024 (the “Assumption

 and Assignment Service Deadline”), the Trustee shall serve a notice of contract assumption in

 substantially the form attached hereto as Exhibit 3 (the “Contract Assumption Notice”) via

 overnight delivery on all counterparties to all potential Assigned Contracts and provide a copy of

 the same to the Secured Creditors and their counsel. The Contract Assumption Notice shall inform

 each recipient of the timing and procedures relating to such assumption and assignment, and, to

 the extent applicable, (i) the title of the executory contract or unexpired lease, as applicable, (ii)

 the name of the counterparty to the executory contract or unexpired lease, as applicable, (iii) the

 Trustee’s good faith estimates of the Cure Payments required in connection with the executory

 contract or unexpired lease, as applicable, and (iv) the Sale Objection Deadline; provided,

 however, that service of a Contract Assumption Notice does not constitute an admission that any

 contract is an executory contract or unexpired lease, as applicable, or that the stated Cure Payment

 related to any executory contract or unexpired lease constitutes a claim against the Debtors’ estates.

 Further, the inclusion of an executory contract or unexpired lease, as applicable, on the Contract

 Assumption Notice is not a guarantee that such executory contract or unexpired lease, as



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 applicable, will ultimately be assumed and assigned.

                     b.   Cure Payments and Adequate Assurance of Future Performance: The

 payment of the applicable Cure Payments by Successful Bidder, as applicable, the provision of

 adequate assurance by the Successful Bidder, as applicable, that they will promptly cure any non-

 monetary defaults existing prior to the Closing under the Assigned Contracts, and the provision of

 adequate assurance of future performance by the Successful Bidder under the Assigned Contracts

 shall (i) effect a cure of all defaults existing thereunder, and (ii) compensate for any actual

 pecuniary loss to such counterparty resulting from such default.

                     c.   Supplemental Contract Assumption Notice: Pursuant to the terms of the

 Stalking Horse APA or the Modified APA, as applicable, or as otherwise agreed by the Trustee

 and the Successful Bidder, at any time after the Assumption and Assignment Service Deadline and

 prior to one (1) business day before Closing, the Successful Bidder has the right to (i) supplement

 the list of Assigned Contracts with previously omitted executory contracts and/or unexpired leases

 (“Additional Assigned Contracts”), (ii) remove Assigned Contracts from the list of executory

 contracts and unexpired leases ultimately selected as Assigned Contracts that a Successful Bidder

 proposes to be assumed and assigned to it in connection with a Sale (“Removed Assigned

 Contracts”), and/or (iii) modify the previously stated Cure Payment associated with any Assigned

 Contracts.

                     d.   Objections: Objections, if any, to the proposed assumption and assignment

 or the Cure Payment proposed with respect thereto, must (i) be in writing, (ii) comply with the

 applicable provisions of the Bankruptcy Rules and the Local Bankruptcy Rules, (iii) state with

 specificity the nature of the objection and, if the objection pertains to the proposed amount of the

 Cure Payment, the correct cure amount alleged by the objecting counterparty, together with any



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 applicable and appropriate documentation in support thereof, and (iv) be filed with the Court and

 served upon, so as to be actually received by counsel to the Trustee and the Successful Bidder or

 the Stalking Horse Bidder (as applicable) on or before seven (7) days after service of the Contract

 Assumption Notice (the “Cure Objection Deadline”), or such deadline set forth in the

 Supplemental Assumption Notice. Objections to assumption and assignment solely with respect

 to the adequate assurance of future performance from the Successful Bidder, however, must be

 received before the start of the Sale Hearing, or such deadline set forth in the Supplemental

 Assumption Notice. Any party failing to timely file an objection to the cure amount, the proposed

 assumption and assignment of an Assigned Contract or Additional Assigned Contract listed on the

 Contract Assumption Notice or Supplemental Assumption Notice, as applicable, or the Sale is

 deemed to have consented to (a) such Cure Payment, (b) the assumption and assignment of such

 Assigned Contract or Additional Assigned Contract (including the adequate assurance of future

 performance), (c) the related relief requested in the Motion, and (d) the Sale. Such party shall be

 forever barred and estopped from objecting to the Cure Payment, the assumption and assignment

 of the Assigned Contract, or Additional Assigned Contract, adequate assurance of future

 performance, the relief requested in the Motion, whether applicable law excuses such counterparty

 from accepting performance by, or rendering performance to, the Successful Bidder, as applicable,

 for purposes of section 365(c)(1) of the Bankruptcy Code and from asserting any additional cure

 or other amounts against the Debtors and the Successful Bidder, as applicable, with respect to such

 party’s Assigned Contract or Additional Assigned Contract.

         19.         The Trustee shall have no liability or obligation with respect to defaults relating to

 the Assigned Contracts arising, accruing, or relating to a period on or after the effective date of

 assignment, or for the payment of any cure costs.



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 VI.        Other Related Relief

            20.      Any objections to the entry of this Order and the relief granted herein that have not

 been withdrawn, waived, resolved or settled, and all reservations of rights included therein, are

 hereby expressly overruled.

            21.      The Trustee shall have no personal liability for any obligations of the Debtors’

 estates.

            22.      Any obligations of the Debtors set forth in this Order and any Asset Purchase

 Agreement that are intended to be performed by the Trustee prior to the Sale Hearing and/or entry

 of the Sale Order are authorized as set forth herein.

            23.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

 are immediately effective and enforceable upon its entry.

            24.      To the extent the provisions of this Order are inconsistent with the provisions of

 any exhibits referenced herein or with the Motion, the provisions of this Order shall control.

            25.      The Trustee is authorized to take all actions necessary to effectuate the relief

 granted in this Order in accordance with the Motion.

            26.      The Stalking Horse Bidder or its designee has standing to seek to enforce the terms

 of this Order.

            27.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.



                                                   BY THE COURT:


  Date: Nov. 20, 2024                              __________________________________
                                                   Honorable Ashely M. Chan
                                                   Chief United States Bankruptcy Judge


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                                      Exhibit 1
                                 Bidding Procedures




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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                         :
     In re:                                              :   Chapter 11
                                                         :
     Stream TV Networks, Inc., et al.                    :   Bankruptcy No. 23-10763 (AMC)
                                                         :
                              Debtors.                   :   (Jointly Administered)1
                                                         :

                                          BIDDING PROCEDURES

        On March 15, 2023, (the “Petition Date”), Stream TV Networks, Inc. (“Stream”) and
 Technovative Media, Inc (“Technovative” and collectively with Stream, the “Debtors”) filed their
 voluntary petitions for relief under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C.
 §§ 101 et seq. (the “Bankruptcy Code”), in the Bankruptcy Court for the Eastern District of
 Pennsylvania (the “Court”).

         On January 9, 2024, William A. Homony was appointed as Chapter 11 Trustee of the
 Debtors’ estates (the “Trustee”) in order to determine, inter alia, if it would be beneficial to pursue
 a sale of substantially all of the Debtors’ Assets.

         On XXXXX, 2024, the Court entered an order [Docket No. [WW]] (the “Bidding
 Procedures Order”)2 approving, among other things, these bidding procedures (the “Bidding
 Procedures”) and the Stalking Horse APA , pursuant to which SeeCubic, Inc. (the “Stalking
 Horse Bidder”) has committed to provide a credit bid, pursuant to section 363(k) of the
 Bankruptcy Code in the amount of $150,000,000.00 in partial satisfaction of the Allowed Secured
 Claim (as defined in the Stalking Horse APA) (the “Stalking Horse Bid”) pursuant to the terms
 of the Hawk Settlement. Pursuant to the Bidding Procedures, the Stalking Horse Bid is subject to
 higher or better offers, the outcome of the Auction (as defined herein) if one is needed, and
 approval of the Court.

         These Bidding Procedures set forth, among other things, (i) the procedures for bidders to
 submit bids for an investment in, or other acquisition of, the Debtors’ Assets pursuant to an order
 of the Bankruptcy Court approving such transaction (the “Sale”); (ii) the manner in which bidders
 and bids become Qualified Bidders and Qualified Bids; (iii) the process for negotiating the bids
 received; (iv) the process by which the Trustee is authorized to conduct the auction (“Auction”)
 for the Sale; (v) the procedure for the ultimate selection of any Successful Bidder; and (vi) the
 process for approval of a potential Sale at a Sale Hearing (each as defined herein).



 1
   On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).
 2
   All terms used but not otherwise defined herein shall have the meanings ascribed to them in the motion for approval
 of the Bidding Procedures (the “Motion”).


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        Pursuant to these Bidding Procedures, the Trustee and his advisors shall (i) determine
 whether any person is a Qualified Bidder (as defined below), (ii) coordinate the efforts of Potential
 Bidders (as defined below) in conducting their due diligence activities, (iii) receive offers from
 Potential Bidders, and (iv) negotiate any offers made to acquire the Assets.

 The key dates for the sale process are as follows:

     Date/Time                                                 Event
     November 22, 2024 at 4:00 P.M. prevailing                 Sale Objection Deadline3
     Eastern Standard Time
     November 29, 2024 at 4:00 P.M. prevailing                 Sale Objection Response Deadline
     Eastern Standard Time
     December 2, 2024 at 12:00 P.M. prevailing                 Bid Deadline - Due Date for Bids and
     Eastern Standard Time                                     Deposits
     December 3, 2024 at 10:00 A.M. prevailing                 Auction
     Eastern Standard Time
     At the Sale Hearing                                       Supplemental Limited Sale Objection
                                                               Response Deadline
     December 4, 2024 at 1:00 P.M.. prevailing                 Sale Hearing
     Eastern Standard Time
     December 10, 2024                                         Closing


                                                   Due Diligence

 Access to Diligence Materials

        To participate in the bidding process and to receive access to due diligence (the “Diligence
 Materials”), a party interested in acquiring the Debtors’ Assets must submit to the Trustee (i) an
 executed nondisclosure agreement in such form reasonably satisfactory to the Trustee, (ii)
 reasonable evidence demonstrating the party’s financial capability to consummate a Sale as
 reasonably determined by the Trustee, and (iii) a statement that such party has a bona fide interest
 in submitting a bid. A party who qualifies for access to Diligence Materials pursuant to these
 Bidding Procedures shall be a “Potential Bidder.” The Secured Creditors will be deemed a
 Potential Bidder at all times.

         The Trustee will afford any Potential Bidder the time and opportunity to conduct
 reasonable due diligence, as determined by the Trustee, access to the electronic data room and
 other information that a Potential Bidder may reasonably request; provided, however, that the
 Trustee shall not be obligated to furnish any due diligence information after the Bid Deadline to
 any party that has not submitted a Qualified Bid (as defined below). The availability of additional
 due diligence to a Qualified Bidder will cease on the date of the Auction; provided, however, that
 the Successful Bidder shall be permitted to continue to conduct due diligence until the Closing of

 3
  This deadline applies to all objections to the Sale Motion as well as the Sale of the Assets with the exception of
 objections solely related to the identity of the Successful Bidder and adequate assurance of future performance by the
 Successful Bidder.

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 the Sale (subject to the terms of the Successful Bidder Asset Purchase Agreement (as defined
 below)). The Trustee reserves the right to withhold any Diligence Materials that the Trustee
 determines are not appropriate for disclosure to a Potential Bidder who is a competitor of the
 Debtors or is affiliated with any competitor of the Debtors. Neither the Trustee nor its
 representatives shall be obligated to furnish information of any kind whatsoever to any person that
 is not determined to be a Potential Bidder.

         Each Potential Bidder will be deemed to acknowledge and represent it (a) has had an
 opportunity to conduct any and all due diligence regarding the Debtors’ Assets and liabilities that
 are the subject of the Auction prior to making any such bid, (b) has relied solely upon its own
 independent review, investigation, and/or inspection of any documents and/or the assets in making
 its bid, and (c) did not rely upon any written or oral statements, representations, promises,
 warranties, or guaranties whatsoever, whether express, implied, by operation of law, or otherwise
 regarding the Debtors’ assets or liabilities, or the completeness of any information provided in
 connection therewith, except as expressly stated in these Bidding Procedures.

         All due diligence requests must be directed to the Trustee’s investment banker, J. Scott
 Victor, Managing Director, SSG Capital Advisors, LLC; 300 Barr Harbor Drive, Suite 420, West
 Conshohocken, PA 19428: Direct: 610-940-5802; Mobile: 215-816-8118; jsvictor@ssgca.com.

 Due Diligence from Potential Bidders

        Each Potential Bidder shall comply with all reasonable requests for additional information
 and due diligence access by the Trustee or his advisors regarding the ability of such Potential
 Bidder to consummate its transaction. Failure to comply with such reasonable requests for
 additional information and due diligence access may be a basis for the Trustee to determine that
 such bidder (including any Qualified Bidder) is no longer a Potential Bidder or that the Bid made
 by such bidder will not be considered a Qualified Bid.

                              Designation of Stalking Horse Bidder

         The Trustee is authorized to name SeeCubic, Inc. (“SCI”) as the Stalking Horse Bidder,
 (as defined in the Sale Motion) in connection with the Auction and enter into the stalking horse
 APA (a “Stalking Horse APA”; the Bid memorialized by the Stalking Horse APA, the “Stalking
 Horse Bid”) with no bid protections.

                            Communications with Potential Bidders

         There must be no communications between and among Potential Bidders unless the Trustee
 has previously authorized such communication in writing or with the participation of the Trustee
 or the Trustee’s advisors, and each Potential Bidder shall be deemed to have so represented to the
 Trustee and the Court. The Trustee reserves the right, in his reasonable business judgment, to
 disqualify any Potential Bidder(s) that have communications between and among themselves
 without the participation of the Trustee or the Trustee’s prior written consent.




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                                                    Bid Deadline

         The Trustee shall assist Potential Bidders in conducting their respective due diligence
 investigations and shall accept Bids (as defined below) until December 2, 2024, at 12:00 p.m.
 (prevailing Eastern Standard Time) (the “Bid Deadline”) to acquire the Assets.

        Parties interested in becoming a Qualified Bidder for Debtors’ Assets are encouraged to
 submit a Qualified Bid to the Trustee’s Investment Banker: J. Scott Victor and Teresa C. Kohl,
 Managing Directors, SSG Advisors, LLC; 300 Barr Harbor Drive, Suite 420, West Conshohocken,
 PA 19428: Direct: 610-940-5802; J. Scott Victor Mobile: 215-816-8118 and Teresa C. Kohl
 Mobile: 215-280-6766; jsvictor@ssgca.com and tkohl@ssgca.com.

         The submission of a Bid by the Bid Deadline shall constitute a binding and irrevocable
 offer to acquire the assets specified in such Bid. Any party that does not submit a Bid by the Bid
 Deadline will not be allowed to (i) submit any offer after the Bid Deadline or (ii) participate in any
 Auction.

        No later than the Bid Deadline, a Potential Bidder that desires to make a bid to consummate
 the Sale shall deliver written copies of its Bid (as defined below) in electronic format to: (i) the
 Trustee (bhomony@mctllp.com); (ii) counsel to the Trustee, Obermayer Rebmann Maxwell &
 Hippel LLP (edmond.george@obermayer.com); (iii) investment banker to the Trustee, J. Scott
 Victor and Teresa C. Kohl, Managing Directors, SSG Capital Advisors, LLC; 300 Barr Harbor
 Drive, Suite 420 West Conshohocken, PA 19428: Direct: 610-940-5802; J. Scott Victor, Mobile:
 215-816-8118 and Teresa C. Kohl Mobile: 215-280-6766; jsvictor@ssgca.com and
 tkohl@ssgca.com; and (iv) Office of the United States Trustee.

         The Trustee may extend the Bid Deadline without further order of the Bankruptcy Court,
 subject to providing notice to all Potential Bidders and the Stalking Horse Bidder.

                                    Determination of Qualified Bid Status

         To be eligible for consideration as a Qualified Bid and to participate in the Auction, each
 Potential Bidder must deliver to the Trustee, his counsel and his advisors, a written, irrevocable,
 signed offer (each, a “Bid”) prior to the Bid Deadline that must be determined by the Trustee, in
 its business judgment, to satisfy each of the following conditions; provided, that for the avoidance
 of doubt, the Stalking Horse Bid is a Qualified Bid, and the Stalking Horse Bidder is a Qualified
 Bidder:4

          a.         Good Faith Offer: Each Bid must constitute a good faith, bona fide offer to
                     purchase all or certain of the Assets (it being understood that partial bids may be
                     permitted only if the combined consideration thereof satisfies the requirements of
                     a Minimum Bid, as defined below).


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   The Trustee may, in his sole and exclusive discretion, waive any of the following requirements for a Bid to constitute
 a Qualified Bid to the extent reasonably necessary to promote bids and a robust Auction so long as any such waiver
 is not materially inconsistent with these Bidding Procedures.

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         b.          Good Faith Deposit: Each Bid must be accompanied by a deposit in the amount
                     of ten percent (10%) of the total Purchase Price (as defined in the Modified APA
                     (as defined below)), before any reductions for assumed liabilities (the “Good Faith
                     Deposit”). The Good Faith Deposit shall come in the form of a wire transfer,
                     certified check or other form acceptable to the Trustee, in his sole and exclusive
                     discretion. Each Good Faith Deposit will be deposited and held in one or more non-
                     interest-bearing accounts by the Trustee but shall not become property of the
                     Debtors’ estates absent further Order of the Bankruptcy Court. Wire instructions
                     will be provided by the Trustee upon request.

         c.          Executed Agreement: Each Bid must include an executed Asset Purchase
                     Agreement (a “Modified APA”) substantially in the form of the Stalking Horse
                     APA, and any necessary transaction documents, signed by an authorized
                     representative of such Potential Bidder, pursuant to which the Potential Bidder
                     proposes to effectuate the acquisition of substantially all of the Assets of the
                     Debtors. Each Bid must also include a copy of the Modified APA marked against
                     the Stalking Horse APA to show all changes requested by the Potential Bidder
                     (including those related to the assumption and assignment of executory contracts
                     and unexpired leases, and other material terms such that the Trustee may determine
                     how such Bid compares to the terms of the Stalking Horse APA and competing
                     Bids). Each Modified APA must provide a commitment to close within two (2)
                     business days after all closing conditions are met, but in no event later than
                     December 10, 2024.

         d.          Purchase Price: Each Bid must clearly identify the purchase price to be paid (the
                     “Purchase Price”) and identify how much of the Bid is being paid in cash. The
                     non-cash component of the Bid, if any, shall be backed by a letter of credit or other
                     security, over which the Secured Creditors shall have consultation rights as to the
                     sufficiency and form of such security.

         e.          Minimum Bid: Qualified Bids must bid a minimum consideration equal to the
                     Stalking Horse Bid, plus a minimum overbid amount equal to or greater than
                     $250,000.00.

         f.          Cash Requirements: Each Bid must provide evidence of the ability to pay the cash
                     portion of the Bid in cash in full. To the extent the Bid contains cash and non-cash
                     portions, the allocations shall be identified in the Bid. If a non-cash portion is part
                     of the Bid, the cash portion must be a minimum of $120,000,000.00. For the
                     avoidance of doubt, the Secured Creditors shall have consultation rights with
                     respect to the sufficiency of any non-cash component of the Purchase Price
                     included in any Bid, as agreed upon and approved as part of the Hawk Settlement.
         g.          Designation of Assigned Contracts and Leases: A Bid must identify any and all
                     executory contracts and unexpired leases of the Debtors that the Potential Bidder
                     wishes to be assumed and assigned pursuant to a Sale. A Bid must specify whether
                     the Debtors or the Potential Bidder will be responsible for any cure costs associated



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                     with such assumption and assignment, and include a good faith estimate of such
                     cure costs.

         h.          Designation of Assumed Liabilities: A Bid must identify all liabilities which the
                     Potential Bidder proposes to assume.

         i.          Corporate Authority: A Bid must include written evidence reasonably acceptable
                     to the Trustee demonstrating appropriate entity authorization to consummate the
                     proposed Sale; provided that, if the Potential Bidder is an entity specially formed
                     for the purpose of effectuating the Sale, then the Potential Bidder must furnish
                     written evidence reasonably acceptable to the Trustee of the approval of the Sale
                     by the equity or interest holder(s) of such Potential Bidder.

         j.          Disclosure of Identity of Potential Bidder: A Bid must fully disclose the identity
                     of each entity that will be bidding for or purchasing the Assets or otherwise
                     participating in connection with such Bid (including the identity of any parent
                     equity holders or other financial backers of such entity), and the complete terms of
                     any such participation, including any connections, agreements, arrangements or
                     understandings with the Debtors, or any other known, potential, prospective bidder,
                     or Potential Bidder, or any officer, director, shareholder or member of the Debtors.

         k.          Disclosure of Connections: A Bid must fully disclose any connections or
                     agreements the Potential Bidder and any of its officers and/or directors have with
                     the Debtors, their affiliates, any other known Potential Bidder, and/or any officer,
                     director or equity holder of the Debtors.

         l.          Proof of Financial Ability to Perform: A Bid must include written evidence that
                     the Trustee may reasonably conclude, in consultation with his advisors,
                     demonstrates that the Potential Bidder has the necessary financial wherewithal to
                     timely consummate a Sale including the amount of any Overbid and must further
                     contain information that can be publicly filed and/or disseminated providing
                     adequate assurance of future performance of all executory contracts and unexpired
                     leases to be assumed and assigned in such Sale. Such information must include the
                     following:

                     (1)    a statement that the Potential Bidder is financially capable of consummating
                            the transaction contemplated by the Alternative APA;
                     (2)    contact names and numbers for verification of financing sources;
                     (3)    written evidence of the Potential Bidder’s internal resources and proof of
                            any debt funding commitments from a recognized banking institution and,
                            if applicable, equity commitments in an aggregate amount equal to the cash
                            portion of such Bid or the posting of an irrevocable letter of credit from a
                            recognized banking institution issued in favor of the Debtors’ estates in the
                            amount of the cash portion of such Bid, in each case, as are needed to close
                            the Sale;



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                     (4)    the Potential Bidder’s most current audited (if any) and latest unaudited
                            financial statements or, if the bidder is an entity formed for the purpose of
                            making a bid, the current audited (if any) and latest unaudited financial
                            statements of the equity holder(s) of the bidder or such other form of
                            financial disclosure, and a guaranty from such equity holder(s);
                     (5)    a description of the Potential Bidder’s pro forma capital structure;
                     (6)    evidence of letters of credit or other forms of security to support any non-
                            cash component of the Purchase Price, with respect to which the Secured
                            Creditors shall have consultation rights over the sufficiency thereof; and
                     (7)    any such other form of financial disclosure or credit-quality support
                            information or enhancement reasonably acceptable to the Trustee
                            demonstrating that such Potential Bidder has the ability to promptly close
                            the Sale.

         m.          Conditions/Contingencies: Except as provided in the Stalking Horse APA, a Bid
                     must not be subject to material conditions or contingencies to closing, including
                     without limitation obtaining financing, internal approvals or further due diligence.

         n.          Bid Irrevocable: A Bid must provide that it is irrevocable until two (2) business
                     days after the closing of the Sale. Each Potential Bidder further agrees that its Bid,
                     if not chosen as the Successful Bidder, shall serve, without modification, as a
                     Backup Bidder (as defined below) as may be designated by the Trustee at the Sale
                     Hearing, in the event the Successful Bidder fails to close as provided in the
                     Successful Bidder Asset Purchase Agreement, if at all, and the Sale Order.

         o.          As-Is, Where-Is: A Bid must include the following disclaimer: EXCEPT AS
                     EXPRESSLY SET FORTH IN THIS AGREEMENT OR ANY ANCILLARY
                     DOCUMENT DELIVERED BY TRUSTEE PURSUANT TO THIS
                     AGREEMENT (I) THE TRUSTEE MAKES NO REPRESENTATION OR
                     WARRANTY, EXPRESS OR IMPLIED, AT LAW OR IN EQUITY, RELATING
                     TO THE ASSETS OR THE ASSUMED LIABILITIES, INCLUDING ANY
                     REPRESENTATION         OR      WARRANTY           AS      TO     VALUE,
                     MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE OR FOR
                     ORDINARY PURPOSES, OR ANY OTHER MATTER, (II) THE TRUSTEE
                     MAKES NO, AND HEREBY DISCLAIM ANY, OTHER REPRESENTATION
                     OR WARRANTY REGARDING THE ASSETS OR THE ASSUMED
                     LIABILITIES, AND (III) THE ASSETS AND THE ASSUMED LIABILITIES
                     ARE CONVEYED ON AN “AS IS, WHERE IS” BASIS AS OF THE CLOSING,
                     AND THE BUYER SHALL RELY UPON ITS OWN EXAMINATION
                     THEREOF. WITHOUT LIMITING THE GENERALITY OF THE FOREGOING,
                     THE TRUSTEE MAKES NO REPRESENTATION OR WARRANTY
                     REGARDING ANY ASSET.

         p.          Time Frame for Closing: A Bid by a Potential Bidder must be reasonably likely
                     to be consummated, if selected as the Successful Bid, within a time frame



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                     acceptable to the Trustee, which in no event shall be later than [December 10],
                     2024.

         q.          Consent to Jurisdiction: Each Potential Bidder must (i) submit to the jurisdiction
                     of the Bankruptcy Court to enter an order or orders, which shall be binding in all
                     respects, in any way related to the Debtors, the Bidding Procedures, the Auction,
                     any Modified APA, or the construction and enforcement of documents relating to
                     any Sale, (ii) waive any right to a jury trial in connection with any disputes relating
                     to the Debtors the Bidding Procedures, the Auction, any Modified APA, or the
                     construction and enforcement of documents relating to any Sale, and (iii) commit
                     to the entry of a final order or judgment in any way related to the Debtors, the
                     Bidding Procedures, the Auction, any Modified APA, or the construction and
                     enforcement of documents relating to any Sale if it is determined that the
                     Bankruptcy Court would lack Article III jurisdiction to enter such a final order or
                     judgment absent the consent of the parties.

         r.          No Bid Protections: A Bid must not entitle the Potential Bidder to any break-up
                     fee, termination fee, transaction fee, expense reimbursement, or any similar type of
                     payment or reimbursement and, by submitting a Bid, the Potential Bidder waives
                     the right to pursue a substantial contribution claim under 11 U.S.C. § 503 related in
                     any way to the submission of its Bid or participation in any Auction. Each Potential
                     Bidder presenting a Bid will bear its own costs and expenses (including legal fees)
                     in connection with any proposed Sale.

         s.          Representations and Warranties: A Bid must include the following
                     representations and warranties:
                     i.     a statement that the Potential Bidder has had an opportunity to conduct any
                            and all due diligence regarding the applicable assets prior to submitting its
                            Bid;
                     ii.    a statement that the Potential Bidder has relied solely upon its own
                            independent review, investigation, and/or inspection of any relevant
                            documents and the assets in making its Bid and did not rely on any written
                            or oral statements, representations, promises, warranties, or guaranties
                            whatsoever, whether express or implied, by operation of law or otherwise,
                            regarding the assets or the completeness of any information provided in
                            connection therewith, except as expressly stated in the representations and
                            warranties contained in the Potential Bidder’s Modified APA ultimately
                            accepted and executed by the Trustee;
                     iii.   a statement that the Potential Bidder agrees to serve as Back-Up Bidder, if
                            its Bid is selected as the next highest or next best bid after the Successful
                            Bid with respect to the applicable assets;
                     iv.    a statement that the Potential Bidder has not engaged in any collusion with
                            respect to the submission of its Bid;
                     v.     a statement that all proof of financial ability to consummate a Sale
                            Transaction in a timely manner and all information provided to support
                            adequate assurance of future performance is true and correct; and


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                     vi.   a statement that the Potential Bidder agrees to be bound by the terms of the
                           Bidding Procedures.

                            Review of Bids; Designation of Qualified Bids

         A Bid received from a Potential Bidder that meets the above requirements, as determined
 by the Trustee (in consultation with the Secured Creditors, as set forth above), shall constitute a
 “Qualified Bid” for such Assets (and such Potential Bidder, a “Qualified Bidder”); provided that
 if the Trustee receives a Bid prior to the Bid Deadline that is not a Qualified Bid, the Trustee (in
 consultation with the Secured Creditors) may provide the Potential Bidder with the opportunity to
 cure or remedy any deficiencies prior to the Bid Deadline; provided further, that the Stalking Horse
 Bid is a Qualified Bid and the Stalking Horse Bidder is a Qualified Bidder.

         On or before December 2, 2024, at 6:00 P.M. (prevailing Eastern Standard Time), the
 Trustee and his advisors (in consultation with the Secured Creditors), will determine which
 Potential Bidders are Qualified Bidders and will notify the Potential Bidders whether Bids
 submitted constitute Qualified Bids so as to enable such Qualified Bidders to bid at the Auction.
 Any Bid that is not deemed a Qualified Bid will not be considered by the Trustee. To the extent
 there is any dispute regarding whether a bidder is a Qualified Bidder, such dispute may be raised
 with the Bankruptcy Court on an expedited basis prior to the commencement of the Auction.

         Prior to the Auction, the Trustee and its advisors will evaluate Qualified Bids and identify
 the Qualified Bid that is, in the Trustee’s reasonable business judgment the highest or otherwise
 best bid (the “Starting Bid”). The Starting Bid may be the bid of the Stalking Horse Bidder or
 any other higher or better Qualified Bid. In making such determination, the Trustee will take into
 account, among other things, the execution risk attendant to any Qualified Bids. On or before
 December 2, 2024, at 11:59 P.M. (prevailing Eastern Standard Time), the Trustee will (i) notify
 the Qualified Bidders as to which Qualified Bid is the Starting Bid, and (ii) distribute copies of the
 Starting Bid to each Qualified Bidder who has submitted a Qualified Bid.

        If any Bid is determined by the Trustee not to be a Qualified Bid, the Trustee will refund
 such Potential Bidder’s Good Faith Deposit on or within ten (10) business days after the Bid
 Deadline.

         By submitting its Bid, each Potential Bidder is agreeing with each other Potential Bidder
 to abide by and honor the terms of these Bidding Procedures and agrees not to submit a Bid or
 seek to reopen the Auction after the Auction.

         Without the written consent of the Trustee, a Qualified Bidder may not modify, amend, or
 withdraw its Qualified Bid, except for proposed amendments to increase the Purchase Price or
 otherwise improve the terms of the Qualified Bid during the period that such Qualified Bid remains
 binding as specified herein; provided, that any Qualified Bid may be improved at the Auction as
 set forth in these Bidding Procedures.




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                                               Auction

         If two or more Qualified Bids are received by the Bid Deadline, the Trustee will conduct
 an auction (the “Auction”) to determine the highest and otherwise best Qualified Bid. This
 determination shall take into account any factors the Trustee reasonably deems relevant to the
 value of the Qualified Bid to the estate and may include, but are not limited to, the following: (a)
 the amount and nature of the consideration, including any assumed liabilities; (b) the number, type
 and nature of any changes to the Stalking Horse APA requested by each Qualified Bidder; (c) the
 extent to which such modifications or provisions are likely to delay closing of the sale of the
 Debtors’ Assets and the cost to the Debtors’ estates of such modifications or delay; (d) the total
 consideration to be received by the Debtors; (e) the likelihood the Qualified Bidder can close the
 transaction timely; and (f) any other qualitative or quantitative factor the Trustee deems reasonably
 appropriate under the circumstances (collectively, the “Bid Assessment Criteria”).
 Notwithstanding anything herein to the contrary, the Trustee may select a combination of Qualified
 Bids for the Assets, in any combination that yields the highest and best value for the Debtors’
 respective estates.

         If no Qualified Bid (other than the Stalking Horse Bid) is received by the Bid Deadline,
 the Trustee will not conduct the Auction, and shall file a notice with the Bankruptcy Court
 indicating that no Auction will be held and that the Stalking Horse Bid shall be deemed the
 “Successful Bid” (and the Stalking Horse Bidder, the “Successful Bidder”), as otherwise defined
 below and as used in the Bidding Procedures Motion.

                                      Procedures for Auction

        If the Trustee receives two (2) or more Qualified Bids, the Auction shall take place on
 December 3, 2024, at 10:00 A.M. (EST) at the offices of Obermayer Rebmann Maxwell & Hippel
 LLP, Centre Square West, 1500 Market Street, Suite 3400, Philadelphia, PA 19102, or such other
 place and time as determined by the Trustee. The Auction may be postponed, adjourned or
 cancelled as the Trustee deems appropriate, in consultation with the Secured Creditors, provided
 the Trustee provides notice of such postponement or adjournment and the time and place for the
 commencement of the Auction. The Auction shall be conducted according to the following
 procedures:

 Participation

         Only the Trustee, his advisors, and any Qualified Bidder that has submitted a Qualified
 Bid, in each case, along with their representatives and counsel, or such other parties as the Trustee
 shall determine shall attend the Auction and only such Qualified Bidders will be entitled to make
 any Bids at the Auction.




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 The Trustee Shall Conduct the Auction

         The Trustee and his professionals shall direct and preside over the Auction and the Auction
 shall be transcribed. Other than as expressly set forth herein, the Trustee may conduct the Auction
 in the manner he reasonably determines will result in the highest or otherwise best Qualified Bid.
 The Trustee shall provide each participant in the Auction with a copy of the Modified APA or
 Stalking Horse APA, as applicable, associated with the Starting Bid. In addition, at the start of the
 Auction, the Trustee shall describe the terms of the Starting Bid. Each Qualified Bidder
 participating in the Auction must confirm, both before and after the Auction, that it (a) has not
 engaged in any collusion with respect to the bidding or sale of any of the Assets described herein,
 and (b) has reviewed, understands and accepts the Bidding Procedures.

         All Qualified Bidders may submit further Bids, along with a markup or a further markup
 of the applicable APA. The Auction will be conducted in rounds. At any time, a Qualified Bidder
 may request that the Trustee announce the current highest and best bid. If requested, the Trustee
 shall use reasonable efforts to clarify any and all questions any Qualified Bidder may have
 regarding the Trustee’s announcement of the Starting Bid or the then current and highest bid.

        The Trustee may announce at the Auction additional procedural rules that are reasonable
 under the circumstances for conducting the Auction so long as such rules are not inconsistent with
 the Bidding Procedures.

 Overbids

         An “Overbid” is any bid made at the Auction subsequent to the Trustee’s announcement
 of the respective Starting Bid. Any Overbid for purposes of this Auction must comply with the
 following conditions:

         a.          Minimum Overbid Increments: Any Overbid after and above the respective
                     Starting Bid or any subsequent Overbid shall be made in increments valued at not
                     less than $250,000.00. The Trustee reserves the right to increase or decrease any
                     subsequent increments, after the first Overbid.

         b.          Remaining Terms Are the Same as for Qualified Bids: Except as modified
                     herein, an Overbid at the Auction must comply with the conditions for a Qualified
                     Bid set forth above, provided, however, that (i) the Bid Deadline shall not apply
                     and (ii) no additional Good Faith Deposit shall be required beyond the Good Faith
                     Deposit previously submitted by a Qualified Bidder, provided that the Successful
                     Bidder (only if the Successful Bidder is not the Stalking Horse Bidder) shall be
                     required to make a representation at the end of the Auction that it will provide any
                     additional deposit necessary so that its Good Faith Deposit is equal to the amount
                     of ten percent (10%) of the Purchase Price contained in the Successful Bid. Any
                     Overbid must include, in addition to the amount and the form of consideration of
                     the Overbid, a description of all changes requested by the Qualified Bidder to the
                     Stalking Horse APA or its Modified APA, as applicable, in connection therewith
                     (including any changes to the designated assigned executory contracts and


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                     unexpired leases and assumed liabilities). Any Overbid must remain open and
                     binding on the Qualified Bidder until and unless the Trustee accepts a higher or
                     otherwise better Overbid from another Qualified Bidder (except, to the extent
                     required hereby, to serve as the Backup Bid). At the Trustee’s discretion, to the
                     extent not previously provided, a Qualified Bidder submitting an Overbid at the
                     Auction must submit, as part of its Overbid, written evidence (in the form of
                     financial disclosure or credit-quality support information reasonably acceptable to
                     the Trustee) reasonably demonstrating such Qualified Bidder’s ability to close the
                     Sale proposed by such Overbid, and the Trustee shall consult with the Secured
                     Creditors only with respect to the sufficiency of security related to any non-cash
                     component of an Overbid submitted by any Qualified Bidder as part of the Auction.

 Announcement and Consideration of Overbids

         a.          Announcement of Overbids: The Trustee shall announce at the Auction the
                     material terms of each Overbid, the total amount of consideration offered in each
                     such Overbid, the basis for calculating such total consideration and such other terms
                     as the Trustee reasonably determines will facilitate the Auction.

         b.          Consideration of Overbids: Subject to the deadlines set forth herein, the Trustee
                     reserves the right in its reasonable business judgment to make one or more
                     continuances of the Auction to, among other things facilitate discussions between
                     the Trustee and Qualified Bidders or allow a Qualified Bidder to consider how it
                     wishes to proceed.

 Closing the Auction

        The Auction shall continue until there is one or more Qualified Bid(s) that the Trustee
 determines in his reasonable business judgment, is the highest and otherwise best Qualified Bid at
 the Auction. Thereafter, the Trustee shall select such Qualified Bid as the overall highest and
 otherwise best Qualified Bid (such Qualified Bid, the “Successful Bid,” the Qualified Bidder
 submitting such Successful Bid, the “Successful Bidder” and the Qualified Bidder’s purchase
 agreement, the “Successful Bidder Asset Purchase Agreement”). In making this decision, the
 Trustee shall consider the Bid Assessment Criteria.

         The Auction shall close when the Successful Bidder submits fully executed sale and
 transaction documents memorializing the terms of the Successful Bid. Promptly following the
 Trustee’s selection of the Successful Bid and the conclusion of the Auction, the Trustee shall
 announce the Successful Bid and Successful Bidder and shall file with the Bankruptcy Court notice
 of the Successful Bid and Successful Bidder.

         The Trustee shall not consider any Bids submitted after the conclusion of the Auction. For
 the avoidance of doubt, nothing in these Bidding Procedures shall prevent the Trustee from
 exercising its fiduciary duties under applicable law to maximize the value obtained for the Assets.




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 Designation of Backup Bidder

         Notwithstanding anything in the Bidding Procedures to the contrary, if an Auction is
 conducted, the Qualified Bidder with the next highest and otherwise best Qualified Bid at the
 Auction after the Successful Bid, as determined by the Trustee, in the exercise of its business
 judgment will be designated as the backup bidder (the “Backup Bidder”). The Backup Bidder
 shall be required to keep its initial Qualified Bid (or if the Backup Bidder submitted one or more
 Overbids at the Auction, the Backup Bidder’s final Overbid) (the “Backup Bid”) open and
 irrevocable until the date that is two (2) days after the closing of the transaction with the Successful
 Bidder (the “Outside Backup Date”).

         Following the Sale Hearing, if the Successful Bidder fails to consummate an approved
 transaction, the Backup Bidder will be deemed to maintain the new prevailing Successful Bid (and
 its purchase agreement, the Successful Bidder Asset Purchase Agreement) and the Backup Bidder
 will be deemed to be the Successful Bidder, and the Trustee will be authorized, but not required,
 without further order of the Bankruptcy Court, to consummate the Sale with the Backup Bidder.

 Sale Is As Is/Where Is

          Except as otherwise provided in the Successful Bidder Asset Purchase Agreement or the
 Sale Order, the Assets or any other assets of the Debtors sold pursuant to the Bidding Procedures,
 shall be conveyed at the closing of a transaction with a Successful Bidder in their then-present
 condition, “AS IS, WITH ALL FAULTS, AND WITHOUT ANY WARRANTY
 WHATSOEVER, EXPRESS OR IMPLIED.” Except as may be set forth in the Successful
 Bidder Asset Purchase Agreement or the Sale Order, the Assets are sold free and clear of any and
 all liens, claims, interests, restrictions, charges and encumbrances of any kind or nature to the
 fullest extent permissible under the Bankruptcy Code, with such liens, claims, interests,
 restrictions, charges, and encumbrances to attach to the net proceeds of sale with the same validity
 and with the same priority.

 Sale Objections and Hearing

        A hearing to consider approval of the Successful Bid (the “Sale Hearing”) is scheduled to
 take place on December 4, 2024, at 1:00 P.M. (prevailing Eastern Standard Time) before the
 Honorable Ashely M. Chan, Bankruptcy Judge, either telephonically or at the Courtroom 4 at the
 United States Bankruptcy Court for the Eastern District of Pennsylvania, Robert N.C. Nix Sr.
 Federal Courthouse, 900 Market Street, Philadelphia, PA 19107, or at such time thereafter as
 counsel may be heard. At the Sale Hearing, the Trustee will present the Successful Bid to the
 Bankruptcy Court for approval; provided, however, to the extent that the Successful Bid is to be
 implemented pursuant to a Plan, the Sale Hearing shall be used as a status conference.

          Objections to the Sale (each, a “Sale Objection”), shall (i) be in writing; (ii) state the name
 and address of the objecting party and the amount and nature of the claim or interest of such party;
 (iii) state with particularity the basis and nature of any objection, and provide proposed language
 that, if accepted and incorporated by the Trustee, would obviate such objection; (iv) conform to
 the Bankruptcy Rules and the Local Rules; (v) be filed with the Court (a) by registered users of


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 the Court’s case filing system, and (b) by all other parties in interest, on a CD-ROM, in text-
 searchable portable document format (PDF) (with a hard copy delivered directly to Chambers), in
 accordance with the customary practices of the Court; and (vi) be served upon (i) counsel for the
 Trustee, (ii) counsel to the Secured Creditors, and (iii) any other entity on the Master Service List
 (the “Objection Notice Parties”), by November 22, 2024 at 4:00 P.M. (prevailing Eastern
 Standard Time) (the “Sale Objection Deadline”); provided, that the Trustee may extend the Sale
 Objection Deadline, as the Trustee deems appropriate in the exercise of their reasonable business
 judgment. If a timely Sale Objection cannot otherwise be resolved by the parties, such objection
 shall be heard by the Court at the Sale Hearing.

         Objections solely based on the identity of the Successful Bidder and adequate assurance of
 future performance must be made before the start of the Sale Hearing (the “Supplemental Limited
 Sale Objection Deadline”), and must be served on the Objection Notice Parties, counsel to the
 Successful Bidder, the Successful Bidder, and the Backup Bidder.

         Each Successful Bidder shall appear at the Sale Hearing and be prepared to have a
 representative(s) testify in support of its Successful Bid and such Successful Bidder’s ability to
 close in a timely manner and provide adequate assurance of its future performance under any and
 all executory contracts and unexpired leases to be assumed and/or assigned as part of the proposed
 transaction.

         Any party who fails to file with the Court and serve on the Objection Notice Parties a Sale
 Objection, other than an objection based solely based on the identity of the Successful Bidder and
 adequate assurance of future performance, by the Sale Objection Deadline may be forever barred
 from asserting, at the Sale Hearing or thereafter, any Sale Objection to the relief requested in the
 Motion with regard to a Successful Bidder, or to the consummation and performance of a Sale
 contemplated by a purchase or investment agreement between the Trustee and each Successful
 Bidder, including the transfer of the Assets to such Successful Bidder, free and clear of all liens,
 claims, encumbrances, and other interests pursuant to section 363 of the Bankruptcy Code, and the
 assumption and assignment of executory contracts and unexpired leases.

                      Return of Good Faith Deposits of Qualified Bidders

         The Good Faith Deposits of all Qualified Bidders shall be held in one or more non-interest-
 bearing escrow accounts by the Trustee but shall not become property of the Debtors’ estates
 absent further order of the Bankruptcy Court. The Good Faith Deposit of any Qualified Bidder that
 is neither the Successful Bidder nor the Backup Bidder shall be returned to such Qualified Bidder
 not later than five (5) business days after the Sale Hearing. If the Backup Bidder is not designated
 the Successful Bidder, the Good Faith Deposit of the Backup Bidder, if any, shall be returned to
 the Backup Bidder on the date that is the Outside Backup Date. In the case of a breach or failure
 to perform on the part of the Successful Bidder (including any Backup Bidder designated as a
 Successful Bidder), the remaining portion of the defaulting Successful Bidder’s Good Faith
 Deposit shall be forfeited to the Trustee as liquidated damages, in addition to any and all rights,
 remedies and/or causes of action that may be available to the Trustee at law or in equity, and, the
 Trustee shall be free to consummate the Backup Bid with the Backup Bidder or the proposed
 transaction at the otherwise next highest price bid at the Auction by a Qualified Bidder, without


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 the need for an additional hearings or orders of the Courts. The Trustee reserves the right to seek
 all available damages, including specific performance, from any defaulting Successful Bidder
 (including any Backup Bidder designated as a Successful Bidder) in accordance with the terms of
 the Bidding Procedures. If the Successful Bidder timely closes the Sale transaction, its Good Faith
 Deposit shall be credited towards the purchase price.

                               Reservation of Rights of the Trustee

         Except as otherwise provided in the Bidding Procedures or the Bidding Procedures Order,
 and subject to the terms of the Hawk Settlement, the Trustee reserves the right as it may reasonably
 determine to be in the best interest of its estate and in the exercise of its fiduciary duty to: (a)
 determine which bidders are Qualified Bidders; (b) determine which Bids are Qualified Bids; (c)
 determine which Qualified Bid is the highest or otherwise best proposal and which is the next
 highest or otherwise best proposal; (d) reduce the Overbid amount; (e) reject any Bid that is (1)
 inadequate or insufficient, (2) not in conformity with the requirements of the Bidding Procedures
 or the requirements of the Bankruptcy Code, or (3) contrary to the best interests of the Debtors and
 their respective estates; (f) impose additional terms and conditions with respect to all potential
 bidders; (g) extend the deadlines set forth herein; and (h) continue or cancel the Auction and/or
 Sale Hearing in open court without further notice.

         Notwithstanding anything to the contrary contained herein, nothing in the Bidding
 Procedures will prevent the Trustee from considering any and all transactions, including, but not
 limited to, proposals to sponsor a plan of reorganization.

       Notwithstanding anything to the contrary contained herein, nothing in the Bidding
 Procedures will prevent the Trustee from exercising its fiduciary duties under applicable law.




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                                      Exhibit 2
                                     Sale Notice




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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :
     In re:                                             :       Chapter 11
                                                        :
     Stream TV Networks, Inc., et al.                   :       Bankruptcy No. 23-10763 (AMC)
                                                        :
                              Debtors.                  :       (Jointly Administered)1
                                                        :

      NOTICE OF AUCTION AND SALE HEARING PLEASE TAKE NOTICE OF THE
                              FOLLOWING:

         1.     On, March 15, 2023, the above-captioned Debtors and former debtors in possession
 (the “Debtors”), filed voluntary petitions for relief pursuant to chapter 11 of title 11 of the United
 States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern
 District of Pennsylvania (the “Bankruptcy Court”).

        2.      On January 9, 2024, William A. Homony was appointed as Chapter 11 Trustee of
 the Debtors’ estates (the “Trustee”) in order to determine, inter alia, if it would be beneficial to
 pursue a sale of substantially all of the Debtors’ Assets.

         3.      On September 30, 2024, in connection with the proposed sale (the “Sale”) of the
 Debtors’ Assets (the “Assets”) at an auction for the Assets (the “Auction”), the Trustee filed a
 motion (the “Motion”), seeking, among other things, (i) entry of an order (the “Bidding
 Procedures Order”)2 approving the bidding procedures (the “Bidding Procedures”) governing
 the Sale and approving the terms of a Stalking Horse Asset Purchase Agreement in connection
 therewith; (ii) establishing procedures for the assignment and assumption of executory contracts
 and unexpired leases (the “Assumption and Assignment Procedures”); and (iii) granting related
 relief [Docket No.750].

         4.      On _____________, 2024, the Bankruptcy Court entered the Bidding Procedures
 Order [Docket No.         ]. Pursuant to the Bidding Procedures Order, if two or more Qualified
 Bids are received before the Bid Deadline, the Trustee will conduct the Auction to determine the
 highest or otherwise best Qualified Bid, beginning on December 3, 2024 at 10:00 A.M. (prevailing
 Eastern Standard Time) at the offices of Obermayer Rebmann Maxwell & Hippel LLP, 1500
 Market Street, Suite 3400, Philadelphia, PA 19102 or such other place and time as the Trustee
 shall notify all Qualified Bidders that have submitted Qualified Bid. Only the Trustee (and his
 professionals and advisors) and parties that have submitted a Qualified Bid, as set forth in the
 Bidding Procedures Order, by no later than December 2, 2024 at 12:00 P.M. (prevailing

 1
   On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).
 2
   Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion or the
 Bidding Procedures Order.

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 Eastern Standard Time) (the “Bid Deadline”) may participate at the Auction. Any party that
 wishes to take part in this process and submit a bid for the Debtors’ Assets must submit their
 competing bid prior to the Bid Deadline and in accordance with the Bidding Procedures.

         5.       A hearing to approve the Sale (the “Sale Hearing”) will be held on December 4,
 2024, at 1:00 P.M. (prevailing Eastern Standard Time) before the Honorable Ashely M. Chan,
 U.S.B.J. at the United States Bankruptcy Court for the Eastern District of Pennsylvania, Robert
 N.C. Nix Sr. Federal Courthouse, 900 Market Street, Philadelphia, PA, 19107 in Courtroom No.
 4., or at such time thereafter as counsel may be heard, unless otherwise continued by the Trustee
 pursuant to terms of the Bidding Procedures.

         6.       Objections, if any, to the Motion and the Sale of the Assets, except objections
 related solely to the identity of the Successful Bidder and adequate assurance of future performance
 by a Successful Bidder, must be made by November 22, 2024, at 4:00 P.M. (prevailing Eastern
 Standard Time) (the “Sale Objection Deadline”). Objections solely to the identity of the
 Successful Bidder and adequate assurance of future performance must be made at the Sale Hearing.
 In each case, all objections must: (a) be in writing; (b) conform to the applicable provisions of the
 Bankruptcy Rules, the Local Rules, and any orders of the Court; (c) state with particularity the
 legal and factual basis for the objection and the specific grounds therefor; and (d) be filed with the
 Court no later than the Sale Objection Deadline or the Supplemental Limited Sale Objection
 Deadline, as applicable, and served on (i) counsel for the Trustee and (ii) any other entity on the
 Master Service List. Objections solely based on the identity of the Successful Bidder and adequate
 assurance of future performance must additionally be served on counsel to the Successful Bidder.
 Any party who fails to timely file an objection to entry of the Sale Order (i) shall be forever
 barred from objecting thereto, (ii) shall be deemed to consent to the sale of the Assets as
 approved by the Sale Order, and (iii) shall be deemed to “consent” for purposes of Section 363
 (f)(2) of the Bankruptcy Code.

         7.      This Notice and the Sale Hearing is subject to the fuller terms and conditions of the
 Motion and the Bidding Procedures Order, which shall control in the event of any conflict, and the
 Trustee encourages parties-in-interest to review such documents in their entirety. Parties interested
 in receiving more information regarding the sale of all the Assets and/or copies of any related
 document, including the Motion, or the Bidding Procedures Order, may make a written request to
 counsel for the Trustee, Obermayer Rebmann Maxwell Hippel LLP, c/o Edmond M George,
 Esquire      (edmond.george@obermayer.com)            or  Michael        D.     Vagnoni,     Esquire
 (michael.vagnoni@obermayer.com) In addition, copies of the Motion, the Bidding Procedures
 Order and this Notice can be found through PACER on the Court’s website,
 https://ecfnjb.uscourts.gov/ (registration required).


                                        Respectfully Submitted,

 Dated: November XX, 2024          By: /s/ Michael D. Vagnoni
                                       Edmond M. George, Esquire
                                       Michael D. Vagnoni, Esquire
                                       OBERMAYER REBMANN MAXWELL & HIPPEL LLP


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                                 Centre Square West
                                 1500 Market Street, Suite 3400
                                 Philadelphia, PA 19102
                                 Telephone: (215) 665-3066
                                 Facsimile: (215) 665-3165
                                 E-mail: edmond.george@obermayer.com
                                         michael.vagnoni@obermayer.com




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                                       Exhibit 3
                              Contract Assumption Notice




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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                         :
     In re:                                              :       Chapter 11
                                                         :
     Stream TV Networks, Inc., et al.                    :       Bankruptcy No. 23-10763 (AMC)
                                                         :
                              Debtors.                   :       (Jointly Administered)9
                                                         :

     ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
                           UNEXPIRED LEASES

 PLEASE TAKE NOTICE THAT:

         1.     On March 15, 2023, the above-captioned debtors and former debtors in possession
 (the “Debtors”), filed voluntary petitions for relief pursuant to chapter 11 of title 11 of the United
 States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern
 District of Pennsylvania (the “Bankruptcy Court”).

        2.      On January 9, 2024, William A. Homony was appointed as Chapter 11 Trustee of
 the Debtors’ estates (the “Trustee”) in order to determine, inter alia, if it would be beneficial to
 pursue a sale of substantially all of the Debtors’ Assets.

         3.     On September 30, 2024, in connection with the proposed sale (the “Sale”) of the
 Debtors’ assets (the “Assets”) at an auction (the “Auction”), the Trustee filed a motion (the
 “Motion”), seeking, among other things, (i) entry of an order (the “Bidding Procedures
 Order”)10 approving the bidding procedures (the “Bidding Procedures”) governing the Sale and
 approving the terms of a Stalking Horse Asset Purchase Agreement in connection therewith; (ii)
 establishing procedures for the assignment and assumption of executory contracts and unexpired
 leases (the “Assumption and Assignment Procedures”); and (iii) granting related relief [Docket
 No.750].

        4.      Pursuant to the Bidding Procedures Order, the Trustee hereby provides notice that
 they are seeking to assume and assign to the Successful Bidder the executory contracts and/or
 unexpired leases (each, an “Assigned Contract”) listed on Exhibit A attached hereto.

        5.      When the applicable Debtor assumes and assigns an Assigned Contract to which
 you are a party, on the closing date of the Sale, or as soon thereafter as practicable, the Successful
 Bidder will pay you the amount the Debtors’ records reflect is owing for prepetition arrearages as

 9
   On April 11, 2023, the Court entered an order directing joint administration of the above-captioned case and In re
 Technovative Media, Inc.; Case No. 23-10764 (AMC). (D.I. #81).
 10
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion or the
 Bidding Procedures Order.

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 set forth on Exhibit A (the “Cure Payment”). The Debtors’ records reflect that all post-petition
 amounts owing under your Assigned Contract have been paid and will continue to be paid in the
 ordinary course of business until the assumption and assignment of the Assigned Contract, and
 that other than the Cure Payment, there are no other defaults under the Assigned Contract.

        6.     Inclusion of an executory contract or unexpired lease as an Assigned Contract on
 Exhibit A is not a guarantee that such executory contract or unexpired lease will ultimately be
 assumed and assigned to the Successful Bidder. Should it be determined that the Assigned Contract
 to which you are a party will not be assumed and assigned, you will be notified in writing.

         7.     Under the terms of the Bidding Procedures, the Successful Bidder may modify the
 list of Assigned Contracts on Exhibit A on or before December 6, 2024 (the “Designation
 Deadline”), and the Trustee reserves the right at any time before the closing of a Sale, to (i)
 supplement the list of Assigned Contracts with previously omitted executory contracts, (ii) remove
 Assigned Contracts from the list of executory contracts ultimately selected as Assigned Contracts
 that a Successful Bidder proposes be assumed and assigned to it in connection with a Sale, and/or
 (iii) modify the previously stated Cure Payment associated with any Assigned Contracts. In the
 event the Trustee exercises any of these reserved rights, the Trustee will promptly serve a
 supplemental notice of contract assumption (a “Supplemental Assumption Notice”); provided,
 however, the Trustee may not add an executory contract or unexpired lease to the list of Assigned
 Contracts that has been previously rejected by the Trustee by Order of the Court.

         8.      Objections, if any, to the proposed Cure Payment or assumption and assignment
 must (i) be in writing, (ii) comply with the applicable provisions of the Bankruptcy Rules and the
 Local Rules, (iii) state with specificity the nature of the objection and, if the objection pertains to
 the proposed amount of the Cure Payment, the correct cure amount alleged by the objecting
 counterparty, together with any applicable and appropriate documentation in support thereof, and
 (iv) be filed with the Court and served upon, so as to be actually received by proposed counsel to
 the Trustee and the Stalking Horse Bidder on or before seven (7) days after service of this
 Contract Assumption Notice (the “Cure Objection Deadline”), or such deadline set forth in the
 applicable Supplemental Assumption Notice. Objections solely to assumption and assignment
 solely with respect to the adequate assurance of future performance; however, must be received
 before the start of the Sale Hearing; provided, however, and for the avoidance of doubt, the
 deadline to object to the Cure Payment shall not be extended. Objections to assumption and
 assignment solely with respect to the adequate assurance of future performance that are made after
 the Auction on December 3, 2024, and the selection of the Successful Bidder must also be served
 upon counsel to the Successful Bidder.

         9.      If an objection to the Cure Payment or assumption and assignment is timely filed
 and not resolved by the parties, a hearing with respect to the objection will take place in the United
 States Bankruptcy Court for the Eastern District of Pennsylvania, Robert N.C. Nix Sr. Federal
 Courthouse, 900 Market Street, Philadelphia, PA 19107 Courtroom 4, at the Sale Hearing to be
 held at 1:00 P.M. (prevailing Eastern Standard Time) on December 4, 2024, or at a later hearing,
 as determined by the Trustee. A hearing regarding the Cure Payment, if any, may be continued at
 the discretion of the Trustee until after the Closing.



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        10.    Any party failing to timely file an objection to the Cure Payment, the proposed
 assumption and assignment of an Assigned Contract or Additional Assigned Contract listed
 on the Contract Assumption Notice or Supplemental Assumption Notice, or the Sale will be
 deemed to have consented to (a) such Cure Payment, (b) the assumption and assignment of
 such Assigned Contract or Additional Assigned Contract (including the adequate assurance
 of future performance), (c) the related relief requested in the Motion, and (d) the Sale. Such
 party will be forever barred and estopped from objecting to the Cure Payments, the
 assumption and assignment of the Assigned Contract, or Additional Assigned Contract, the
 adequate assurance of future performance or the relief requested in the Motion, whether
 applicable law excuses such counterparty from accepting performance by, or rendering
 performance to, the Successful Bidder for purposes of section 365(c)(1) of the Bankruptcy
 Code and from asserting any additional cure or other amounts against the Debtors and the
 Successful Bidder with respect to such party’s Assigned Contract or Additional Assigned
 Contract.

          11.     On the date the Auction is completed, or on December 3, 2024, if the Auction does
 not take place because there are no other Qualified Bids, the Trustee will file, but not serve, a
 notice that identifies the Successful Bidder. The Trustee and/or the Successful Bidder reserve all
 of their rights, claims and causes of action with respect to the Assigned Contracts listed on Exhibit
 A hereto. Notwithstanding anything to the contrary herein, the proposed assumption and
 assignment of each of the Assigned Contracts listed on Exhibit A hereto (a) shall not be an
 admission as to whether any such Assigned Contract was executory or unexpired as of the Petition
 Date or remains executory or unexpired post-petition within the meaning of Bankruptcy Code
 section 365; and (b) shall be subject to the Trustee’s and/or any Successful Bidder’s right to
 conduct further diligence with respect to the Cure Payment of each Assigned Contract and to
 modify such Cure Payment accordingly. In the event that the Trustee and/or any Successful Bidder
 determine that your Cure Payment should be modified, you will receive a notice, which will
 provide for additional time to object to such proposed modification.


                                       Respectfully Submitted,

 Dated: November XX, 2024        By: /s/ Michael D. Vagnoni
                                     Edmond M. George, Esquire
                                     Michael D. Vagnoni, Esquire
                                     OBERMAYER REBMANN MAXWELL & HIPPEL LLP
                                     Centre Square West
                                     1500 Market Street, Suite 3400
                                     Philadelphia, PA 19102
                                     Telephone: (215) 665-3066
                                     Facsimile: (215) 665-3165
                                     E-mail: edmond.george@obermayer.com
                                              michael.vagnoni@obermayer.com

                                       Counsel to William A. Homony Chapter 11 Trustee



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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     In re:                                                        Chapter 11

     Stream TV Networks, Inc., et al.1                             Bankr. Case No. 23-10763 (AMC)
                                                                   (Jointly Administered)
                  The Debtors.


                      NOTICE OF APPEAL AND STATEMENT OF ELECTION


 Part 1: Identify the appellant(s)

       1. Name(s) of appellant(s): Visual Semiconductor, Inc.

       2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
          of this appeal:
               For appeals in an adversary proceeding.       For appeals in a bankruptcy case and not
               ☐ Plaintiff                                   in an adversary proceeding.
               ☐ Defendant                                   ☐ Debtor
               ☐ Other (describe) _______________            ☒ Creditor
                                                             ☐ Trustee
                                                             ☐ Other (describe) _____________

 Part 2: Identify the subject of this appeal

       1. Describe the judgment—or the appealable order or decree—from which the appeal is
          taken:

              Order (A) Approving Bidding Procedures and Form of Asset Purchase Agreement in
              Connection with the Sale of Substantially all of the Debtors' Assets, (B) Approving
              Procedures for the Assumption and Assignment of Executory Contracts and Unexpired
              Leases, (C) Approving Procedures for Selection of Stalking Horse Bidder and Bid
              Protections, and (D) Granting Related Relief

       2. State the date on which the judgment—or the appealable order or decree—was entered:

              ECF 811 – November 20, 2024


 1
  The Debtors, together with the last four digits of the Debtors’ federal tax identification numbers, are Stream TV
 Networks, Inc. (4092) and Technovative Media, Inc. (5015). The location of the Debtors’ service address is: 2009
 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.



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 Part 3: Identify the other parties to the appeal

 List the names of all parties to the judgment—or the appealable order or decree—from which the
 appeal is taken and the names, addresses, and telephone numbers of their attorneys (attach
 additional pages if necessary):

     1. Party: Visual Semiconductor, Inc.           Attorney:
                                                    AKERMAN LLP
                                                    Donald N. David, SBN: 304846
                                                    Mark Lichtenstein (Admitted pro hac vice)
                                                    1251 Avenue of the Americas
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     2. Party: William A. Homony, Trustee           Attorney:
                                                    ANDREW J. BELLI
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                                                    Tel. No.: (215) 735-8700
                                                    Email: abelli@kcr-law.com

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                                                    STEVEN M. COREN
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     2. Party: Hawk Investment Holdings, Ltd.       Attorney:
                                                    K&L GATES LLP
                                                    Steven L. Caponi
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 Part 4: Optional election to have appeal heard by District Court (applicable only in certain
        districts)

 If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate
 Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the
 appeal heard by the United States District Court. If an appellant filing this notice wishes to have
 the appeal heard by the United States District Court, check below. Do not check the box if the
 appellant wishes the Bankruptcy Appellate Panel to hear the appeal.

          Appellant(s) elect to have the appeal heard by the United States District Court rather than
          by the Bankruptcy Appellate Panel. ☒

 Dated: New York, New York
        December 4, 2024

                                                AKERMAN LLP

                                                By: /s/ R. Adam Swick
                                                      R. Adam Swick
                                                      (Admitted pro hac vice)
                                                      AKERMAN LLP
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                                                      Facsimile: (512) 623-6701
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                                             Email: lmclark@leifmclark.com

                                             Counsel for Visual Semiconductor, Inc.




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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


     In re:                                                        Chapter 11

     Stream TV Networks, Inc., et al.1                             Bankr. Case No. 23-10763 (AMC)
                                                                   (Jointly Administered)
                  The Debtors.


                      NOTICE OF APPEAL AND STATEMENT OF ELECTION


 Part 1: Identify the appellant(s)

       1. Name(s) of appellant(s): Visual Semiconductor, Inc.

       2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
          of this appeal:
               For appeals in an adversary proceeding.       For appeals in a bankruptcy case and not
               ☐ Plaintiff                                   in an adversary proceeding.
               ☐ Defendant                                   ☐ Debtor
               ☐ Other (describe) _______________            ☒ Creditor
                                                             ☐ Trustee
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 Part 2: Identify the subject of this appeal

       1. Describe the judgment—or the appealable order or decree—from which the appeal is
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       2. State the date on which the judgment—or the appealable order or decree—was entered:

              ECF 811 – November 20, 2024


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  The Debtors, together with the last four digits of the Debtors’ federal tax identification numbers, are Stream TV
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 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.



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 Part 3: Identify the other parties to the appeal

 List the names of all parties to the judgment—or the appealable order or decree—from which the
 appeal is taken and the names, addresses, and telephone numbers of their attorneys (attach
 additional pages if necessary):

     1. Party: Visual Semiconductor, Inc.           Attorney:
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     2. Party: Hawk Investment Holdings, Ltd.       Attorney:
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 Part 4: Optional election to have appeal heard by District Court (applicable only in certain
        districts)

 If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate
 Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the
 appeal heard by the United States District Court. If an appellant filing this notice wishes to have
 the appeal heard by the United States District Court, check below. Do not check the box if the
 appellant wishes the Bankruptcy Appellate Panel to hear the appeal.

          Appellant(s) elect to have the appeal heard by the United States District Court rather than
          by the Bankruptcy Appellate Panel. ☒

 Dated: New York, New York
        December 4, 2024

                                                AKERMAN LLP

                                                By: /s/ R. Adam Swick
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                                              Counsel for Visual Semiconductor, Inc.




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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                   )
    Stream TV Networks, Inc.                             )           Case No. 23−10763−amc
                                                         )
                                                         )
    Technovative Media, Inc.                             )           Chapter: 11
                                                         )
     Debtor(s).                                          )


                                        Certificate of Service
       The Clerk hereby certifies that a true and correct copy of the attached document Doc.# [861] Notice of Appeal
as served on December 5, 2024 to the below parties by the method indicated:

Party                                                          Method of Service
Chief Judge Ashely M. Chan                                     Email
Office of the United States Trustee                            CM/ECF
Case Trustee: WILLIAM A. HOMONY                                CM/ECF
U.S. District Court                                            Email
Debtor: Stream TV Networks, Inc.                               Regular mail through the BNC
Joint Debtor: Technovative Media, Inc.
Debtor's Attorney:                                             CM/ECF
RAFAEL X. ZAHRALDDIN
Joint Debtor's Attorney:                                       CM/ECF
RAFAEL X. ZAHRALDDIN
R.Adam Swick Esq Attorney for Visual Semiconductor Inc         Regular mail or Bankruptcy Servicing Center (BNC)
Andrew Belli Esq for Attorney for William A. Homony ,
Trustee
Steven Caponi Esq
Attorney for Hawk Investment Holdings


Date: December 5, 2024                                                   For The Court

                                                                         Timothy B. McGrath
                                                                         Clerk of Court




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